      Case 23-04014-mxm                       Doc 12         Filed 04/28/23 Entered 04/28/23 12:10:07                              Desc Main
                                                            Document     Page 1 of 61
  B1040 (FORM 1040) (12/15)

          ADVERSARY PROCEEDING COVER SHEET                                                     ADVERSARY PROCEEDING NUMBER
                                                                                               (Court Use Only)
                  (Instructions on Reverse)

PLAINTIFFS                                                                      DEFENDANTS
Flexible Funding Ltd. Liability Co.                                                TOTEM FOREST PRODUCTS
                                                                                   INTERNATIONAL LLC DBA TOTEM MATS

ATTORNEYS (Firm Name, Address, and Telephone No.)                               ATTORNEYS (If Known)
See attachment                                                                  Jeffery D. Carruth
                                                                                Weycer, Kaplan, Pulaski & Zuber, P.C.
                                                                                3030 Matlock Rd., Suite 201
                                                                                Arlington, TX 76015
PARTY (Check One Box Only)                         PARTY (Check One Box Only)
□ Debtor    □ U.S. Trustee/Bankruptcy Admin        □ Debtor      □ U.S. Trustee/Bankruptcy Admin
□ Creditor  □ Other                                □ Creditor    □ Other
□ Trustee                                          □ Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
Plaintiff amends complaint to remove claim for unfair competition law. Amended complaint brings claims for
turnover of estate property (11 USC section 542), avoidance of transfers (11 USC section 544),
conversion, punitive damages, and restitution/unjust enrichment.


                                                                    NATURE OF SUIT
        (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)


□1 11-Recovery of money/property - §542 turnover of property                    □
    FRBP 7001(1) – Recovery of Money/Property                                   FRBP 7001(6) – Dischargeability (continued)

□ 12-Recovery of money/property - §547 preference                               □
                                                                                   61-Dischargeability - §523(a)(5), domestic support

□ 13-Recovery of money/property - §548 fraudulent transfer                      □
                                                                                   68-Dischargeability - §523(a)(6), willful and malicious injury

□2 14-Recovery of money/property - other                                        □
                                                                                   63-Dischargeability - §523(a)(8), student loan
                                                                                   64-Dischargeability - §523(a)(15), divorce or separation obligation

                                                                                □
                                                                                      (other than domestic support)

□ 21-Validity, priority or extent of lien or other interest in property
    FRBP 7001(2) – Validity, Priority or Extent of Lien                            65-Dischargeability - other


                                                                                □
                                                                                FRBP 7001(7) – Injunctive Relief

□
    FRBP 7001(3) – Approval of Sale of Property
                                                                                □
                                                                                   71-Injunctive relief – imposition of stay
    31-Approval of sale of property of estate and of a co-owner - §363(h)          72-Injunctive relief – other


□ 41-Objection / revocation of discharge - §727(c),(d),(e)
    FRBP 7001(4) – Objection/Revocation of Discharge
                                                                                □ 81-Subordination of claim or interest
                                                                                FRBP 7001(8) Subordination of Claim or Interest



□ 51-Revocation of confirmation
    FRBP 7001(5) – Revocation of Confirmation
                                                                                □ 91-Declaratory judgment
                                                                                FRBP 7001(9) Declaratory Judgment



□ 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
    FRBP 7001(6) – Dischargeability
                                                                              □
                                                                              FRBP 7001(10) Determination of Removed Action

□ 62-Dischargeability - §523(a)(2), false pretenses, false representation,        01-Determination of removed claim or cause


□ 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny □ SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
      actual fraud                                                            Other


                   (continued next column)                                    □4 02-Other (e.g. other actions that would have been brought in state court
                                                                                         if unrelated to bankruptcy case)
□ Check if this case involves a substantive issue of state law                  □ Check if this is asserted to be a class action under FRCP 23
□ Check if a jury trial is demanded in complaint                                Demand $ 75,000 and more
Other Relief Sought
     Case 23-04014-mxm                Doc 12      Filed 04/28/23 Entered 04/28/23 12:10:07                         Desc Main
                                                 Document     Page 2 of 61
  B1040 (FORM 1040) (12/15)

              BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                               BANKRUPTCY CASE NO.
Flexible Funding Ltd. Liability Co., et. al.                           21-42215-11-mxm
DISTRICT IN WHICH CASE IS PENDING                                      DIVISION OFFICE                   NAME OF JUDGE
Northern District of Texas                                             Fort Worth                        Mark X. Mullin
                                      RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                       DEFENDANT                                                ADVERSARY
                                                                                                         PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                 DIVISION OFFICE                   NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)


   /s/ Christopher D. Sullivan


DATE                                                                   PRINT NAME OF ATTORNEY (OR PLAINTIFF)
February 28, 2023                                                      Christopher D. Sullivan



                                                          INSTRUCTIONS

            The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
  all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
  jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
  lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
  proceeding.

           A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
  Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
  Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
  completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
  information to process the adversary proceeding and prepare required statistical reports on court activity.

           The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
  or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
  explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
  attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

  Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

  Attorneys. Give the names and addresses of the attorneys, if known.

  Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

  Demand. Enter the dollar amount being demanded in the complaint.

  Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
  plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
  attorney, the plaintiff must sign.
Case 23-04014-mxm   Doc 12    Filed 04/28/23 Entered 04/28/23 12:10:07   Desc Main
                             Document     Page 3 of 61



Attachment to Form 1040
ATTORNEYS FOR PLAINTIFF


CHRISTOPHER D. SULLIVAN (CA State Bar No.148083)
(Admitted Pro Hac Vice)
ROXANNE BAHADURJI (CA State Bar No 290117)
(Admitted Pro Hac Vice)
SULLIVAN BLACKBURN PRATT LLP
456 Montgomery Street, Suite 900
San Francisco, CA 94104
Phone: (415) 691-4518
Email: csullivan@sullivanblackburn.com
       rbahadurji@sullivanblackburn.com



LANCE P. MARTIN (N.C. State Bar No. 027287)
(Admitted Pro Hac Vice)
WARD AND SMITH, P.A.
Post Office Box 2020
Asheville, NC 28802-2020
Phone: (828) 348-6070
E-mail: lpm@wardandsmith.com
  Case 23-04014-mxm   Doc 12    Filed 04/28/23 Entered 04/28/23 12:10:07   Desc Main
                               Document     Page 4 of 61



CHRISTOPHER D. SULLIVAN (CA State Bar No.148083)
(Admitted Pro Hac Vice)
ROXANNE BAHADURJI (CA State Bar No 290117)
(Admitted Pro Hac Vice)
SULLIVAN BLACKBURN PRATT LLP
456 Montgomery Street, Suite 900
San Francisco, CA 94104
Phone: (415) 691-4518
Email: csullivan@sullivanblackburn.com
       rbahadurji@sullivanblackburn.com

LANCE P. MARTIN (N.C. State Bar No. 027287)
(Admitted Pro Hac Vice)
WARD AND SMITH, P.A.
Post Office Box 2020
Asheville, NC 28802-2020
Phone: (828) 348-6070
E-mail: lpm@wardandsmith.com

                  UNITED STATES BANKRUPTCY COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS
                          FT. WORTH DIVISION


IN RE:                                    )
                                          )
FLEXIBLE FUNDING LTD. LIABILITY           )
CO., et. al.,                             )
                                          )
                Debtors.                  )
                                          )
                                          )         Case No. 21-42215-11-mxm
FLEXIBLE FUNDING LTD. LIABILITY           )                Chapter 11
CO.,                                      )
              Plaintiff                   )     Adversary Proceeding No. 23-04014
                                          )
                 v.                       )
                                          )
TOTEM FOREST PRODUCTS                     )
INTERNATIONAL LLC DBA TOTEM               )
MATS,                                     )
              Defendant                   )
Case 23-04014-mxm       Doc 12    Filed 04/28/23 Entered 04/28/23 12:10:07    Desc Main
                                 Document     Page 5 of 61




                               AMENDED COMPLAINT


                Plaintiff Flexible Funding Ltd. Liability Co., complaining of Defendant
Totem Forest Products International LLC dba Totem Mats ("Totem Mats" or
"Defendant"), says and avers:
                            PRELIMINARY STATEMENT
                Flexible Funding is the largest creditor of Graham County Land
Company ("GCLC"), a former debris removal company based in Graham County,
North Carolina, and now in state court receivership in Graham County, North
Carolina Superior Court, Civil Action No. 21-CVS-142. Beginning in 2019, Flexible
Funding financed essentially all of GCLC operations. In return, Flexible had a first-
priority security interest in all of GCLC's personal property assets.
                In 2020, Defendant sold hardwood mats ("Mats") to GCLC for use as a
temporary road surface on job sites. Defendant did not finance or lease the Mats, did
not have GCLC execute a security agreement, and did not retain an ownership or
security interest in the Mats. GCLC paid just under half of the purchase price. When
GCLC fell behind on its payments, Defendant re-purchased the Mats from GCLC in
exchange for an account credit. Defendant took this action with no notice to Plaintiff.
But when it did so, the Mats were subject to Plaintiff's perfected security interest and
Plaintiff had a superior right to the Mats. When GCLC defaulted on its obligations
to Plaintiff, Plaintiff could not repossess the Mats because Defendant had converted
them in violation of Plaintiff's security interest.
                In this adversary proceeding, Flexible Funding seeks turnover of estate
property or a money judgment against Defendant for conversion and voidable
transactions.




                                            2
Case 23-04014-mxm     Doc 12    Filed 04/28/23 Entered 04/28/23 12:10:07       Desc Main
                               Document     Page 6 of 61




                  STATEMENT OF JURISDICTION AND VENUE

             1.     This adversary proceeding arises out of and relates to bankruptcy
case number 21-42215-11-mxm entitled In re Flexible Funding Ltd. Liability Co., et.
al. commenced on September 19, 2021 (“Petition Date”) in the United States
Bankruptcy Court for the Northern District of Texas, Fort Worth Division under
Chapter 11 of the Bankruptcy Code ("Bankruptcy Case").
             2.     This is an action brought under Fed. R. Bankr. P. 7001(a)(1) and
(9) to recovery money or property of the estate pursuant to 11 U.S.C. § 547 and 550.
             3.     The Court has jurisdiction over this adversary proceeding
pursuant to 28 U.S.C. §§ 157 and 1334. This adversary proceeding is a core proceeding
under 28 U.S.C. § 157(b)(1), (b)(2)(A), and (O), and the Court can and should enter a
final judgment. To the extent that certain claims are determined to be non-core
matters, this Court has authority to hear and determine those non-core claims,
because the core aspects of this adversary proceeding are heavily predominant and
noncore aspects are related to these claims, and Plaintiff consents to this Court’s entry
of final orders or judgment thereon.
             4.     This Court also has personal jurisdiction over the Defendant
herein, because the Defendant is subject to nationwide service of process under
Federal Rules of Bankruptcy Procedure 7004 and has a “constitutionally sufficient
relationship” with the forum on account of its organization and operation within the
United States, as alleged infra. Double Eagle Energy Services, L.L.C. v. MarkWest
Utica EMG, L.L.C., 936 F.3d 260, 264 (5th Cir. 2019).
             5.     Venue also properly lies in this judicial district, in that this civil
proceeding arises under Title 11 of the United States Code as provided in 28 U.S.C. §
1409.
                                   THE PARTIES
             6.     Plaintiff Flexible Funding Ltd. Liability Co. ("Plaintiff" or
"Flexible Funding") is a limited liability company organized and existing under the



                                           3
Case 23-04014-mxm       Doc 12     Filed 04/28/23 Entered 04/28/23 12:10:07    Desc Main
                                  Document     Page 7 of 61




laws of California with a principal office in Texas.
                7.    Plaintiff, along with Instapay Flexible, LCC, are the Liquidating
Debtors in the Bankruptcy Case, as set forth in the Amended Chapter 11 Joint Plan
of Reorganization confirmed by the Court on July 13, 2022.
                8.    Plaintiff    is   managed   and   administered     by   the     Plan
Administrator, Solution Advisors, LLC.
                9.    Totem Forest Products International LLC is a limited liability
company registered in the state of Oregon.
                              FACTUAL BACKGROUND
                10.   Plaintiff incorporates by reference all previous allegations.
                11.   Graham County Land Company, L.L.C. ("GCLC") was a debris
removal company based in Graham County, North Carolina. It contracted with state
agencies like the North Carolina, South Carolina, and Georgia Departments of
Transportation to provide land clearing and tree and debris removal. GCLC also
contracted with private entities to perform similar services.
                12.   Flexible Funding began to provide accounts receivable financing
to GCLC in July 2019, after receiving assignments of factoring and security
documents from their previous factor, First Bank & Trust, doing business as
FirstLine Funding Group.
                13.   Flexible Funding provided financing to GCLC under various
documents, including an Amended and Restated Accounts Receivable Purchase
Agreement ("Factoring Agreement"). Copy attached as Exhibit A and incorporated
by reference.
                14.   Under the Factoring Agreement, GCLC granted Flexible Funding
a lien and security interest in, amongst other things, all of GCLC's inventory, chattel
paper, accounts (including any cash and non-cash proceeds), equipment, instruments,
receivables, inventory, and general intangibles, whether any of the foregoing is owned
now or acquired later, or now existing or hereafter arising; all records of any kind




                                             4
Case 23-04014-mxm          Doc 12    Filed 04/28/23 Entered 04/28/23 12:10:07   Desc Main
                                    Document     Page 8 of 61




relating to any of the foregoing ("GCLC Collateral").
               15.     Flexible Funding perfected its security interest in the GCLC
Collateral by filing UCC-1 Financing Statements with the North Carolina Secretary
of State on July 23, 2019. Copy attached as Exhibit B and incorporated by reference.
               16.     Between January 9, 2020 and March 31, 2020, Totem sold 4,997
hardwood mats ("Mats") to GCLC.
               17.     The sales are represented by seven invoices bearing Nos. 1641,
1658, 1664, 1695, 1697, 1710, and 1718. Copies attached collectively as Exhibit C.
               18.     Upon information and belief, these are the details of the Mats
Totem sold to GCLC:
                Date         Invoice #      Amount     Quantity   Unit Price
                01/09/20     1641           $374,250   998        $375.00
                01/29/20     1658           $393,212   998        $394.00
                01/31/20     1664           ($375)     (1)        $375.00
                03/10/20     1695           $197,500   500        $395.00
                03/13/20     1697           $206,000   500        $412.00
                03/25/20     1710           $423,444   994        $426.00
                03/31/20     1718           $429,408   1,008      $426.00



               19.     Totem and GCLC did not sign a written contract for the purchase
of the Mats.
               20.     GCLC did not execute any promissory note in favor of Totem for
the purchase price of the Mats.
               21.     GCLC did not execute a security agreement in favor of Totem.
               22.     Totem did not file a UCC-1 financing statement listing the Mats
as collateral and GCLC as the debtor.
               23.     Totem did not lease the Mats to GCLC.
               24.     Totem did not finance the purchase of the Mats to GCLC.
               25.     Upon information and belief, the total sale price was $2,023,439.




                                               5
Case 23-04014-mxm       Doc 12    Filed 04/28/23 Entered 04/28/23 12:10:07   Desc Main
                                 Document     Page 9 of 61




            26.     Totem delivered the Mats to GCLC for a job in South Carolina.
            27.     Totem surrendered possession and ownership of the Mats to
GCLC.
            28.     The Mats became the personal property of GCLC.
            29.     Flexible Funding's perfected security interest in GCLC Collateral
attached to the Mats.
            30.     Through funding from Flexible Funding, GCLC made payments
to Totem for the Mats.
            31.     Upon information and belief, GCLC paid Totem $964,587 as
follows:
                             Date       Check No.   Amount
                             02/14/20   000350      $100,000
                             02/28/20   014375      $50,000
                             03/18/20   014530      $75,000
                             03/26/20   014593      $100,000
                             04/06/20   014694      $49,250
                             04/17/20   014941      $100,000
                             05/01/20   014974      $50,000
                             05/05/20   014993      $50,000
                             05/11/20   015037      $50,000
                             05/15/20   015106      $50,000
                             05/22/20   015175      $50,000
                             05/29/20   015218      $50,000
                             06/18/20   015347      $50,000
                             10/23/20   Wire        $140,337



            32.     In September 2020, when GCLC could not pay Totem in full,
Totem's president, Trevor Sazarin, proposed that Totem purchase back the Mats from
GCLC.
            33.     The proposal is set forth in an email dated September 11, 2020




                                               6
Case 23-04014-mxm       Doc 12     Filed 04/28/23 Entered 04/28/23 12:10:07   Desc Main
                                 Document      Page 10 of 61




from Sazarin to Randy Jordan, president of GCLC.
             34.    A copy of the email is attached as Exhibit D and incorporated by
reference.
             35.    In proposing to purchase the Mats back from GCLC, Totem
acknowledged that GCLC owned the Mats.
             36.    In the email, Sazarin further stated that GCLC, as the owner of
the Mats, could try to sell them to a third party. He wrote: "If Graham is able to
secure a buyer for the mats, Totem will handle the transaction directly and reduce
the outstanding balance by any profit above the initial purchase price, less an agreed
upon fee to cover additional finance charges."
             37.    Totem did not notify Flexible Funding of the proposal.
             38.    GCLC did not notify Flexible Funding of the proposal.
             39.    Upon information and belief, Totem had actual knowledge of
GCLC's financial obligations to Flexible Funding.
             40.    Totem also had constructive knowledge of Flexible Funding's
perfected security interest in the Mats.
             41.    Flexible Funding's UCC-1 was a matter of public record on the
North Carolina Secretary of State's website.
             42.        GCLC returned the Mats to Totem without the knowledge or
permission of Plaintiff.
             43.    Totem took back the Mats from GCLC for a credit of $800,000
against the amount GCLC owed under the invoices.
             44.    Totem did not repossess the Mats because it had no security
interest in the Mats.
             45.    Totem did not obtain a judgment against GCLC that would allow
it to seize and sell the Mats to satisfy the judgment.
             46.    Totem also drafted a Promissory Note in an amount equal to the
account balance of $399,189 for GCLC to execute.




                                             7
Case 23-04014-mxm      Doc 12     Filed 04/28/23 Entered 04/28/23 12:10:07       Desc Main
                                Document      Page 11 of 61




              47.    A copy of the Promissory Note is attached as Exhibit E and
incorporated by reference.
              48.    The re-purchase was a private sale conducted with no notice to
Flexible Funding.
              49.    The sale was not in the ordinary course of business and, upon
information and belief, was not for the fair market value of the Mats.
              50.    Upon information and belief, as part of the re-purchase Totem
prepared a bill of sale and sent it to GCLC.
              51.    The $800,000 credit valued the Mats at $160 per mat, which, upon
information and belief, was less than half the fair market value.
              52.    Upon information and belief, the Mats had a value in excess of
$1.2 million when Totem re-purchased them.
              53.    No proceeds were remitted to Flexible Funding because Totem
paid no funds to GCLC.
              54.    Flexible Funding did not consent to the conversion of the Mats by
Totem.
              55.    Flexible Funding did not release its properly-perfected lien on the
Mats.
              56.    Totem re-purchased the Mats subject to Flexible Funding's
security interest.
                             FIRST CLAIM FOR RELIEF
               (Turnover of Property of the Estate - 11 USC § 542)
              57.    Plaintiff repeats and re-alleges the preceding paragraphs as if
fully set forth.
              58.    Section 542(a) of the Bankruptcy Code provides that "an entity,
other than a custodian, in possession, custody, or control, during the case, of property
that the trustee may use, sell, or lease under section 363 of this title . . . shall deliver
to the trustee, and account for, such property or the value of such property, unless




                                             8
Case 23-04014-mxm     Doc 12     Filed 04/28/23 Entered 04/28/23 12:10:07    Desc Main
                               Document      Page 12 of 61




such property is of inconsequential value or benefit to the estate."
              59.   The Mats are property of the estate because Flexible Funding had
a perfected security interest in them superior to the rights of Totem.
              60.   Plaintiff can use the Mats, or their value, for the benefit of the
estate and the Mats are of more than inconsequential value and benefit to the estate.
              61.   Plaintiff can demand turnover of the Mats, or the value of the
Mats at the time of conversion.
              62.   Consequently, Defendant is liable to Flexible Funding for the
value of the Mats at the time of conversion and the Court can order Defendant to
account for the Mats and their value.
                         SECOND CLAIM FOR RELIEF
 (Avoidance of Transfers - 11 USC § 544 and 550 and N.C. Gen. Stat. § 39-23.1
                                        et seq.)
              63.   Plaintiff repeats and re-alleges the preceding paragraphs as if
fully set forth.
              64.   Section 544(b) of the Bankruptcy Code allows Plaintiff to avoid
any transfer of an interest of the debtor in property or any obligation incurred by the
debtor that is voidable under applicable law by a creditor holding an unsecured claim.
              65.   Section 550 of the Bankruptcy Code allows Plaintiff to step into
the shoes of a creditor who has been harmed by the voidable transfer at issue to
recover the value of the property.
              66.   Flexible Funding filed for bankruptcy protection on September
19, 2021, Case Number 21-42215-mxm11.
              67.   In Flexible Funding's bankruptcy case, 25 creditors filed claims
in a total amount of $26,324,009.85. A copy of the Claims Summary is attached as
Exhibit F and incorporated by reference. Of those claims, over $23 million are
unsecured. The creditors holding those claims qualify as triggering creditors.
              68.   Flexible Funding's confirmed Joint Plan of Liquidation (with




                                           9
Case 23-04014-mxm       Doc 12     Filed 04/28/23 Entered 04/28/23 12:10:07   Desc Main
                                 Document      Page 13 of 61




Instapay Flexible, LLC) recognizes a Class 6 for Allowed General Unsecured Claims.
             69.    These creditors and holders of allowed general unsecured claims
satisfy the triggering creditor requirement of Section 544(b) and Section 550 of the
Bankruptcy Code.
             70.    Flexible Funding had a perfected security interest in the Mats.
             71.    This perfected security interested constituted an interest of the
debtor in property under Bankruptcy Code Section 544(b).
             72.    The re-purchase of the Mats by Totem was a transfer of Flexible
Funding's interest in property.
             73.    As set forth herein, the re-purchase, or transfer, is voidable under
state law causes of action for conversion, restitution, and unjust enrichment.
             74.    Flexible Funding received no value, much less reasonably
equivalent value, as a result of the transfer.
             75.    Totem was the initial transferee of the Mats.
             76.    Plaintiff is entitled to recover from Totem the value of the Mats
transferred to Totem.
                           THIRD CLAIM FOR RELIEF
                                        (Conversion)

             77.    The previous allegations are re-alleged and incorporated by
reference as if completely set forth.
             78.    As to Defendant, Plaintiff sets forth the following claim for relief
for conversion.
             79.    Flexible Funding had a properly-perfected security interest in the
Mats superior to Defendant.
             80.    Totem's actions in re-purchasing the Mats for an account credit
constituted conversion of Plaintiff's property.
             81.    Because of the actions described, Defendant has wrongly,
unlawfully, and without authorization assumed and exercised the right of ownership



                                            10
Case 23-04014-mxm      Doc 12     Filed 04/28/23 Entered 04/28/23 12:10:07       Desc Main
                                Document      Page 14 of 61




over Plaintiff's property, for its own benefit and to the exclusion of Plaintiff's rights.
              82.    Defendant's use of the property for its own benefit has excluded
and prejudiced the rights of Plaintiff because the property is no longer owned or
available for use by Plaintiff to offset GCLC's obligations to Plaintiff.
              83.    Defendant's use of the property for its own benefit represents a
conversion.
              84.    Plaintiff has been damaged because of the conversion of the Mats.
              85.    Plaintiff is entitled to judgment against Defendant in an amount
over $75,000 and equal to the funds converted, plus interest, attorneys' fees, and such
other amounts as permitted by law.
                            FOURTH CLAIM FOR RELIEF
                                   (Punitive Damages)
              86.    The previous allegations are re-alleged and incorporated by
reference as if completely set forth.
              87.    Plaintiff sets forth the following claim for relief against Defendant
for punitive damages.
              88.    The actions of Defendant were undertaken willfully, wantonly,
and in reckless disregard to the rights of Plaintiff.
              89.    Because of such willful, wonton, and/or reckless actions, Plaintiff
may recover punitive damages from Defendant in an amount over $75,000.00.


                            FIFTH CLAIM FOR RELIEF
                         (Restitution / Unjust Enrichment)
              90.    The previous allegations are re-alleged and incorporated by
reference as if completely set forth.
              91.    Plaintiff sets forth the following claim for relief for restitution and
unjust enrichment.
              92.    Plaintiff may have equitable relief to recover for the harm caused




                                            11
Case 23-04014-mxm      Doc 12     Filed 04/28/23 Entered 04/28/23 12:10:07   Desc Main
                                Document      Page 15 of 61




by Defendant.
             93.     Defendant re-purchased and took back the Mats when Flexible
Funding had a perfected security interest in them.
             94.     Defendant benefitted financially from taking back the Mats.
             95.     Defendant has been unjustly enriched by taking back the Mats at
the expense of Flexible Funding.
             96.     Flexible Funding had and has an interest in the Mats superior to
Defendant.
             97.     Defendant, in equity and good conscience, should be compelled to
reimburse Plaintiff for the benefits received, equal to the value of the Mats at the
time of conversion, plus pre- and post-judgment interest, and costs and attorneys' fees
as allowed by law.
             98.     Plaintiff is entitled to a judgment against Defendant for damages
arising from its unjust enrichment in an amount over $75,000.00, plus pre- and post-
judgment interest, and costs and attorneys' fees as allowed by law.


             WHEREFORE, Plaintiff prays the Court:
             1.      On the First Claim for Relief, that the Court enter a turnover
order under 11 U.S.C. § 542 and that Plaintiff is entitled to recover the value of the
transfers to Defendant.
             2.      On the Second Claim for Relief, that the Court enter an avoidance
order under 11 U.S.C. § 544 and that Plaintiff is entitled to recover the value of the
transfers to Defendant.
             3.      On the Third Claim for Relief, Plaintiff have and recover from
Defendant its actual, consequential, and incidental damages over $75,000.00, the
specific amount to be proven.
             4.      On the Fourth Claim for Relief, Plaintiff have and recover from
Defendant punitive damages over $75,000.00.




                                           12
Case 23-04014-mxm       Doc 12     Filed 04/28/23 Entered 04/28/23 12:10:07   Desc Main
                                 Document      Page 16 of 61




              5.      On the Fifth Claim for Relief, Plaintiff have and recover from
Defendant for damages arising from its unjust enrichment in an amount over
$75,000.00, plus pre- and post-judgment interest, and costs and attorneys' fees as
allowed by law.
              6.      Plaintiff have and recover from Defendant its costs and expenses
in this litigation.
              7.      Plaintiff have and recover such other and further relief as to the
Court may seem just and proper.



DATED: April 28, 2023               Respectfully submitted,


                                          /s/ Christopher D. Sullivan
                                          Christopher D. Sullivan
                                          (CA State Bar No.148083)
                                          (Admitted Pro Hac Vice)


                                          /s/ Lance P. Martin
                                          Lance P. Martin
                                          (N.C. State Bar No.: 027287)
                                          (Admitted Pro Hac Vice)




                                            13
Case 23-04014-mxm   Doc 12     Filed 04/28/23 Entered 04/28/23 12:10:07   Desc Main
                             Document      Page 17 of 61




                EXHIBIT A
     Case 23-04014-mxm                           Doc 12          Filed 04/28/23 Entered 04/28/23 12:10:07                                                    Desc Main
                                                               Document      Page 18 of 61

 DocuSign Envelope
DocuSign   Envelope ID:
                     1D: B5EE5598-66C0-428B-AD07-DE0FF86D2499
                          BSEE5598-66C0-428B-AD07-DEOFF86D2499


                             AMENDED AND
                             AMENDED AND RESTATED
                                          RESTATED ACCOUNTS
                                                   ACCOUNTS RECEIVABLE
                                                            RECEIVABLE PURCHASE
                                                                        PURCHASE AGREEMENT
                                                                                 AGREEMENT


                       This AMENDED
                     This      AMENDED AND       AND RESTATED
                                                          RESTATED ACCOUNTS   ACCOUNTS RECEIVABLE  RECEIVABLE PURCHASE    PURCHASE AGREEMENT
                                                                                                                                           AGREEMENT (this      (this
          “Adgreement”) isis dated
         "Agreement")           dated asas of
                                            of August
                                               August 8,8, 2019,
                                                            2019, but
                                                                    but shall
                                                                         shall be
                                                                                be effective
                                                                                    effective asas of
                                                                                                    of July
                                                                                                        July 22,
                                                                                                              22, 2019
                                                                                                                   2019 (the
                                                                                                                         (the "Effective
                                                                                                                               “Effective Date"),
                                                                                                                                          Date”), by
                                                                                                                                                   by and
                                                                                                                                                       and between
                                                                                                                                                            between
          FLEXIBLE FUNDING
         FLEXIBLE           FUNDING LTD.    LTD. LIABILITY
                                                    LIABILITY CO.,    CO., aa California
                                                                                California limited
                                                                                             limited liability
                                                                                                         liability company
                                                                                                                    company ("FLEXIBLE
                                                                                                                                ("FLEXIBLE FUNDING"),
                                                                                                                                               FUNDING"), with  with
          offices atat One
         offices          One Embarcadero
                                Embarcadero Center,
                                                  Center, Suite
                                                             Suite 1510,
                                                                     1510, SanSan Francisco,
                                                                                    Francisco, California
                                                                                                   California 94111,
                                                                                                                  94111, andand GRAHAM
                                                                                                                                  GRAHAM COUNTYCOUNTY LAND   LAND
          COMPANY, L.L.C.,
         COMPANY,             L.L.C., aa North
                                            North Carolina
                                                    Carolina limited
                                                                 limited liability
                                                                           liability company
                                                                                       company (( "GRAHAM
                                                                                                       “GRAHAM COUNTY   COUNTY LAND  LAND COMPANY"),
                                                                                                                                              COMPANY”), with   with
          offices atat 750
         offices        750 Tallulah
                             Tallulah Road,
                                       Road, Robbinsville,
                                                Robbinsville, North
                                                                  North Carolina
                                                                          Carolina 28711.
                                                                                      28711.

                                                                                     RECITALS:
                                                                                     RECITALS:
                     Pursuant to
                    Pursuant   to an
                                   an Assignment
                                       Assignment andand Consent
                                                           Consent Agreement
                                                                   Agreement dated
                                                                               dated July
                                                                                      July 22,
                                                                                            22, 2019
                                                                                                 2019 between
                                                                                                          between FIRST
                                                                                                                     FIRST BANK
                                                                                                                              BANK &   & TRUST,
                                                                                                                                          TRUST, dba
                                                                                                                                                   dba
          “FirstLine Funding
         "FirstLine    Funding Group"
                                  Group” ("FirstLine"),
                                           (“FirstLine”’), GRAHAM
                                                             GRAHAM COUNTY
                                                                        COUNTY LANDLAND COMPANY
                                                                                            COMPANY and        and FLEXIBLE
                                                                                                                    FLEXIBLE FUNDING,
                                                                                                                                  FUNDING, and and the
                                                                                                                                                    the
          other agreements,
         other    agreements, documents
                                 documents and  and instruments
                                                      instruments executed
                                                                   executed and/or
                                                                             and/or delivered
                                                                                      delivered in in connection
                                                                                                         connection therewith
                                                                                                                        therewith (the
                                                                                                                                    (the "Assignment
                                                                                                                                          “Assignment
          Documents”), FirstLine
         Documents"),      FirstLine has
                                      has assigned,
                                           assigned, and
                                                       and FLEXIBLE
                                                            FLEXIBLE FUNDING
                                                                        FUNDING has has assumed,
                                                                                         assumed, the the factoring
                                                                                                            factoring and
                                                                                                                       and security
                                                                                                                            security agreement
                                                                                                                                      agreement dated
                                                                                                                                                 dated
          May 24,
         May    24, 2017
                     2017 between
                           between FirstLine
                                     FirstLine and
                                                 and GRAHAM
                                                     GRAHAM COUNTYCOUNTY LAND
                                                                            LAND COMPANY
                                                                                    COMPANY (the    (the "Original
                                                                                                           “Original Factoring
                                                                                                                      Factoring Agreement").
                                                                                                                                   Agreement”).
                     Pursuant to
                    Pursuant      to the
                                      the terms
                                            terms of  of this
                                                          this Agreement
                                                                 Agreement FLEXIBLE
                                                                              FLEXIBLE FUNDINGFUNDING hereby hereby agrees
                                                                                                                       agrees toto amend
                                                                                                                                     amend andand restate
                                                                                                                                                   restate thethe Original
                                                                                                                                                                    Original
          Factoring Agreement
         Factoring      Agreement in    in its
                                            its entirety
                                                 entirety to,to, among
                                                                  among other
                                                                          other things,
                                                                                 things, amend
                                                                                          amend and  and revise
                                                                                                          revise the
                                                                                                                  the terms
                                                                                                                       terms ofof the
                                                                                                                                    the factoring
                                                                                                                                         factoring facility
                                                                                                                                                      facility inin favor
                                                                                                                                                                     favor of of
          GRAHAM COUNTY LAND COMPANY (as so amended and revised pursuant to the terms of this Agreement, the
         GRAHAM          COUNTY          LAND         COMPANY          (as  so  amended      and    revised   pursuant    to  the    terms   of  this    Agreement,         the
          “Factoring Facility"),
         "Factoring      Facility”), in  in connection
                                             connection with  with which
                                                                    which FLEXIBLE
                                                                            FLEXIBLE FUNDINGFUNDING may     may purchase
                                                                                                                  purchase certain
                                                                                                                              certain present
                                                                                                                                         present and
                                                                                                                                                   and future
                                                                                                                                                          future Accounts
                                                                                                                                                                   Accounts
          that may
         that   may result
                      result from
                              from services
                                       services and and sales
                                                           sales provided
                                                                  provided byby GRAHAM
                                                                                 GRAHAM COUNTY   COUNTY LAND  LAND COMPANY
                                                                                                                        COMPANY ("Accounts(“dccounts Receivable")
                                                                                                                                                          Receivable”) toto
          GRAHAM COUNTY
         GRAHAM          COUNTY LAND     LAND COMPANY's
                                                     COMPANY’s customerscustomers (each,
                                                                                     (each, anan "Account
                                                                                                   "Account Debtor"),
                                                                                                              Debtor"), andand toto provide
                                                                                                                                      provide certain
                                                                                                                                                certain services
                                                                                                                                                           services to to and
                                                                                                                                                                           and
          for the
         for   the benefit
                    benefit of of GRAHAM
                                    GRAHAM COUNTY     COUNTY LAND    LAND COMPANY
                                                                               COMPANY as       as more
                                                                                                     more fully
                                                                                                            fully set
                                                                                                                   set forth
                                                                                                                        forth and
                                                                                                                                and specified
                                                                                                                                       specified in in this
                                                                                                                                                         this Agreement,
                                                                                                                                                               Agreement,
          including the
         including     the administration
                            administration of      of the
                                                       the Accounts
                                                             Accounts Receivable
                                                                         Receivable of of GRAHAM
                                                                                           GRAHAM COUNTY  COUNTY LAND   LAND COMPANY
                                                                                                                                   COMPANY as       as provided
                                                                                                                                                         provided herein,
                                                                                                                                                                      herein.
          This Agreement
         This    Agreement constitutes
                                constitutes the   the sole
                                                        sole understanding
                                                               understanding between
                                                                                between the the parties
                                                                                                  parties and
                                                                                                           and modification
                                                                                                                 modification may  may only
                                                                                                                                          only be
                                                                                                                                                be made
                                                                                                                                                     made by  by aa written
                                                                                                                                                                      written
          amendment executed
         amendment        executed by by both      parties.
                                           both parties.

                                                                                   AGREEMENT:
                                                                                   AGREEMENT:

                                                                   GOVERNING LAW;
                                                                   GOVERNING LAW; DEFINITIONS
                                                                                  DEFINITIONS
         1.1.    The laws
                The     laws of of the
                                    the State
                                          State of
                                                 of California
                                                      California and
                                                                   and the
                                                                         the California
                                                                              California Commercial
                                                                                          Commercial Code   Code shall
                                                                                                                    shall govern
                                                                                                                            govern the  the construction
                                                                                                                                             construction of of this
                                                                                                                                                                 this Agreement
                                                                                                                                                                      Agreement
          and the
         and   the rights
                     rights andand duties
                                      duties ofof the
                                                   the parties
                                                         parties hereunder,
                                                                 hereunder, without
                                                                                without reference
                                                                                          reference to  to or
                                                                                                            or application
                                                                                                                application of    of any
                                                                                                                                      any conflicts
                                                                                                                                            conflicts of
                                                                                                                                                       of laws principles
                                                                                                                                                          laws    principles that
                                                                                                                                                                                that
          would apply
         would     apply thethe laws
                                  laws of of any
                                             any other
                                                   other jurisdiction.
                                                           jurisdiction. All
                                                                           All capitalized
                                                                                capitalized terms
                                                                                              terms contained
                                                                                                       contained herein
                                                                                                                    herein shallshall have
                                                                                                                                       have the
                                                                                                                                              the meanings
                                                                                                                                                   meanings ascribed
                                                                                                                                                                ascribed toto such
                                                                                                                                                                               such
          terms in
         terms    in the
                      the Recitals,
                            Recitals, above,
                                          above, in in the
                                                        the body
                                                             body of
                                                                   of this
                                                                       this Agreement,
                                                                             Agreement, in  in this
                                                                                                this paragraph
                                                                                                      paragraph 1,1, or or ifif not
                                                                                                                                 not defined
                                                                                                                                      defined in in any
                                                                                                                                                    any of
                                                                                                                                                         of the
                                                                                                                                                             the foregoing,
                                                                                                                                                                   foregoing, thethe
          meanings set
         meanings       set forth
                             forth inin the
                                         the Uniform
                                             Uniform Commercial
                                                          Commercial Code Code adopted
                                                                                 adopted inin the
                                                                                               the State
                                                                                                    State of
                                                                                                           of California
                                                                                                               California ("UCC").
                                                                                                                               ("UCC").
               1.1
              1.1   “Advance” means
                   "Advance"  means aa payment
                                       payment of
                                               of proceeds
                                                  proceeds of
                                                           of the
                                                               the Initial
                                                                    Initial Purchase
                                                                            Purchase Payment
                                                                                      Payment for for any
                                                                                                       any Purchased
                                                                                                           Purchased Receivable
                                                                                                                         Receivable remitted
                                                                                                                                     remitted
         by FLEXIBLE
         by FLEXIBLE FUNDING
                      FUNDING to to GRAHAM
                                    GRAHAM COUNTY
                                              COUNTY LANDLAND COMPANY
                                                                  COMPANY pursuant
                                                                                pursuant to
                                                                                          to the
                                                                                              the provisions
                                                                                                  provisions of
                                                                                                              of this
                                                                                                                  this Agreement.
                                                                                                                       Agreement,
                 1.2
                1.2        “Collateral” has
                          "Collateral"  has the
                                             the meaning
                                                 meaning ascribed
                                                         ascribed to
                                                                   to such
                                                                       such term
                                                                             term in
                                                                                   in paragraph
                                                                                      paragraph 18
                                                                                                 18 below.
                                                                                                    below.
                  1.3
                 1.3        “Disputed Account"
                            "Disputed    Account” means  means anyany Account
                                                                        Account Receivable
                                                                                   Receivable that  that isis subject
                                                                                                                subject toto any
                                                                                                                              any claim
                                                                                                                                    claim byby an
                                                                                                                                                an Account
                                                                                                                                                     Account Debtor
                                                                                                                                                                 Debtor against
                                                                                                                                                                            against
          GRAHAM COUNTY
         GRAHAM            COUNTY LAND  LAND COMPANY,
                                                    COMPANY, of       of any
                                                                          any kind
                                                                                kind whatsoever,
                                                                                       whatsoever, valid valid or or invalid,
                                                                                                                      invalid, that
                                                                                                                                 that may
                                                                                                                                       may reduce
                                                                                                                                             reduce thethe amount
                                                                                                                                                            amount collectible
                                                                                                                                                                       collectible
          from such
         from    such Account
                         Account Debtor
                                    Debtor by  by FLEXIBLE
                                                    FLEXIBLE FUNDINGFUNDING in     in respect
                                                                                       respect of of any
                                                                                                      any Purchased
                                                                                                            Purchased Receivable,
                                                                                                                            Receivable, including
                                                                                                                                            including anyany dispute
                                                                                                                                                              dispute or or claim,
                                                                                                                                                                             claim,
          bona fide
         bona    fide or or otherwise,
                              otherwise, as as toto price,
                                                     price, terms,
                                                              terms, quantity,
                                                                       quantity, quality,
                                                                                   quality, delivery,
                                                                                                delivery, or  or any
                                                                                                                   any cause
                                                                                                                         cause or or defense
                                                                                                                                      defense toto payment
                                                                                                                                                     payment of  of an
                                                                                                                                                                     an Account
                                                                                                                                                                          Account
         Receivable whatsoever,
         Receivable       whatsoever, andand shall
                                                shall also
                                                        also include
                                                              include any
                                                                        any Account
                                                                            Account Receivable
                                                                                         Receivable that that has
                                                                                                                has not
                                                                                                                     not been
                                                                                                                          been approved
                                                                                                                                  approved by by the
                                                                                                                                                  the Account
                                                                                                                                                       Account Debtor
                                                                                                                                                                  Debtor within
                                                                                                                                                                             within
          thirty (30)
         thirty   (30) days
                          days from
                                 from the
                                       the date
                                              date ofof the
                                                         the invoice
                                                              invoice upon
                                                                        upon which
                                                                               which the  the Account
                                                                                               Account Receivable
                                                                                                            Receivable isis based,
                                                                                                                                based, unless
                                                                                                                                         unless FLEXIBLE
                                                                                                                                                  FLEXIBLE FUNDINGFUNDING is       is
          advised in
         advised      in writing
                          writing byby GRAHAM
                                        GRAHAM COUNTY     COUNTY LAND   LAND COMPANY
                                                                                  COMPANY to        to the
                                                                                                        the contrary.
                                                                                                               contrary. FLEXIBLE
                                                                                                                             FLEXIBLE FUNDINGFUNDING shall   shall be
                                                                                                                                                                    be under
                                                                                                                                                                        under no no
          obligation to
         obligation      to determine
                             determine or or verify
                                               verify the
                                                        the bona
                                                             bona fides
                                                                    fides or
                                                                           or veracity
                                                                               veracity of  of any
                                                                                                any claim,
                                                                                                     claim, dispute
                                                                                                                 dispute oror other
                                                                                                                               other allegation
                                                                                                                                       allegation ofof an
                                                                                                                                                        an Account
                                                                                                                                                           Account Debtor
                                                                                                                                                                       Debtor or  or
          GRAHAM COUNTY
         GRAHAM            COUNTY LAND LAND COMPANYCOMPANY with     with respect
                                                                          respect toto aa Disputed
                                                                                           Disputed Account.
                                                                                                       Account.
                 1.4
                1.4         “Eligible Receivable"
                           "Eligible     Receivable” shall shall mean
                                                                  mean each
                                                                          each Account
                                                                                Account Receivable
                                                                                          Receivable that
                                                                                                        that is:
                                                                                                              is: (1)
                                                                                                                   (1) not
                                                                                                                        not over
                                                                                                                             over 90
                                                                                                                                   90 days
                                                                                                                                        days unpaid;
                                                                                                                                                unpaid; (2)
                                                                                                                                                          (2) not
                                                                                                                                                                not aa Disputed
                                                                                                                                                                        Disputed
         Account or
         Account      or otherwise
                          otherwise subject
                                         subject toto any
                                                       any counterclaim,
                                                             counterclaim, defense,
                                                                               defense, dispute,
                                                                                         dispute, right
                                                                                                   right of
                                                                                                          of setoff
                                                                                                              setoff oror recoupment
                                                                                                                           recoupment by    by the Account Debtor
                                                                                                                                               the  Account      Debtor or   or any
                                                                                                                                                                                 any
         other person;
         other   person; (3)  (3) not
                                   not payable
                                        payable by  by anan affiliate
                                                             affiliate of
                                                                        of GRAHAM
                                                                           GRAHAM COUNTY COUNTY LAND  LAND COMPANY;
                                                                                                                  COMPANY; (4)     (4) not
                                                                                                                                         not subject
                                                                                                                                              subject toto any
                                                                                                                                                            any lien,
                                                                                                                                                                  lien, security
                                                                                                                                                                          security
         interest or
         interest   or other
                        other encumbrance
                                  encumbrance other  other than
                                                            than inin favor
                                                                      favor of
                                                                             of FLEXIBLE
                                                                                FLEXIBLE FUNDING;
                                                                                              FUNDING; (5)     (5) not
                                                                                                                    not subject
                                                                                                                         subject to
                                                                                                                                  to assignment
                                                                                                                                       assignment or  or transfer
                                                                                                                                                          transfer in in favor
                                                                                                                                                                          favor of of
         any person
         any   person otherother than
                                    than toto FLEXIBLE
                                              FLEXIBLE FUNDING; FUNDING; (6)    (6) not
                                                                                     not payable
                                                                                         payable byby anan Account
                                                                                                            Account Debtor
                                                                                                                         Debtor that
                                                                                                                                   that isis insolvent,
                                                                                                                                              insolvent, that
                                                                                                                                                            that has
                                                                                                                                                                  has declared
                                                                                                                                                                         declared
         bankruptcy, that
         bankruptcy,       that isis subject
                                     subject to to an
                                                    an involuntary
                                                        involuntary bankruptcy
                                                                        bankruptcy proceeding,
                                                                                      proceeding, oror that
                                                                                                        that has
                                                                                                              has commenced
                                                                                                                    commenced any    any proceeding
                                                                                                                                           proceeding under
                                                                                                                                                          under any any federal,
                                                                                                                                                                           federal,
         state or
         state  or local
                     local law
                             law relating
                                    relating toto liquidation,
                                                   liquidation, receivership,
                                                                    receivership, insolvency,
                                                                                    insolvency, reorganization,
                                                                                                  reorganization, or   or otherwise
                                                                                                                           otherwise affecting
                                                                                                                                         affecting the
                                                                                                                                                     the rights
                                                                                                                                                           rights ofof creditors
                                                                                                                                                                         creditors
         generally; and
         generally;      and (7)(7) not
                                     not disqualified
                                           disqualified by  by FLEXIBLE
                                                                 FLEXIBLE FUNDING
                                                                                FUNDING for    for credit
                                                                                                   credit oror other
                                                                                                                 other reason(s)
                                                                                                                         reason(s) in in FLEXIBLE
                                                                                                                                          FLEXIBLE FUNDING's
                                                                                                                                                           FUNDING’s sole       sole
         discretion.
         discretion.
      Case 23-04014-mxm                            Doc 12          Filed 04/28/23 Entered 04/28/23 12:10:07                                                      Desc Main
                                                                 Document      Page 19 of 61

DocuSign
 DocuSignEnvelope
          EnvelopeID:ID:BEEE5598-66C0-428B-AD 07-DEOFF86D2499
                         B5EE5598-66C0-428B-AD07-DEOFF86D2499

             1.5
              1.5 “General
                   "GeneralRelease”
                            Release"means
                                     meansa arelease,
                                              release,ininform
                                                           form and andcontent
                                                                          contentacceptable
                                                                                   acceptabletotoFLEXIBLE        FUNDING,pursuant
                                                                                                  FLEXIBLEFUNDING,           pursuanttotowhich
                                                                                                                                          which
         GRAHAM
         GRAHAM COUNTY
                  COUNTY LANDLAND COMPANY
                                    COMPANY releases
                                                  releases allall claims,
                                                                   claims, actions
                                                                            actions and
                                                                                     and causes
                                                                                          causes ofof action
                                                                                                       action against
                                                                                                               against FLEXIBLE
                                                                                                                        FLEXIBLE FUNDING,
                                                                                                                                  FUNDING,
         known
          knownororunknown,
                    unknown,and
                             anddeliverable
                                 deliverableininconnection
                                                 connectionwith
                                                            withthe
                                                                 thetermination
                                                                     terminationofofthis
                                                                                     thisAgreement.
                                                                                          Agreement.
               1.6
                1.6 ~~ “Initial
                        "InitialPurchase
                                 PurchasePayment”
                                          Payment"means
                                                   means anan amount
                                                               amountequal
                                                                      equal toto 85%
                                                                                  85% ofofthe
                                                                                           thenet
                                                                                               netface
                                                                                                   faceamount
                                                                                                        amountofofthe
                                                                                                                   the invoice
                                                                                                                        invoicerepresenting
                                                                                                                                representing a a
         Purchased
          PurchasedReceivable,
                      Receivable.
               1.7
                1.7 “Purchase
                      "PurchasePrice”
                                 Price"forfor each
                                               eachPurchased
                                                    PurchasedReceivable
                                                              Receivablemeans
                                                                          means a asum
                                                                                    sum equal
                                                                                         equaltoto (a)
                                                                                                    (a)the
                                                                                                        theInitial
                                                                                                            InitialPurchase
                                                                                                                    PurchasePayment
                                                                                                                             Paymentfor
                                                                                                                                     for such
                                                                                                                                          such
         Purchased
          PurchasedReceivable,
                    Receivable,plug
                                plus(b)
                                     (b)the
                                         theSubsequent
                                              SubsequentPurchase
                                                          PurchasePayment
                                                                   Paymentfor
                                                                           forsuch
                                                                               suchPurchased
                                                                                      PurchasedReceivable.
                                                                                                  Receivable.
                1.8
                 1.8 “Obligations”
                         "Obligations" means  means allall present
                                                            present and
                                                                      and future
                                                                             future obligations
                                                                                     obligations owing
                                                                                                     owing byby GRAHAM
                                                                                                                    GRAHAM COUNTY    COUNTY LAND   LAND COMPANY
                                                                                                                                                           COMPANY toto
         FLEXIBLE
          FLEXIBLE FUNDING
                         FUNDING whether  whether oror not
                                                         not for
                                                              for the
                                                                   the payment
                                                                        payment ofofmoney,
                                                                                        money, including
                                                                                                   including butbutnot not limited
                                                                                                                            limited toto the
                                                                                                                                          the outstanding
                                                                                                                                               outstanding amount
                                                                                                                                                             amount ofof allall
         Advances
          Advances hereunder,
                       hereunder, allall fees,
                                            fees, costs
                                                   costs andand expenses
                                                                 expenses payable
                                                                                payable byby GRAHAM
                                                                                                GRAHAM COUNTY   COUNTY LAND       LAND COMPANY
                                                                                                                                            COMPANY toto FLEXIBLE
                                                                                                                                                                FLEXIBLE
         FUNDING
          FUNDING pursuant
                        pursuant toto the the terms
                                               terms hereof,
                                                        hereof, and
                                                                  and allall other
                                                                              other amounts
                                                                                     amounts payable
                                                                                                 payable byby GRAHAM
                                                                                                                   GRAHAM COUNTY    COUNTY LAND    LAND COMPANY
                                                                                                                                                           COMPANY toto
         FLEXIBLE
          FLEXIBLEFUNDING
                        FUNDINGinin connection
                                             connection herewith,
                                                            herewith,whether
                                                                       whether direct
                                                                                    directororindirect,
                                                                                               indirect, absolute
                                                                                                           absoluteoror contingent,
                                                                                                                           contingent, duedue orortotobecome
                                                                                                                                                       become due,
                                                                                                                                                                due,joint
                                                                                                                                                                       jointoror
         several,
          several, primary
                    primary oror secondary,
                                   secondary, liquidated
                                                 liquidated oror unliquidated,
                                                                   unliquidated, secured
                                                                                     secured oror unsecured,
                                                                                                   unsecured, original,
                                                                                                                   original,renewed,
                                                                                                                                renewed, oror extended,
                                                                                                                                               extended, whether        arising
                                                                                                                                                           whether arising
         before,
          before, during,
                    during, oror after
                                  after the
                                         the commencement
                                              commencement ofof any    any bankruptcy
                                                                              bankruptcy casecase inin which
                                                                                                        which GRAHAM
                                                                                                                  GRAHAM COUNTY    COUNTY LAND   LAND COMPANY
                                                                                                                                                          COMPANY isis aa
         Debtor,
          Debtor, including
                    includingbut but not
                                       not limited
                                            limited toto any
                                                          any obligations
                                                               obligations arising
                                                                               arising pursuant
                                                                                        pursuant toto letters
                                                                                                        letters ofof credit
                                                                                                                      credit oror acceptance
                                                                                                                                   acceptance transactions
                                                                                                                                                 transactions oror any
                                                                                                                                                                    any other
                                                                                                                                                                          other
         financial
          financial accommodations.
                     accommodations.
                 1.9
                 1,9       “Purchased
                           "Purchased Receivable”
                                       Receivable" means
                                                   means each
                                                          each Eligible
                                                                Eligible Receivable
                                                                          Receivable purchased
                                                                                      purchased byby FLEXIBLE
                                                                                                     FLEXIBLE FUNDING
                                                                                                              FUNDING pursuant
                                                                                                                       pursuant toto the
                                                                                                                                      the
         terms
          terms ofofthis
                     this Agreement,
                           Agreement.
                1.10
                1.10 “Reserve
                         "ReserveAccount”
                                    Account" means
                                                means aa bookkeeping
                                                           bookkeeping account
                                                                        account FLEXIBLE
                                                                                 FLEXIBLE FUNDING
                                                                                             FUNDING onon the   the books
                                                                                                                      books ofofFLEXIBLE
                                                                                                                                FLEXIBLE FUNDING
                                                                                                                                              FUNDING
         representing
          representing anan unpaid
                            unpaid portion
                                     portion ofof the
                                                   the Purchased
                                                        Purchased Receivables,
                                                                   Receivables, and
                                                                                and which
                                                                                    which will
                                                                                           will bebe applied
                                                                                                     applied toto the
                                                                                                                   the Obligations
                                                                                                                        Obligations asas provided
                                                                                                                                         provided byby the
                                                                                                                                                        the
         terms
          terms hereof
                 hereof and
                          and maintained
                               maintained byby FLEXIBLE
                                                 FLEXIBLE FUNDING
                                                               FUNDING toto ensure
                                                                               ensure GRAHAM
                                                                                      GRAHAM COUNTY COUNTY LAND   LAND COMPANY’s
                                                                                                                           COMPANY's performance
                                                                                                                                             performance
         with the
         with        provisions hereof.
               the provisions    hereof.
                  1.11
                  1.11 “Subsequent
                            "Subsequent Purchase
                                          Purchase Payment”
                                                        Payment" means
                                                                  means anan amount
                                                                              amount equal
                                                                                       equal toto all
                                                                                                    all collections
                                                                                                         collections actually
                                                                                                                        actually received
                                                                                                                                  received by by FLEXIBLE
                                                                                                                                                   FLEXIBLE
         FUNDING with respect to any Purchased Receivable in excess of the Initial Purchase Payment thereof, less the amount of
          FUNDING          with respect to  any   Purchased   Receivable in excess of the   Initial Purchase    Payment      thereof; less the   amount    of all
                                                                                                                                                               all
         fees,
          fees, costs
                  costs and
                          and expenses
                               expenses payable
                                        payable byby GRAHAM
                                                        GRAHAM COUNTY
                                                                   COUNTY LANDLAND COMPANY
                                                                                      COMPANY hereunder hereunder applied
                                                                                                                    applied toto such
                                                                                                                                  such collections,
                                                                                                                                        collections, and
                                                                                                                                                       and less
                                                                                                                                                             less
         all
          all other
               other amounts
                       amounts payable
                                 payable byby GRAHAM
                                               GRAHAM COUNTY COUNTY LAND
                                                                       LAND COMPANY
                                                                               COMPANY hereunder
                                                                                               hereunder applied
                                                                                                             applied toto such
                                                                                                                          such collections
                                                                                                                                 collections pursuant
                                                                                                                                               pursuant toto the
                                                                                                                                                              the
         terms
          terms of of this
                       this Agreement.
                            Agreement. Each
                                          Each Subsequent
                                                  SubsequentPurchase
                                                              Purchase Payment
                                                                        Payment shall
                                                                                 shall bebe applied
                                                                                            applied toto the
                                                                                                         the outstanding
                                                                                                              outstanding Obligations
                                                                                                                              Obligations atat such
                                                                                                                                               such times
                                                                                                                                                     times and
                                                                                                                                                             and
         inin such
              such amounts
                     amounts asas provided
                                  provided inin this
                                                 this Agreement.
                                                      Agreement.

                                                          OFFER
                                                          OFFER AND
                                                                AND SALE
                                                                    SALE OF
                                                                         OF ACCOUNTS
                                                                            ACCOUNTS RECEIVABLE
                                                                                     RECEIVABLE

          2.2,    Atits
                  At its election
                           election from
                                     from time
                                           time toto time
                                                     time during
                                                            during the
                                                                     the term
                                                                           term ofof this
                                                                                       this Agreement,
                                                                                            Agreement, GRAHAM
                                                                                                         GRAHAM COUNTY COUNTY LAND  LAND COMPANY
                                                                                                                                               COMPANY agrees    agrees toto
          offer
           offer for
                  for sale
                      sale toto FLEXIBLE
                                FLEXIBLE FUNDING
                                              FUNDING certain  certain of
                                                                       of its
                                                                            its Eligible
                                                                                 Eligible Receivables
                                                                                            Receivables arising
                                                                                                        arising out
                                                                                                                 out of
                                                                                                                      of sales
                                                                                                                         sales of
                                                                                                                                of goods,
                                                                                                                                   goods, oror services
                                                                                                                                                services rendered,
                                                                                                                                                            rendered, byby
          GRAHAM
           GRAHAM COUNTY   COUNTY LAND  LAND COMPANY,
                                                COMPANY, and       and toto sell
                                                                             sell toto FLEXIBLE
                                                                                       FLEXIBLE FUNDING
                                                                                                    FUNDING on   on the
                                                                                                                     the terms
                                                                                                                          terms set
                                                                                                                                 set forth
                                                                                                                                     forth inin this   Agreement, such
                                                                                                                                                this Agreement,       such
          of
           of the
               the offered
                    offered Eligible
                               Eligible Receivables
                                         Receivables asas FLEXIBLE
                                                             FLEXIBLE FUNDING FUNDING may     may accept
                                                                                                   accept for
                                                                                                           for purchase
                                                                                                                purchase inin accordance
                                                                                                                               accordance withwith thethe terms
                                                                                                                                                          terms hereof.
                                                                                                                                                                   hereof
          Pursuant
           Pursuant toto the
                           the terms
                                terms and
                                       and conditions
                                             conditions hereof,
                                                           hereof, FLEXIBLE
                                                                     FLEXIBLE FUNDING   FUNDING shallshall have
                                                                                                           have the
                                                                                                                 the absolute
                                                                                                                      absolute right
                                                                                                                                 right toto reject
                                                                                                                                            reject any
                                                                                                                                                     any oror all
                                                                                                                                                              all offered
                                                                                                                                                                   offered
          Accounts
           Accounts Receivable,
                        Receivable, whether
                                        whether oror not
                                                       not an an Eligible
                                                                  Eligible Receivable,
                                                                               Receivable, and and whether
                                                                                                    whether oror not
                                                                                                                  not FLEXIBLE
                                                                                                                        FLEXIBLE FUNDING
                                                                                                                                       FUNDING has      has previously
                                                                                                                                                              previously
          purchased
           purchased any any Account
                              Account Receivable
                                        Receivable of  of the
                                                          the same
                                                                same Account
                                                                      Account Debtor Debtor hereunder.
                                                                                             hereunder.
          3.3.    Upon
                  Upon FLEXIBLE
                           FLEXIBLE FUNDING’sFUNDING's purchase purchase of   of any
                                                                                  any Account
                                                                                       Account Receivable
                                                                                                    Receivable pursuant
                                                                                                                    pursuant toto thethe terms
                                                                                                                                          terms hereof,
                                                                                                                                                  hereof; GRAHAM
                                                                                                                                                            GRAHAM COUNTY    COUNTY
          LAND
          LAND COMPANY
                     COMPANY shall      shall be
                                               be deemed
                                                    deemed toto have,
                                                                  have, andand shall
                                                                                  shall have,
                                                                                        have, sold,
                                                                                                sold, transferred,
                                                                                                         transferred, assigned
                                                                                                                         assigned and and otherwise
                                                                                                                                            otherwise conveyed
                                                                                                                                                         conveyed toto FLEXIBLE
                                                                                                                                                                            FLEXIBLE
          FUNDING,
          FUNDING, asas aa sale     sale byby GRAHAM
                                                GRAHAM COUNTY   COUNTY LAND      LAND COMPANY
                                                                                           COMPANY and        and aa purchase
                                                                                                                       purchase by   by FLEXIBLE
                                                                                                                                          FLEXIBLE FUNDING,
                                                                                                                                                          FUNDING, and            not asas
                                                                                                                                                                             and not
          security
          security forfor any
                           any indebtedness
                                  indebtedness oror otherother obligation
                                                                 obligation of   of GRAHAM
                                                                                    GRAHAM COUNTY     COUNTY LAND    LAND COMPANY
                                                                                                                                COMPANY toto FLEXIBLEFLEXIBLE FUNDING, FUNDING, all    all
          right,
          right, title
                  title and
                        and interest
                               interest ofof GRAHAM
                                              GRAHAM COUNTY  COUNTY LAND      LAND COMPANY
                                                                                        COMPANY inin and      and toto each
                                                                                                                       each such
                                                                                                                               such Purchased
                                                                                                                                      Purchased Receivable,
                                                                                                                                                    Receivable, together
                                                                                                                                                                      together with
                                                                                                                                                                                with all
                                                                                                                                                                                       all
          related
          related rights
                     rights (but
                               (but not
                                      not obligations)
                                            obligations) of  of GRAHAM
                                                                 GRAHAM COUNTY     COUNTY LAND    LAND COMPANY
                                                                                                             COMPANY with       with respect
                                                                                                                                        respect thereto,
                                                                                                                                                  thereto, including
                                                                                                                                                             including all  all contract
                                                                                                                                                                                contract
          rights,
          rights, guarantees,
                    guarantees, letters
                                     letters of
                                              of credit,
                                                  credit, liens
                                                           liens inin favor
                                                                       favor ofof GRAHAM
                                                                                   GRAHAM COUNTY   COUNTY LAND    LAND COMPANY,
                                                                                                                              COMPANY, insuranceinsurance and        other agreements
                                                                                                                                                              and other     agreements
          and
           and arrangements
                 arrangements of     of whatever
                                         whatever character
                                                      character fromfrom time
                                                                            time toto time
                                                                                      time supporting
                                                                                              supporting or   or securing
                                                                                                                 securing payment
                                                                                                                               payment of  of such
                                                                                                                                               such Purchased
                                                                                                                                                     Purchased Receivable,
                                                                                                                                                                      Receivable, and and
          all
          all right,
               right, title
                       title and
                              and interest
                                    interest of of GRAHAM
                                                    GRAHAM COUNTY   COUNTY LAND     LAND COMPANY
                                                                                              COMPANY inin any       any related
                                                                                                                           related goods,
                                                                                                                                     goods, including
                                                                                                                                               including GRAHAM
                                                                                                                                                            GRAHAM COUNTY    COUNTY
          LAND
          LAND COMPANY
                     COMPANY's        ’s rights
                                          rights and
                                                   and remedies
                                                         remedies under
                                                                      under Article
                                                                               Article 2,2, Part
                                                                                             Part 77 of
                                                                                                      of the
                                                                                                          the UCC.
                                                                                                               UCC. The The sale,
                                                                                                                               sale, transfer,    assignment and
                                                                                                                                      transfer, assignment        and conveyance
                                                                                                                                                                        conveyance of   of
          any Purchased
          any    Purchased Receivable
                                 Receivable toto FLEXIBLE
                                                      FLEXIBLE FUNDING  FUNDING does    does notnot constitute
                                                                                                       constitute andand is is not
                                                                                                                                not intended
                                                                                                                                     intended to to result
                                                                                                                                                     result inin anan assumption
                                                                                                                                                                        assumption by  by
          FLEXIBLE
          FLEXIBLE FUNDING  FUNDING of       of any
                                                 any obligation
                                                       obligation of  of GRAHAM
                                                                          GRAHAM COUNTY  COUNTY LAND                 COMPANY or
                                                                                                          LAND COMPANY                    any other
                                                                                                                                       or any   other person
                                                                                                                                                       person in      connection with
                                                                                                                                                                  in connection      with
          the
          the Purchased
                Purchased Receivable
                                Receivable or   or related
                                                    related rights
                                                             rights oror under
                                                                          under anyany agreement
                                                                                        agreement or        instrument relating
                                                                                                         or instrument                 thereto, GRAHAM
                                                                                                                            relating thereto,      GRAHAM COUNTY   COUNTY LAND   LAND
          COMPANY agrees
          COMPANY            agrees toto execute
                                            execute and and deliver
                                                             deliver suchsuch bills    of sale,
                                                                                 bills of  sale, assignments,
                                                                                                    assignments, letters
                                                                                                                      letters of of credit,   notices of
                                                                                                                                     credit, notices    of assignment,
                                                                                                                                                            assignment, financing
                                                                                                                                                                              financing
           statements (including
          statements      (including continuation          statements) under
                                          continuation statements)           under the
                                                                                     the UCC
                                                                                          UCC and  and other
                                                                                                         other documents,
                                                                                                                documents, and    and make
                                                                                                                                        make such
                                                                                                                                                such entries
                                                                                                                                                      entries andand markings
                                                                                                                                                                       markings in  in its
                                                                                                                                                                                       its
          books
           books andand records,
                         records, and and toto take
                                               take all
                                                      all such
                                                          such other      actions (including
                                                                 other actions      (including the  the negotiation,
                                                                                                         negotiation, assignment
                                                                                                                          assignment or   or transfer
                                                                                                                                              transfer of
                                                                                                                                                        of negotiable
                                                                                                                                                            negotiable documents,
                                                                                                                                                                            documents,
           letters of
           letters   of credit
                        credit or  or other
                                       other instruments)
                                                instruments) as   as FLEXIBLE
                                                                       FLEXIBLE FUNDING FUNDING may       may request
                                                                                                                 request toto further
                                                                                                                                  further evidence
                                                                                                                                            evidence or or protect
                                                                                                                                                             protect the the sales
                                                                                                                                                                              sales and
                                                                                                                                                                                      and
           assignments of
           assignments       of Purchased          Receivables and
                                  Purchased Receivables              and related
                                                                             related rights
                                                                                       rights to to FLEXIBLE
                                                                                                       FLEXIBLE FUNDING FUNDING hereunder,hereunder, as  as well as FLEXIBLE
                                                                                                                                                              well     as   FLEXIBLE
           FUNDING'’s s interest
          FUNDING'            interest inin any
                                             any goods
                                                   goods and
                                                           and inventory
                                                                 inventory returned
                                                                                returned to to GRAHAM
                                                                                               GRAHAM COUNTY    COUNTY LAND     LAND COMPANY
                                                                                                                                           COMPANY in      in connection
                                                                                                                                                                connection withwith any
                                                                                                                                                                                      any
          Disputed Account.
          Disputed     Account. After  After anan Account
                                                   Account Receivable
                                                               Receivable has   has been
                                                                                     been purchased
                                                                                             purchased by   by FLEXIBLE
                                                                                                                FLEXIBLE FUNDING, FUNDING, GRAHAM  GRAHAM COUNTY   COUNTY LAND   LAND
            COMPANY shall
           COMPANY           shall not
                                     not have
                                           have the
                                                  the right
                                                       right to
                                                              to vary
                                                                 vary thethe terms
                                                                               terms ofof sale
                                                                                          sale set
                                                                                                 set forth
                                                                                                       forth in
                                                                                                              in the
                                                                                                                 the invoice
                                                                                                                       invoice relating
                                                                                                                                   relating to
                                                                                                                                             to such
                                                                                                                                                 such Purchased
                                                                                                                                                       Purchased Receivable,
                                                                                                                                                                        Receivable, or  or

          06 Factoring
          06 Factoring Agreement-
                       Agreement- Graham
                                  Graham County
                                         County Land
                                                Land Company
                                                     Company v2
                                                             v2                                                                                                            Page
                                                                                                                                                                           Page 22 of
                                                                                                                                                                                   of 14
                                                                                                                                                                                      14
     Case 23-04014-mxm                           Doc 12          Filed 04/28/23 Entered 04/28/23 12:10:07                                                     Desc Main
                                                               Document      Page 20 of 61

DocuSign Envelope
DocuSign Envelope ID:
                   ID: B5EE5598-66C0-428B-AD07-DEOFF86D2499
                       BSEE5598-66C0-428B-AD07-DEOFF86D2499


          any other
         any  other aspect
                       aspect ofof the
                                    the Purchased
                                         Purchased Receivable,
                                                       Receivable, except
                                                                      except inin GRAHAM
                                                                                   GRAHAM COUNTYCOUNTY LAND LAND COMPANY's
                                                                                                                   COMPANY’s capacity
                                                                                                                                 capacity as
                                                                                                                                           as agent
                                                                                                                                               agent for
                                                                                                                                                      for
         FLEXIBLE FUNDING
         FLEXIBLE         FUNDING for    for purposes
                                             purposes of  of collection
                                                              collection of
                                                                          of Purchased
                                                                              Purchased Receivable
                                                                                            Receivable as
                                                                                                        as may
                                                                                                           may be
                                                                                                               be required
                                                                                                                   required by
                                                                                                                            by FLEXIBLE
                                                                                                                               FLEXIBLE FUNDING
                                                                                                                                             FUNDING
         pursuant to
         pursuant   to the
                        the terms
                             terms hereof,
                                     hereof, and
                                              and then
                                                   then only
                                                         only with
                                                               with the
                                                                     the prior
                                                                         prior written
                                                                                written consent
                                                                                         consent of
                                                                                                  of FLEXIBLE
                                                                                                     FLEXIBLE FUNDING,
                                                                                                                FUNDING.
          4.
         4.       GRAHAM COUNTY
                  GRAHAM          COUNTY LAND      LAND COMPANY
                                                            COMPANY will     will provide
                                                                                     provide FLEXIBLE
                                                                                                FLEXIBLE FUNDING  FUNDING with    with title
                                                                                                                                        title to
                                                                                                                                               to all
                                                                                                                                                    all Purchased
                                                                                                                                                          Purchased Receivables
                                                                                                                                                                        Receivables
          free and
         free    and clear
                      clear ofof all
                                  all liens,
                                       liens, charges,
                                                charges, security
                                                          security interest
                                                                     interest or or deemed
                                                                                     deemed trusts,
                                                                                                 trusts, will
                                                                                                          will obtain
                                                                                                                 obtain such
                                                                                                                          such discharges
                                                                                                                                 discharges or  or postponements
                                                                                                                                                     postponements from   from prior
                                                                                                                                                                                  prior
          secured creditors
         secured     creditors as as may
                                      may be be necessary
                                                  necessary to
                                                             to do
                                                                 do so,
                                                                     so, and
                                                                          and will
                                                                                will ensure
                                                                                       ensure that
                                                                                                that the
                                                                                                       the first
                                                                                                            first use
                                                                                                                  use of
                                                                                                                       of any
                                                                                                                           any Advance
                                                                                                                                4dvance by  by FLEXIBLE
                                                                                                                                                 FLEXIBLE FUNDING   FUNDING will   will
          be to
         be   to ensure
                  ensure that
                           that FLEXIBLE
                                 FLEXIBLE FUNDING  FUNDING receives
                                                                 receives title
                                                                             title to
                                                                                    to each
                                                                                        each Purchased
                                                                                               Purchased Receivable
                                                                                                               Receivable free
                                                                                                                             free and
                                                                                                                                    and clear
                                                                                                                                         clear ofof all
                                                                                                                                                      all liens,
                                                                                                                                                           liens, charges,
                                                                                                                                                                   charges, security
                                                                                                                                                                              security
          interest or
         interest    or deemed
                         deemed truststrusts asas required
                                                   required under
                                                             under this
                                                                      this paragraph
                                                                            paragraph 4,    4, including
                                                                                                including but  but not
                                                                                                                    not limited
                                                                                                                         limited to to paying
                                                                                                                                       paying all all outstanding
                                                                                                                                                         outstanding payroll
                                                                                                                                                                         payroll andand
          source deduction
         source     deduction related
                                   related liabilities
                                              liabilities of
                                                          of GRAHAM
                                                              GRAHAM COUNTY   COUNTY LAND     LAND COMPANY,
                                                                                                          COMPANY. FLEXIBLE  FLEXIBLE FUNDING FUNDING may        may withhold
                                                                                                                                                                       withhold the  the
          purchase of
         purchase      of any
                          any Eligible
                                Eligible Receivable
                                             Receivable and/or
                                                           and/or the
                                                                    the Initial
                                                                         Initial Purchase
                                                                                   Purchase Payment
                                                                                                Payment of    of any
                                                                                                                  any Eligible
                                                                                                                       Eligible Receivable
                                                                                                                                   Receivable until
                                                                                                                                                  until such
                                                                                                                                                           such time
                                                                                                                                                                  time as
                                                                                                                                                                        as the
                                                                                                                                                                            the terms
                                                                                                                                                                                 terms
          of this
         of   this paragraph
                   paragraph 44 have have been
                                            been complied
                                                    complied with.
                                                               with.

                                                                         ACCOUNTS MANAGEMENT
                                                                         ACCOUNTS MANAGEMENT
          5.
         5.     Before execution
                Before     execution of  of any
                                             any agreement
                                                  agreement with with anan Account
                                                                            Account DebtorDebtor inin connection
                                                                                                        connection with
                                                                                                                      with which
                                                                                                                              which GRAHAM
                                                                                                                                        GRAHAM COUNTY   COUNTY LAND LAND
          COMPANY desires
         COMPANY           desires FLEXIBLE
                                     FLEXIBLE FUNDING
                                                    FUNDING to      to purchase
                                                                        purchase any any Account
                                                                                           Account Receivable
                                                                                                      Receivable and and provide
                                                                                                                          provide services
                                                                                                                                       services under
                                                                                                                                                  under this
                                                                                                                                                          this Agreement,
                                                                                                                                                               Agreement,
          GRAHAM COUNTY
         GRAHAM          COUNTY LAND    LAND COMPANY
                                                 COMPANY shall    shall provide
                                                                         provide to to FLEXIBLE
                                                                                        FLEXIBLE FUNDING FUNDING the   the Account
                                                                                                                            Account Debtor's
                                                                                                                                         Debtor's legal
                                                                                                                                                     legal name,
                                                                                                                                                            name, address,
                                                                                                                                                                   address,
         phone number,
         phone   number, and  and other
                                    other information
                                           information that
                                                         that may
                                                               may be be requested
                                                                          requested by  by FLEXIBLE
                                                                                            FLEXIBLE FUNDING.
                                                                                                            FUNDING. FLEXIBLE
                                                                                                                            FLEXIBLE FUNDING FUNDING may    may conduct
                                                                                                                                                                 conduct aa
         credit investigation
         credit  investigation of   of each
                                        each Account
                                              Account Debtor
                                                        Debtor in  in FLEXIBLE
                                                                       FLEXIBLE FUNDING'sFUNDING's sole   sole discretion.
                                                                                                                discretion. In  In addition,
                                                                                                                                    addition, FLEXIBLE
                                                                                                                                                FLEXIBLE FUNDINGFUNDING
         may notify
         may   notify GRAHAM
                         GRAHAM COUNTY   COUNTY LAND  LAND COMPANY
                                                                 COMPANY of       of such
                                                                                       such investigation
                                                                                              investigation andand share
                                                                                                                     share information
                                                                                                                             information so   so received.
                                                                                                                                                  received. FLEXIBLE
                                                                                                                                                               FLEXIBLE
         FUNDING shall
         FUNDING         shall advise
                                  advise GRAHAM
                                           GRAHAM COUNTYCOUNTY LAND      LAND COMPANY
                                                                                   COMPANY of        of the
                                                                                                         the acceptance
                                                                                                              acceptance or   or rejection
                                                                                                                                  rejection of of each
                                                                                                                                                   each Account
                                                                                                                                                          Account Debtor
                                                                                                                                                                    Debtor
         submitted for
         submitted    for the
                            the purchase
                                 purchase of of Accounts
                                                Accounts Receivable,
                                                           Receivable, and  and may
                                                                                 may establish
                                                                                         establish aa maximum
                                                                                                       maximum credit
                                                                                                                    credit limit
                                                                                                                            limit for
                                                                                                                                    for such
                                                                                                                                         such Account
                                                                                                                                               Account Debtor,
                                                                                                                                                          Debtor, without
                                                                                                                                                                   without
         waiving its
         waiving   its right
                        right atat any
                                   any subsequent
                                        subsequent time
                                                     time toto terminate
                                                                terminate or or modify
                                                                                modify any any such
                                                                                                such acceptance.
                                                                                                       acceptance.
         6.
         6.    GRAHAM COUNTY
               GRAHAM       COUNTY LAND          COMPANY shall
                                        LAND COMPANY                   provide to
                                                                 shall provide                 FUNDING each
                                                                                   FLEXIBLE FUNDING
                                                                                to FLEXIBLE                  each week   with the
                                                                                                                   week with        information
                                                                                                                               the information
         described below
         described below in
                          in content
                             content and
                                     and format
                                          format acceptable
                                                  acceptable to
                                                              to FLEXIBLE
                                                                  FLEXIBLE FUNDING
                                                                               FUNDING (hereafter
                                                                                         (hereafter an
                                                                                                    an "Invoice
                                                                                                        “Invoice Pack"):
                                                                                                                 Pack”):
               6.1
               6,1    Detail  of all
                      Detail of                    Accounts Receivable
                                      outstanding Accounts
                                  all outstanding                          (which may
                                                             Receivable (which                     but not
                                                                                         include, but
                                                                                    may include,              limited to,
                                                                                                        not limited         invoices, aging
                                                                                                                       to, invoices,         reports,
                                                                                                                                      aging reports,
         spreadsheets, access
         spreadsheets, access to
                               to accounting
                                   accounting programs,
                                               programs, and/or
                                                         and/or access
                                                                access to
                                                                        to certain
                                                                           certain servicer
                                                                                   servicer online
                                                                                            online portals);
                                                                                                    portals);
               6.2
               6.2     Supporting   information (which
                       Supporting information                 include, but
                                                         may include,
                                                 (which may                not limited
                                                                       but not               signed timecards,
                                                                                         to, signed
                                                                                limited to,                      timecard data
                                                                                                     timecards, timecard          access, access
                                                                                                                               or access,
                                                                                                                          data or                 to
                                                                                                                                          access to
         online portals
         online portals identifying
                         identifying timecard
                                     timecard information);
                                               information); and
                                                             and
                6.3
                6.3       A listing
                          A  listing of
                                     of all
                                        all unpaid
                                             unpaid Accounts
                                                    4ccounts Receivable.
                                                             Receivable.
          7.
         7.     After    submission of
                 After submission         an Invoice
                                       of an                    FLEXIBLE FUNDING
                                                         Pack, FLEXIBLE
                                              Invoice Pack,                       FUNDING shall          provide to
                                                                                                  shall provide        GRAHAM COUNTY
                                                                                                                   to GRAHAM             COUNTY LAND              COMPANY aa
                                                                                                                                                       LAND COMPANY
         report (each,
         report   (each, aa "Facility
                             “Facility Report")
                                        Report”) thatthat captures
                                                           captures the
                                                                      the current
                                                                           current state
                                                                                      state of
                                                                                             of the
                                                                                                 the Factoring
                                                                                                     Factoring Facility:
                                                                                                                   Facility: e.g.,
                                                                                                                                 e.g., the
                                                                                                                                        the Eligible
                                                                                                                                            Eligible Receivables
                                                                                                                                                        Receivables included
                                                                                                                                                                        included
             the most
         in the
         in              recent Invoice
                  most recent                     purchased by
                                           Pack purchased
                                 Invoice Pack                        FLEXIBLE FUNDING
                                                                 by FLEXIBLE           FUNDING (in          whole or
                                                                                                       (in whole     or in   part), the
                                                                                                                         in part),         current Purchased
                                                                                                                                      the current                   Receivables
                                                                                                                                                     Purchased Receivables
         balance; new
         balance;    new billings
                           billings and
                                     and new
                                          new collections
                                                collections (since
                                                               (since the
                                                                        the prior
                                                                             prior Invoice
                                                                                     Invoice Pack),
                                                                                               Pack), thethe then-available
                                                                                                              then-available amountamount of of the
                                                                                                                                                 the Factoring
                                                                                                                                                      Factoring Facility,
                                                                                                                                                                    Facility, the
                                                                                                                                                                               the
          current request
         current    request toto purchase
                                 purchase Eligible
                                             Eligible Receivables
                                                         Receivables and  and fees,
                                                                                fees, costs
                                                                                        costs and
                                                                                               and other
                                                                                                     other expenses
                                                                                                             expenses payable
                                                                                                                           payable by   by GRAHAM
                                                                                                                                            GRAHAM COUNTY    COUNTY LAND  LAND
          COMPANY at
         COMPANY           at such
                              such time.
                                    time. GRAHAM
                                             GRAHAM COUNTY   COUNTY LAND    LAND COMPANYCOMPANY agrees   agrees that
                                                                                                                  that itit shall
                                                                                                                            shall have
                                                                                                                                     have accepted
                                                                                                                                            accepted all all entries
                                                                                                                                                              entries contained
                                                                                                                                                                       contained
         within aa Facilities
         within      Facilities Report
                                 Report unless
                                          unless itit shall
                                                      shall have
                                                             have notified
                                                                    notified FLEXIBLE
                                                                               FLEXIBLE FUNDING FUNDING of      of any
                                                                                                                   any dispute
                                                                                                                          dispute with
                                                                                                                                     with any
                                                                                                                                            any ofof the
                                                                                                                                                     the entries
                                                                                                                                                           entries contained
                                                                                                                                                                    contained in in
          such Facility
         such   Facility Report
                           Report within
                                   within ten
                                            ten (10)
                                                 (10) days
                                                        days of
                                                              of receipt
                                                                  receipt ofof such
                                                                               such Facility
                                                                                       Facility Report.
                                                                                                  Report.
          8.
         8.     GRAHAM COUNTY
                GRAHAM        COUNTY LAND   LAND COMPANY
                                                      COMPANY agrees   agrees that
                                                                                that all
                                                                                       all invoices
                                                                                            invoices toto Account
                                                                                                           Account Debtors
                                                                                                                       Debtors shall
                                                                                                                                  shall designate
                                                                                                                                          designate GRAHAM
                                                                                                                                                      GRAHAM
          COUNTY LAND
         COUNTY      LAND COMPANY
                               COMPANY as     as the
                                                  the named
                                                       named payee,
                                                                payee, with
                                                                        with specific
                                                                               specific remittance
                                                                                          remittance instructions
                                                                                                       instructions asas FLEXIBLE
                                                                                                                          FLEXIBLE FUNDING
                                                                                                                                         FUNDING designates
                                                                                                                                                       designates
          to GRAHAM
         to   GRAHAM COUNTYCOUNTY LAND  LAND COMPANY
                                                  COMPANY from     from time
                                                                          time to
                                                                                to time.
                                                                                    time. Currently
                                                                                              Currently the
                                                                                                          the designated
                                                                                                               designated address
                                                                                                                             address forfor receipt
                                                                                                                                             receipt of
                                                                                                                                                      of physical
                                                                                                                                                          physical
          payments (e.g.,
         payments   (e.g., checks,
                            checks, drafts,
                                      drafts, etc,)
                                              etc.) is
                                                     is P.O.
                                                         P.O. Box
                                                                Box 7064,
                                                                      7064, San
                                                                              San Francisco,
                                                                                    Francisco, CA CA 94120,
                                                                                                        94120, and
                                                                                                                 and instructions
                                                                                                                       instructions for
                                                                                                                                      for receipt
                                                                                                                                           receipt of
                                                                                                                                                    of electronic
                                                                                                                                                        electronic
         payments (e.g.,
         payments   (e.g., wire
                           wire transfers,
                                 transfers, ACH's,
                                             ACH’s, etc.)
                                                        etc.) for
                                                              for the
                                                                  the following
                                                                       following FLEXIBLE
                                                                                    FLEXIBLE FUNDINGFUNDING account:
                                                                                                                  account: Bank
                                                                                                                             Bank Name:
                                                                                                                                    Name: Wells
                                                                                                                                              Wells Fargo
                                                                                                                                                     Fargo Bank
                                                                                                                                                             Bank
         •+ ABA:
             ABA: 121000248
                  121000248 •+ Account
                                    Account Name:
                                                Name: Flexible
                                                         Flexible Funding
                                                                   Funding •+ Account
                                                                                  Account     No: 4428952527
                                                                                             No:   4428952527 •+ Phone:
                                                                                                                     Phone: 415-391-4320.
                                                                                                                               415-391-4320.
          9.
         9.      The only
                 The  only address
                           address on
                                   on invoices
                                       invoices shall
                                                shall be
                                                      be the
                                                         the remittance
                                                             remittance address
                                                                        address and/or
                                                                                and/or electronic
                                                                                       electronic remittance
                                                                                                   remittance address
                                                                                                               address designated
                                                                                                                         designated inin paragraph
                                                                                                                                         paragraph
         88 above.
             above. If
                    If any
                       any payment
                           payment is
                                    is received
                                       received by
                                                by GRAHAM
                                                    GRAHAM COUNTY
                                                                COUNTY LANDLAND COMPANY,
                                                                                  COMPANY, eithereither physically
                                                                                                        physically or
                                                                                                                    or electronically:
                                                                                                                       electronically:
                9.1
               9.1      GRAHAM COUNTY
                        GRAHAM     COUNTY LAND
                                          LAND COMPANY
                                               COMPANY shall
                                                       shall hold
                                                             hold such
                                                                  such payment
                                                                        payment irrevocably
                                                                                  irrevocably in
                                                                                              in trust
                                                                                                 trust for
                                                                                                       for FLEXIBLE
                                                                                                           FLEXIBLE FUNDING,
                                                                                                                    FUNDING,
         separate and
         separate   and apart
                        apart from
                              from GRAHAM
                                   GRAHAM COUNTY
                                          COUNTY LAND
                                                 LAND COMPANY'S
                                                      COMPANY'S own   own funds;
                                                                           funds;
             9.2
             9.2    GRAHAM COUNTY
                    GRAHAM       COUNTY LAND  LAND COMPANY
                                                     COMPANY shall shall deliver
                                                                          deliver such
                                                                                    such payment
                                                                                          payment within
                                                                                                  within one
                                                                                                          one (1)
                                                                                                              (1) business
                                                                                                                  business day
                                                                                                                           day to
                                                                                                                               to FLEXIBLE
                                                                                                                                  FLEXIBLE
         FUNDING in
         FUNDING   in the
                      the identical
                          identical form
                                     form in
                                           in which
                                              which it
                                                    it was
                                                       was received
                                                           received (except
                                                                      (except for
                                                                                for the
                                                                                     the endorsement
                                                                                         endorsement or
                                                                                                      or assignment
                                                                                                         assignment of
                                                                                                                     of GRAHAM
                                                                                                                        GRAHAM COUNTY
                                                                                                                                   COUNTY
         LAND COMPANY
         LAND   COMPANY where
                            where necessary);
                                    necessary);
               93
              9.3    GRAHAM COUNTY
                     GRAHAM        COUNTY LAND LAND COMPANY
                                                      COMPANY shall
                                                              shall promptly
                                                                    promptly notify
                                                                             notify the
                                                                                    the Account
                                                                                        Account Debtor
                                                                                                Debtor in
                                                                                                       in writing
                                                                                                          writing to
                                                                                                                  to send
                                                                                                                     send future
                                                                                                                          future
         payments as
         payments as set
                     set forth
                         forth in
                               in paragraph
                                  paragraph 8§ above.
                                               above.
         10. GRAHAM
         10.   GRAHAM COUNTY
                         COUNTY LAND
                                  LAND COMPANY
                                        COMPANY shall  shall execute
                                                             execute all
                                                                     all authorizations
                                                                         authorizations oror other
                                                                                             other documents
                                                                                                   documents requested
                                                                                                               requested toto establish
                                                                                                                               establish and
                                                                                                                                          and
         maintain FLEXIBLE
         maintain FLEXIBLE FUNDING's
                            FUNDING's authority
                                       authority to
                                                 to accept,
                                                    accept, endorse
                                                             endorse and
                                                                     and deposit
                                                                          deposit all
                                                                                   all Account
                                                                                       Account Debtor
                                                                                                 Debtor remittances
                                                                                                        remittances toto the
                                                                                                                         the bank
                                                                                                                               bank account
                                                                                                                                     account
         of FLEXIBLE
         of FLEXIBLE FUNDING,
                       FUNDING. GRAHAM
                                 GRAHAM COUNTY
                                             COUNTY LAND LAND COMPANY
                                                                 COMPANY herebyhereby appoints
                                                                                        appoints FLEXIBLE
                                                                                                  FLEXIBLE FUNDING
                                                                                                              FUNDING as     as its
                                                                                                                                its agent
                                                                                                                                    agent for
                                                                                                                                           for


         06 Factoring
         06 Factoring Agreement-
                      Agreement- Graham
                                 Graham County
                                        County Land
                                               Land Company
                                                    Company v2
                                                            v2                                                                                                           Page 33 of
                                                                                                                                                                         Page    of 14
                                                                                                                                                                                    14
     Case 23-04014-mxm                            Doc 12          Filed 04/28/23 Entered 04/28/23 12:10:07                                                      Desc Main
                                                                Document      Page 21 of 61

 DocuSign Envelope
DocuSign   Envelope ID:
                     ID: B5EE5598-66C0-428B-AD07-DEOFF86D2499
                          BSEE5598-66C0-428B-AD07-DEOFF86D2499


           the purpose
          the   purpose of
                         of executing
                             executing all
                                         all authorizations
                                              authorizations oror other
                                                                   other documents
                                                                          documents toto establish
                                                                                          establish and
                                                                                                     and maintain
                                                                                                         maintain FLEXIBLE
                                                                                                                   FLEXIBLE FUNDING's
                                                                                                                                  FUNDING's authority
                                                                                                                                                authority toto
           accept, endorse
          accept,   endorse andand deposit
                                    deposit allall electronic
                                                    electronic Account
                                                               4ccount Debtor
                                                                           Debtor remittances
                                                                                   remittances (such
                                                                                                  (such asas ACH)
                                                                                                             ACH) toto the
                                                                                                                        the bank
                                                                                                                             bank account
                                                                                                                                   account of
                                                                                                                                            of FLEXIBLE
                                                                                                                                                FLEXIBLE
           FUNDING.
          FUNDING.
          11. All
         11.      All funds
                       funds credited
                               credited toto the
                                               the payment
                                                    payment of   of Purchased
                                                                      Purchased Receivables
                                                                                      Receivables and and the
                                                                                                            the Obligations
                                                                                                                   Obligations areare conditional
                                                                                                                                        conditional upon
                                                                                                                                                       upon final
                                                                                                                                                               final payment
                                                                                                                                                                      payment toto
          FLEXIBLE FUNDING
         FLEXIBLE         FUNDING inin cash  cash oror solvent
                                                         solvent credits
                                                                    credits ofof the
                                                                                  the items
                                                                                       items giving
                                                                                              giving rise
                                                                                                        rise toto such
                                                                                                                   such funds.
                                                                                                                         funds. IfIf any
                                                                                                                                      any item
                                                                                                                                           item credited
                                                                                                                                                  credited toto the
                                                                                                                                                                 the payment
                                                                                                                                                                      payment of of
          the Purchased
         the    Purchased Receivables
                              Receivables and/orand/or thethe Obligations
                                                               Obligations isis not  not paid
                                                                                          paid toto FLEXIBLE
                                                                                                     FLEXIBLE FUNDING  FUNDING or     or payment
                                                                                                                                          payment thereof
                                                                                                                                                      thereof isis rescinded
                                                                                                                                                                     rescinded oror
          required toto be
         required        be returned
                             returned by
                                       by FLEXIBLE
                                             FLEXIBLE FUNDING,FUNDING, the      the amount
                                                                                      amount ofof any
                                                                                                    any credit
                                                                                                         credit given
                                                                                                                   given for
                                                                                                                          for such
                                                                                                                               such item
                                                                                                                                      item shall
                                                                                                                                            shall be
                                                                                                                                                   be charged
                                                                                                                                                       charged toto the
                                                                                                                                                                      the balance
                                                                                                                                                                           balance
          of the
         of   the Obligations
                   Obligations whether
                                 whether or   or not
                                                  not the
                                                       the item
                                                            item isis returned.
                                                                       returned.
          12. Upon
         12.   Upon request
                     request from
                                from GRAHAM
                                      GRAHAM COUNTY COUNTY LAND    LAND COMPANY
                                                                            COMPANY entered entered through
                                                                                                       through FLEXIBLE
                                                                                                                FLEXIBLE FUNDING's
                                                                                                                          FUNDING’s online
                                                                                                                                     online portal,
                                                                                                                                             portal,
          FLEXIBLE FUNDING
         FLEXIBLE     FUNDING shall  shall forward
                                            forward within
                                                      within one one (1)
                                                                      (1) business
                                                                           business day
                                                                                      day toto GRAHAM
                                                                                                GRAHAM COUNTY  COUNTY LAND
                                                                                                                        LAND COMPANY
                                                                                                                              COMPANY aa report
                                                                                                                                              report
          summarizing all
         summarizing   all then-current
                            then-current transactions
                                          transactions inin connection
                                                             connection with
                                                                          with Factoring
                                                                                Factoring Facility.
                                                                                             Facility.

                                        PURCHASE PRICE;
                                        PURCHASE PRICE; LIMIT;
                                                        LIMIT; COMPENSATION
                                                               COMPENSATION TO
                                                                            TO FLEXIBLE
                                                                                FLEXIBLE FUNDING
                                                                                          FUNDING
           13. Subject
         13.      Subject toto the
                                 the terms
                                       terms ofof this
                                                    this Agreement,
                                                          Agreement, upon upon receipt
                                                                                  receipt of
                                                                                           of an
                                                                                               an offer
                                                                                                    offer for
                                                                                                            for sale
                                                                                                                  sale of
                                                                                                                        of Eligible
                                                                                                                            Eligible Receivables
                                                                                                                                         Receivables from from GRAHAM
                                                                                                                                                                  GRAHAM
          COUNTY LAND
         COUNTY         LAND COMPANY
                                   COMPANY entered  entered onon aa business
                                                                     business day
                                                                                day through
                                                                                     through FLEXIBLE
                                                                                              FLEXIBLE FUNDING's
                                                                                                               FUNDING'’s online  online portal
                                                                                                                                           portal and
                                                                                                                                                   and the
                                                                                                                                                        the related
                                                                                                                                                             related Invoice
                                                                                                                                                                      Invoice
          Pack, subject
         Pack,     subject toto the
                                 the terms
                                      terms of
                                             of this
                                                  this Agreement
                                                         Agreement FLEXIBLE
                                                                        FLEXIBLE FUNDING
                                                                                       FUNDING shall, shall, within
                                                                                                               within one
                                                                                                                        one (1)
                                                                                                                              (1) business
                                                                                                                                    business day,
                                                                                                                                                day, remit
                                                                                                                                                      remit thethe aggregate
                                                                                                                                                                    aggregate
          Initial Purchase
         Initial   Purchase Payment
                                 Payment forfor the
                                                 the Purchased
                                                        Purchased Receivables
                                                                      Receivables contained
                                                                                      contained inin such
                                                                                                      such Invoice
                                                                                                             Invoice Pack
                                                                                                                        Pack to to such
                                                                                                                                    such bank
                                                                                                                                            bank account
                                                                                                                                                   account as as GRAHAM
                                                                                                                                                                  GRAHAM
          COUNTY LAND
         COUNTY          LAND COMPANY
                                    COMPANY shall    shall designate.
                                                            designate. The The amount
                                                                                 amount ofof the
                                                                                              the Initial
                                                                                                   Initial Purchase
                                                                                                            Purchase Payment
                                                                                                                          Payment for  for each
                                                                                                                                             each Purchased
                                                                                                                                                   Purchased Receivable
                                                                                                                                                                  Receivable
          contained in
         contained     in each
                           each Invoice
                                  Invoice Pack
                                           Pack shall
                                                   shall be
                                                          be specified
                                                              specified onon the
                                                                              the Facility
                                                                                  Facility Report.
                                                                                            Report.
                13.1 Subject
               13.1      Subject toto the
                                       the application
                                            application ofof collections
                                                              collections to
                                                                           to the
                                                                               the Reserve
                                                                                    Reserve Account
                                                                                               Account as  as provided
                                                                                                               provided inin paragraph
                                                                                                                              paragraph 13.2
                                                                                                                                          13.2 below,
                                                                                                                                                 below, FLEXIBLE
                                                                                                                                                          FLEXIBLE
         FUNDING shall
         FUNDING        shall withdraw
                                withdraw each each business
                                                    business day day funds
                                                                      funds from
                                                                               from collections
                                                                                       collections of of Purchased
                                                                                                           Purchased Receivables
                                                                                                                        Receivables and  and all
                                                                                                                                               all other
                                                                                                                                                     other Collateral
                                                                                                                                                            Collateral
          deposited into
         deposited   into the
                           the account
                                account described
                                           described in
                                                      in paragraph
                                                         paragraph 88 above
                                                                         above that
                                                                                 that are
                                                                                       are available
                                                                                            available for
                                                                                                        for withdrawal
                                                                                                             withdrawal to to the
                                                                                                                               the payment
                                                                                                                                    payment of
                                                                                                                                             of the
                                                                                                                                                 the Obligations.
                                                                                                                                                      Obligations.
                 13.2 FLEXIBLE
                13.2      FLEXIBLE FUNDINGFUNDING shall  shall credit
                                                                credit toto the
                                                                             the Reserve
                                                                                  Reserve Account
                                                                                              Account allall collections
                                                                                                              collections with with respect
                                                                                                                                      respect toto aa Purchased
                                                                                                                                                      Purchased Receivable
                                                                                                                                                                      Receivable inin
          excess of
         excess    of the
                       the Initial
                            Initial Purchase
                                     Purchase Payment
                                                  Payment thereof.
                                                                thereof. AfterAfter the
                                                                                      the application
                                                                                             application of of available
                                                                                                                 available fundsfunds toto the
                                                                                                                                            the Obligations
                                                                                                                                                  Obligations as    as provided
                                                                                                                                                                         provided inin
         paragraph 13.1
         paragraph     13.1 above,
                              above, FLEXIBLE
                                       FLEXIBLE FUNDINGFUNDING shall   shall charge
                                                                                charge to to and
                                                                                              and deduct
                                                                                                   deduct from
                                                                                                             from the the Reserve
                                                                                                                           Reserve Account
                                                                                                                                       Account each each dayday the
                                                                                                                                                                 the amount
                                                                                                                                                                       amount of  of all
                                                                                                                                                                                      all
          Obligations then
         Obligations      then owing
                                 owing to  to FLEXIBLE
                                               FLEXIBLE FUNDING,FUNDING, and       and inin the
                                                                                              the event
                                                                                                   event that,
                                                                                                            that, after
                                                                                                                     after the
                                                                                                                             the application
                                                                                                                                   application of   of available
                                                                                                                                                         available funds
                                                                                                                                                                       funds to to the
                                                                                                                                                                                     the
          Obligations as
         Obligations     as provided
                             provided in in paragraph
                                             paragraph 13.113.1 above,
                                                                 above, the  the Reserve
                                                                                  Reserve Account
                                                                                              Account isis less
                                                                                                             less than
                                                                                                                   than thethe amount
                                                                                                                                 amount of of the
                                                                                                                                               the Obligations
                                                                                                                                                     Obligations then then owing
                                                                                                                                                                             owing to  to
         FLEXIBLE FUNDING,
         FLEXIBLE         FUNDING, GRAHAM GRAHAM COUNTY  COUNTY LAND    LAND COMPANYCOMPANY shall    shall promptly
                                                                                                             promptly remit remit toto FLEXIBLE
                                                                                                                                        FLEXIBLE FUNDING  FUNDING in      in cash
                                                                                                                                                                              cash the
                                                                                                                                                                                     the
         amount of
         amount     of such
                        such deficiency.
                               deficiency. To  To the
                                                   the extent
                                                        extent that,
                                                                 that, application
                                                                         application of  of available
                                                                                              available funds
                                                                                                          funds to to the
                                                                                                                        the Obligations
                                                                                                                              Obligations as  as provided
                                                                                                                                                  provided in   in paragraph
                                                                                                                                                                    paragraph 13.1 13.1
          above and
         above    and application
                       application of of the
                                          the Reserve Account to the payment of the Obligations, the Factoring Facility is in a credit position,
                                              Reserve   Account     to  the   payment      of  the Obligations,       the  Factoring     Facility    is  in  a credit   position, thethe
          amount remaining
         amount      remaining in  in the
                                       the Reserve
                                             Reserve Account
                                                        Account shallshall be be remitted
                                                                                   remitted by  by FLEXIBLE
                                                                                                    FLEXIBLE FUNDING    FUNDING to       to GRAHAM
                                                                                                                                             GRAHAM COUNTY     COUNTY LAND     LAND
         COMPANY promptly
         COMPANY           promptly by  by wire
                                             wire transfer
                                                    transfer of of immediately
                                                                    immediately available
                                                                                        available funds
                                                                                                     funds to  to the
                                                                                                                    the account
                                                                                                                           account designated
                                                                                                                                       designated therefor
                                                                                                                                                        therefor by by GRAHAM
                                                                                                                                                                          GRAHAM
         COUNTY LAND
         COUNTY                  COMPANY.
                        LAND COMPANY.
                13.3 In
               13.3     In no
                           no event
                               event shall
                                      shall the
                                              the aggregate
                                                   aggregate unpaid
                                                                  unpaid Advances
                                                                           Advances at at any
                                                                                            any one
                                                                                                 one time
                                                                                                       time exceed,
                                                                                                             exceed, without
                                                                                                                       without FLEXIBLE
                                                                                                                                  FLEXIBLE FUNDING's
                                                                                                                                                 FUNDING's priorprior
         written approval,
         written  approval, more
                              more than
                                    than $8,000,000.00
                                            $8,000,000.00 (Eight(Eight Million
                                                                         Million and
                                                                                  and 00/100
                                                                                        00/100 Dollars,
                                                                                                  Dollars, the
                                                                                                             the "Limit").
                                                                                                                  "Limit"). AtAt any
                                                                                                                                  any time
                                                                                                                                        time the
                                                                                                                                              the aggregate
                                                                                                                                                  aggregate unpaid
                                                                                                                                                              unpaid
         portion of
         portion   of Advances
                      Advances exceeds
                                 exceeds thethe Limit,
                                                 Limit, oror the
                                                              the aggregate
                                                                   aggregate unpaid
                                                                               unpaid portion
                                                                                        portion of of Advances
                                                                                                      Advances exceeds
                                                                                                                   exceeds 85%
                                                                                                                             85% ofof the
                                                                                                                                       the aggregate
                                                                                                                                            aggregate unpaid
                                                                                                                                                       unpaid value
                                                                                                                                                               value
         of Purchased
         of Purchased Receivables
                          Receivables at at such
                                             such time,
                                                    time, asas determined
                                                                determined by by FLEXIBLE
                                                                                  FLEXIBLE FUNDING,FUNDING, GRAHAM GRAHAM COUNTY COUNTY LAND   LAND COMPANY
                                                                                                                                                       COMPANY
         understands and
         understands    and agrees
                             agrees that
                                     that there
                                            there shall
                                                   shall bebe nono further
                                                                    further Advances
                                                                             Advances on   on the
                                                                                               the Factoring
                                                                                                    Factoring Facility
                                                                                                                 Facility to
                                                                                                                           to the
                                                                                                                               the undersigned
                                                                                                                                    undersigned unless
                                                                                                                                                   unless and
                                                                                                                                                           and until
                                                                                                                                                                until
         GRAHAM COUNTY
         GRAHAM        COUNTY LAND  LAND COMPANY
                                               COMPANY pays      pays the
                                                                       the amount
                                                                            amount ofof such
                                                                                          such excess
                                                                                                 excess (the
                                                                                                          (the "Over
                                                                                                                "Over Advance"),
                                                                                                                        Advance"), and and GRAHAM
                                                                                                                                             GRAHAM COUNTYCOUNTY
         LAND COMPANY
         LAND     COMPANY hereby hereby promises
                                           promises to to pay
                                                           pay any
                                                                 any Over
                                                                      Over Advance
                                                                            Advance upon
                                                                                       upon demand
                                                                                               demand of  of FLEXIBLE
                                                                                                             FLEXIBLE FUNDING.
                                                                                                                           FUNDING.
                  13.4 FLEXIBLE
                 13.4    FLEXIBLE FUNDING
                                      FUNDING will    will have
                                                            have immediate
                                                                  immediate recourse
                                                                                recourse against
                                                                                            against GRAHAM
                                                                                                    GRAHAM COUNTY
                                                                                                               COUNTY LAND LAND COMPANY,
                                                                                                                                   COMPANY, and    and may,
                                                                                                                                                        may,
          at FLEXIBLE
         at   FLEXIBLE FUNDING's
                             FUNDING’s option  option (i)
                                                        (i) require
                                                             require that
                                                                       that GRAHAM
                                                                              GRAHAM COUNTY   COUNTY LANDLAND COMPANY
                                                                                                                  COMPANY repurchase
                                                                                                                                repurchase aa Purchased
                                                                                                                                                Purchased
         Receivable, on
         Receivable,     on demand,
                            demand, oror (ii)
                                          (ii) require
                                                require that
                                                         that GRAHAM
                                                               GRAHAM COUNTY COUNTY LAND   LAND COMPANY
                                                                                                    COMPANY replace
                                                                                                                replace aa Purchased
                                                                                                                           Purchased Receivable
                                                                                                                                      Receivable withwith an
                                                                                                                                                           an
         Eligible Receivable
         Eligible    Receivable with
                                with aa net
                                         net invoice
                                               invoice amount
                                                        amount no no less
                                                                      less than
                                                                            than the
                                                                                  the net
                                                                                       net invoice
                                                                                            invoice amount
                                                                                                    amount of
                                                                                                           of such
                                                                                                              such Purchased
                                                                                                                   Purchased Receivable,
                                                                                                                               Receivable, or
                                                                                                                                            or (iii)
                                                                                                                                                (iii) charge
                                                                                                                                                      charge
         to the
         to  the Reserve
                  Reserve Account
                           Account the
                                    the unpaid
                                         unpaid portion
                                                   portion ofof such
                                                                such Purchased
                                                                      Purchased Receivable:
                                                                                     Receivable:
                  i.i. if
                       if such
                            such Purchased
                                  Purchased Receivable
                                             Receivable is
                                                         is not
                                                            not paid
                                                                 paid inin full
                                                                           full by
                                                                                by the
                                                                                    the Account
                                                                                        Account Debtor
                                                                                                 Debtor by
                                                                                                         by the
                                                                                                             the earlier
                                                                                                                  earlier of
                                                                                                                          of (i)
                                                                                                                              (i) the
                                                                                                                                  the due
                                                                                                                                       due date
                                                                                                                                           date of
                                                                                                                                                of the
                                                                                                                                                    the
         invoice relating
         invoice relating to   to such
                                  such Purchased
                                       Purchased Receivable,
                                                  Receivable, or
                                                               or (ii)
                                                                   (ii) ninety
                                                                        ninety (90)
                                                                                (90) days
                                                                                     days from
                                                                                          from the
                                                                                               the date
                                                                                                   date of
                                                                                                        of the
                                                                                                           the invoice
                                                                                                                invoice relating
                                                                                                                         relating to
                                                                                                                                   to such
                                                                                                                                      such Purchased
                                                                                                                                           Purchased
         Receivable; or
         Receivable;      or
                    ii. if
                    ii.  if such
                            such Purchased
                                 Purchased Receivable
                                            Receivable (or
                                                         (or any
                                                             any portion
                                                                 portion thereof)
                                                                         thereof) is
                                                                                  is at
                                                                                     at the
                                                                                        the time
                                                                                            time of
                                                                                                 of purchase
                                                                                                    purchase by
                                                                                                             by FLEXIBLE
                                                                                                                FLEXIBLE FUNDING,
                                                                                                                         FUNDING, or
                                                                                                                                  or
          thereafter becomes,
          thereafter   becomes, aa Disputed
                                   Disputed Account;
                                             Account; or
                                                      or
                  iil. if
                  iii. if GRAHAM
                           GRAHAM COUNTY
                                      COUNTY LANDLAND COMPANY
                                                         COMPANY has
                                                                 has breached
                                                                     breached any
                                                                              any of
                                                                                  of its
                                                                                     its representations,
                                                                                         representations, warranties
                                                                                                          warranties or
                                                                                                                     or covenants
                                                                                                                        covenants
         with respect
         with respect toto such
                           such Purchased
                                Purchased Receivable;
                                          Receivable; or
                                                      or
                 iv. itit is
                iv.       is discovered
                              discovered that
                                         that such
                                              such Purchased
                                                   Purchased Receivable
                                                             Receivable was
                                                                        was not
                                                                            not an
                                                                                an Eligible
                                                                                   Eligible Receivable
                                                                                            Receivable when
                                                                                                       when tendered
                                                                                                            tendered to
                                                                                                                     to FLEXIBLE
                                                                                                                        FLEXIBLE
          FUNDING for
          FUNDING    for sale;
                            sale; or
                                  or
                  v. when
                  v. when inin FLEXIBLE
                               FLEXIBLE FUNDING's
                                           FUNDING’s reasonable
                                                        reasonable credit
                                                                   credit judgment, the Account
                                                                          judgment, the 4dccount Debtor
                                                                                                 Debtor from
                                                                                                        from whom
                                                                                                             whom the
                                                                                                                  the Purchased
                                                                                                                      Purchased
         Receivable is
         Receivable  is owing
                        owing has
                               has become
                                   become insolvent;
                                          insolvent; or
                                                     or


          06 Factoring
          06 Factoring Agreement-
                       Agreement- Graham
                                  Graham County
                                         County Land
                                                Land Company
                                                     Company v2
                                                             v2                                                                                                           Page
                                                                                                                                                                          Page 44 of
                                                                                                                                                                                  of 14
                                                                                                                                                                                     14
     Case 23-04014-mxm                             Doc 12           Filed 04/28/23 Entered 04/28/23 12:10:07                                                         Desc Main
                                                                  Document      Page 22 of 61

DocuSign Envelope
DocuSign           ID: BSEE5598-66C0-428B-AD07-DEOFF86D2499
         Envelope ID;  B5EE5598-66C0-428B-AD07-DEOFF86D2499

                    vi. upon
                   vi.       the occurrence
                        upon the                an Event
                                             of an
                                 occurrence of            ofDefault,
                                                    Event of                     the effective
                                                                            upon the
                                                              Default, oror upon                date of
                                                                                     effective date                 of this
                                                                                                        termination of
                                                                                                     of termination          Agreement, inin which
                                                                                                                        this Agreement,      which
         case  FLEXIBLE FUNDING
         case FLEXIBLE         FUNDING may         demand that
                                            may demand            GRAHAM COUNTY
                                                             that GRAHAM         COUNTY LAND   LAND COMPANY                        all Purchased
                                                                                                                      repurchase all
                                                                                                        COMPANY repurchase              Purchased
         Receivables.
         Receivables.
                    The  repurchase of
                    The repurchase                         Receivable shall
                                             Purchased Receivable
                                       of aa Purchased                         not constitute
                                                                         shall not                reassignment thereof;
                                                                                    constitute aa reassignment                               FUNDING shall
                                                                                                                               FLEXIBLE FUNDING
                                                                                                                    thereof; FLEXIBLE                      shall
         retain  its security
         retain its                            such repurchased
                                interest inin such
                      security interest                                            Receivable (a(a “Repurchased
                                                                     Purchased Receivable
                                                      repurchased Purchased                                             Receivable"); and
                                                                                                    "Repurchased Receivable”);           and atat FLEXIBLE
                                                                                                                                                  FLEXIBLE
         FUNDING's option
         FUNDING’s        option (a)    GRAHAM COUNTY
                                   (a) GRAHAM          COUNTY LAND            COMPANY shall
                                                                     LAND COMPANY                     immediately pay
                                                                                              shall immediately                                FUNDING an
                                                                                                                                FLEXIBLE FUNDING
                                                                                                                       pay toto FLEXIBLE                      an
                    equal toto the
         amount equal
         amount                      full amount
                               the full               outstanding under
                                           amount outstanding                the Purchased
                                                                     under the                  Receivable all
                                                                                   Purchased Receivable              fees, costs
                                                                                                                all fees,          and expenses
                                                                                                                            costs and                owing toto
                                                                                                                                        expenses owing
         FLEXIBLE FUNDING
         FLEXIBLE                         connection therewith
                        FUNDING inin connection                                      the “Repurchase
                                                                     (collectively, the
                                                         therewith (collectively,                           Price"), (b)
                                                                                          "Repurchase Price”),             charge the
                                                                                                                      (b) charge       Repurchase Price
                                                                                                                                   the Repurchase      Price toto
         the  Reserve Account,
         the Reserve                                  GRAHAM COUNTY LAND COMPANY to replace such Repurchased Receivable with
                                            require GRAHAM
                                       (c) require
                        Account, oror (c)                         COUNTY        LAND     COMPANY         to  replace   such   Repurchased    Receivable    with
         an Eligible
         an             Receivable with
              Eligible Receivable             the same
                                       with the            net invoice
                                                    same net                            the Repurchased
                                                                          amount asas the
                                                               invoice amount                                  Receivable. In
                                                                                             Repurchased Receivable.                    case of
                                                                                                                                    the case
                                                                                                                                In the         of GRAHAM
                                                                                                                                                   GRAHAM
         COUNTY LAND
         COUNTY        LAND COMPANY
                               COMPANY'            replacement of
                                              ’s s replacement   of aa Repurchased                  with an
                                                                                       Receivable with
                                                                       Repurchased Receivable               an Eligible   Receivable pursuant
                                                                                                               Eligible Receivable                   the terms
                                                                                                                                       pursuant toto the  terms
         of this
         of                  FLEXIBLE FUNDING
                  Section, FLEXIBLE
             this Section,                   FUNDING shall        not be
                                                           shall not                      make any
                                                                           required toto make
                                                                        be required                    Initial Purchase
                                                                                                 any Initial                Payment with
                                                                                                                Purchase Payment              respect toto such
                                                                                                                                       with respect        such
         replacement               Receivable and
                        Eligible Receivable
         replacement Eligible                                         FUNDING shall
                                                       FLEXIBLE FUNDING
                                                   and FLEXIBLE                     shall reassign      GRAHAM COUNTY
                                                                                          reassign toto GRAHAM         COUNTY LAND           COMPANY the
                                                                                                                                    LAND COMPANY             the
         subject  Repurchased Receivable.
         subject Repurchased       Receivable.
         14,
         14,    Fees              FLEXIBLE FUNDING.
                     Payable toto FLEXIBLE
                Fees Payable               FUNDING.
                 14.1
                 14.1     GRAHAM COUNTY
                         GRAHAM          COUNTY LAND               COMPANY agrees,
                                                        LAND COMPANY                                    consideration for
                                                                                        agrees, inin consideration          for all  Advances and
                                                                                                                                 all Advances                     amounts paid
                                                                                                                                                          other amounts
                                                                                                                                                   and other                  paid byby
         FLEXIBLE FUNDING
         FLEXIBLE        FUNDING under           this Agreement,
                                         under this                     to   pay   to  FLEXIBLE          FUNDING          a  “Factoring
                                                       Agreement, to pay to FLEXIBLE FUNDING a "Factoring Fee" on the outstanding           Fee”   on   the  outstanding     principal
                                                                                                                                                                             principal
         amount of
         amount     of Advances     until all
                        Advances until                       payable by
                                                amounts payable
                                            all amounts                       GRAHAM COUNTY
                                                                         by GRAHAM              COUNTY LAND     LAND COMPANY                    FLEXIBLE FUNDING
                                                                                                                            COMPANY toto FLEXIBLE                FUNDING under   under
               Agreement are
         this Agreement
         this                 are paid        FLEXIBLE FUNDING
                                   paid toto FLEXIBLE           FUNDING inin cash,                full. The
                                                                                       cash, inin full.           Factoring Fee
                                                                                                            The Factoring        Fee shall,               absence of
                                                                                                                                                    the absence
                                                                                                                                       shall, inin the               of an    Event of
                                                                                                                                                                         an Event     of
         Default (as
         Default                       paragraph 27
                         defined inin paragraph
                    (as defined                          below), mean
                                                     27 below),                   fluctuating rate
                                                                     mean aa fluctuating                         when annualized,
                                                                                                          that, when
                                                                                                  rate that,                                 equal toto the
                                                                                                                          annualized, isis equal               greater of
                                                                                                                                                          the greater         (a) U.S.
                                                                                                                                                                         of (a)   U.S.
         Prime Rate
         Prime     Rate asas quoted             Wall Street
                                           the Wall
                             quoted inin the                                  Money Rates
                                                                 Journal, Money
                                                        Street Journal,                            Section asas the
                                                                                          Rates Section                           Rate (the
                                                                                                                          Prime Rate
                                                                                                                    the Prime             (the "Prime       Rate"), plus
                                                                                                                                                “Prime Rate”),               nine and
                                                                                                                                                                      plus nine     and
         seventy-five      hundredths percent
         seventy-five hundredths                    (9.75%), oror (b)
                                         percent (9.75%),                  fifteen and
                                                                    (b) fifteen            twenty-five one
                                                                                      and twenty-five              hundredths percent
                                                                                                             one hundredths                   (15.25%) (the
                                                                                                                                   percent (15.25%)              "Ordinary Fee").
                                                                                                                                                            (the “Ordinary      Fee").
         Upon the
         Upon          occurrence of
                  the occurrence                 Event of
                                          any Event
                                      of any                  Default, the
                                                         of Default,              Factoring Fee
                                                                            the Factoring        Fee shall       mean the
                                                                                                        shall mean             Ordinary Fee
                                                                                                                          the Ordinary       Fee determined         pursuant toto the
                                                                                                                                                   determined pursuant              the
         immediately       preceding sentence
         immediately preceding                      plus   five  percent      (5.00%)
                                        sentence plus five percent (5.00%) per annum.     per   annum.       The
                                                                                                              The   Factoring
                                                                                                                     Factoring    Fee
                                                                                                                                  Fee   shall
                                                                                                                                        shall   be
                                                                                                                                                be  computed
                                                                                                                                                     computed     on
                                                                                                                                                                   on  the         of aa
                                                                                                                                                                            basis of
                                                                                                                                                                       the basis
                consisting of
         year consisting
         year                             hundred sixty
                                  three hundred
                              of three                                days for
                                                              (360) days
                                                      sixty (360)                          number of
                                                                                      the number
                                                                                for the                     days actually
                                                                                                        of days                 elapsed, and
                                                                                                                    actually elapsed,             shall be
                                                                                                                                            and shall     be payable       monthly inin
                                                                                                                                                              payable monthly
                   commencing on
         arrears commencing
         arrears                         the first
                                    on the          business of
                                              first business     of the    calendar month
                                                                    the calendar                                      following the
                                                                                                  immediately following
                                                                                        month immediately                                date of
                                                                                                                                    the date              Agreement, on
                                                                                                                                                   this Agreement,
                                                                                                                                                of this                        the first
                                                                                                                                                                           on the  first
         business day
         business     day of                     month thereafter,
                                     calendar month
                              each calendar
                           of each                                         on   the   termination      date   of  this  Agreement,
                                                           thereafter, on the termination date of this Agreement, and following the      and   following     the  termination
                                                                                                                                                                  termination     date,
                                                                                                                                                                                  date,
         upon    demand by
         upon demand           FLEXIBLE FUNDING
                            by FLEXIBLE         FUNDING until   until all                payable by
                                                                             amounts payable
                                                                      all amounts                          GRAHAM COUNTY
                                                                                                     by GRAHAM              COUNTY LAND             COMPANY toto FLEXIBLE
                                                                                                                                          LAND COMPANY                   FLEXIBLE
         FUNDING under
         FUNDING                       Agreement are
                                 this Agreement
                         under this                    are paid        FLEXIBLE FUNDING
                                                            paid toto FLEXIBLE            FUNDING in             cash, inin full
                                                                                                            in cash,              (each, aa "Fee
                                                                                                                             full (each,                           Date"). For
                                                                                                                                                      Payment Date”).
                                                                                                                                              “Fee Payment                     For the
                                                                                                                                                                                    the
         purpose of
         purpose        computing the
                     of computing          Factoring Fee,
                                      the Factoring             interest shall
                                                         Fee, interest                               accrue on
                                                                                     continue toto accrue
                                                                             shall continue                               amount of
                                                                                                                    the amount
                                                                                                               on the               of any            credited toto the
                                                                                                                                             funds credited
                                                                                                                                       any funds                          payment of
                                                                                                                                                                     the payment      of
         the Factoring
         the                Facility for
              Factoring Facility             period of
                                      for aa period       five (5)
                                                      of five        business days
                                                                (5) business                     the date
                                                                                          after the
                                                                                    days after                so credited.
                                                                                                        date so   credited.
               142
              14.2  In addition toto the
                    In addition          Factoring Fee,
                                     the Factoring         compensation for
                                                        as compensation
                                                   Fee, as                         FLEXIBLE FUNDING’S
                                                                             for FLEXIBLE    FUNDING'S services provided for
                                                                                                       services provided     in this
                                                                                                                         for in this
         Agreement, GRAHAM
         Agreement,             COUNTY LAND
                    GRAHAM COUNTY                              agrees toto pay
                                                   COMPANY agrees
                                            LAND COMPANY                            FLEXIBLE FUNDING:
                                                                           pay toto FLEXIBLE FUNDING:
               143
               14.3     “Collateral Management
                     AA "Collateral            Fee" equal
                                    Management Fee”            one-tenth percent
                                                    equal toto one-tenth                 of the
                                                                                 (0.10%) of
                                                                         percent (0.10%)        Limit, payable
                                                                                            the Limit,                 in arrears
                                                                                                               monthly in
                                                                                                       payable monthly            on
                                                                                                                          arrears on
         each
         each Fee
              Fee Payment
                   Payment Date,
                           Date.
               14.4 An
               14.4   An "Unused               equal to
                                         Fee" equal
                                    Line Fee”
                           “Unused Line                      amount by
                                                         the amount
                                                      to the              which the
                                                                      by which        Factoring Fee
                                                                                 the Factoring                           month isis less
                                                                                                                   any month
                                                                                                      payable inin any
                                                                                                 Fee payable                             than Fifteen
                                                                                                                                    less than  Fifteen
         Thousand               Dollars ($15,000.00).
                         00/100 Dollars
                    and 00/100
         Thousand and                   ($15,000.00). The             Line Fee
                                                              Unused Line
                                                        The Unused          Fee shall  be calculated
                                                                                 shall be calculated as      the end
                                                                                                          of the
                                                                                                      as of       end of  each month
                                                                                                                       of each  month andand shall  be
                                                                                                                                              shall be
         payable on
         payable     each Fee
                  on each      Payment Date.
                          Fee Payment          The Unused
                                        Date. The            Line Fee
                                                    Unused Line   Fee shall  be pro-rated
                                                                       shall be            for any
                                                                                pro-rated for      partial month
                                                                                               any partial          under this
                                                                                                            month under         Agreement.
                                                                                                                           this Agreement.
                 14.5
                 14.5       “Liguidated Damages”
                            "Liquidated                          amount equal
                                              Damages" inin amount                       two percent
                                                                             equal toto two               (2.00%) of
                                                                                               percent (2.00%)             the Limit
                                                                                                                       of the    Limit in          event that
                                                                                                                                             the event
                                                                                                                                        in the                     prior toto the
                                                                                                                                                            that prior              “Initial
                                                                                                                                                                              the "Initial
         Termination Date”,
         Termination        Date", or or prior             last day
                                                      the last
                                           prior toto the         day ofof any
                                                                            any "Subsequent          Renewal Period”
                                                                                   “Subsequent Renewal             Period" (as      such terms
                                                                                                                               (as such     terms are       defined in
                                                                                                                                                      are defined       in paragraph
                                                                                                                                                                            paragraph 26    26
         below), (a)
         below),    (a) GRAHAM
                          GRAHAM COUNTY    COUNTY LAND                COMPANY prepays
                                                           LAND COMPANY                  prepays allall obligations                      FLEXIBLE FUNDING
                                                                                                                          payable toto FLEXIBLE
                                                                                                         obligations payable                                 FUNDING pursuant pursuant toto
         paragraph 32
         paragraph     32 below,
                             below, oror (b)                    the terms
                                                pursuant toto the
                                           (b) pursuant              terms of           Agreement, either
                                                                                  this Agreement,
                                                                              of this                   either (i)   FLEXIBLE FUNDING
                                                                                                                 (i) FLEXIBLE         FUNDING demands    demands repayment
                                                                                                                                                                       repayment of        the
                                                                                                                                                                                      of the
         Factoring Facility
         Factoring     Facility and                           payable to
                                                  amounts payable
                                          other amounts
                                   and other                              to FLEXIBLE
                                                                              FLEXIBLE FUNDING FUNDING under    under the     terms of
                                                                                                                         the terms        this Agreement,
                                                                                                                                      of this    Agreement, in         whole or
                                                                                                                                                                    in whole    or in   part,
                                                                                                                                                                                    in part,
         pursuant to
         pursuant     to paragraph
                            paragraph 27    27 below,
                                                 below, or            repayment of
                                                                (ii) repayment
                                                           or (ii)                               Factoring Facility
                                                                                           the Factoring
                                                                                       of the                    Facility and and other       amounts payable
                                                                                                                                    other amounts                            FLEXIBLE
                                                                                                                                                            payable toto FLEXIBLE
         FUNDING under
         FUNDING          under thethe terms
                                         terms of     this Agreement
                                                  of this   Agreement are                        accelerated in
                                                                                   otherwise accelerated
                                                                             are otherwise                            whole or
                                                                                                                  in whole      or in  part pursuant
                                                                                                                                   in part     pursuant to   to paragraph
                                                                                                                                                                 paragraph 27        below.
                                                                                                                                                                                27 below.
         GRAHAM
         GRAHAM COUNTY   COUNTY LAND      LAND COMPANY                 acknowledges and
                                                     COMPANY acknowledges                         agrees that
                                                                                            and agrees      that Liquidated       Damages shall
                                                                                                                   Liquidated Damages             shall be     payable in
                                                                                                                                                          be payable       in the   amount
                                                                                                                                                                              the amount
         described     above notwithstanding
         described above          notwithstanding any          acceleration of
                                                         any acceleration            repayment and/or
                                                                                 of repayment        and/or thethe maturity
                                                                                                                    maturity datedate of    the Factoring
                                                                                                                                       of the                     Facility pursuant
                                                                                                                                                  Factoring Facility          pursuant to    to
         paragraph
         paragraph 27   27 below.        FLEXIBLE FUNDING
                              below. FLEXIBLE             FUNDING and       and GRAHAM
                                                                                   GRAHAM COUNTY  COUNTY LAND                 COMPANY each
                                                                                                                   LAND COMPANY                  each hereby         acknowledges and
                                                                                                                                                         hereby acknowledges              and
         agrees that
         agrees    that it    would be
                          it would     be impractical
                                             impractical and        extremely difficult
                                                             and extremely         difficult to    ascertain FLEXIBLE
                                                                                              to ascertain                        FUNDING’s actual
                                                                                                                 FLEXIBLE FUNDING's                               damages from
                                                                                                                                                        actual damages                  early
                                                                                                                                                                               from early
         termination of
         termination               Factoring Facility,
                               the Factoring
                          of the                              and that
                                                  Facility, and                 Liquidated Damages
                                                                           the Liquidated
                                                                     that the                  Damages has          been arrived
                                                                                                              has been               at by
                                                                                                                            arrived at                    agreement of
                                                                                                                                               mutual agreement
                                                                                                                                         by mutual                           FLEXIBLE
                                                                                                                                                                          of FLEXIBLE
         FUNDING and
         FUNDING           and GRAHAM
                                  GRAHAM COUNTY   COUNTY LAND                 COMPANY as
                                                                   LAND COMPANY                 as to                        calculation of
                                                                                                           reasonable calculation
                                                                                                     to aa reasonable                              FLEXIBLE FUNDING's
                                                                                                                                              of FLEXIBLE             FUNDING’s lost      lost
         profits
         profits asas aa result         early termination
                                   of early
                           result of            termination of        the Factoring
                                                                  of the   Factoring Facility.          FLEXIBLE FUNDING
                                                                                          Facility. FLEXIBLE               FUNDING and             GRAHAM COUNTY
                                                                                                                                           and GRAHAM                COUNTY LAND    LAND
         COMPANY each
         COMPANY             each further                acknowledges and
                                              hereby acknowledges
                                   further hereby                                   agrees that
                                                                              and agrees     that the                     Damages provided
                                                                                                         Liquidated Damages
                                                                                                    the Liquidated                     provided above  above is      intended to
                                                                                                                                                                is intended      to be    fair
                                                                                                                                                                                     be fair
         and reasonable
         and                    approximations of
              reasonable approximations                  FLEXIBLE FUNDING's
                                                     of FLEXIBLE           FUNDING’s actual            damages from
                                                                                             actual damages                        termination of
                                                                                                                            early termination
                                                                                                                    from early                       of the                  Facility, are
                                                                                                                                                               Factoring Facility,
                                                                                                                                                         the Factoring                     are
         presumed
         presumed to   to bebe the  amount of
                                the amount                       sustained by
                                                    damages sustained
                                                of damages                         FLEXIBLE FUNDING
                                                                               by FLEXIBLE          FUNDING as       as aa result  of such
                                                                                                                           result of                    termination, are
                                                                                                                                                early termination,
                                                                                                                                       such early                              reasonable
                                                                                                                                                                          are reasonable
         under the
         under    the circumstances                        existing, and
                                              currently existing,
                        circumstances currently                                that the
                                                                         and that                          Damages are
                                                                                          Liquidated Damages
                                                                                      the Liquidated                                            damages are
                                                                                                                                liquidated damages
                                                                                                                          are liquidated                      are not    intended to
                                                                                                                                                                    not intended       to bebe
         penalties.
         penalties.



         06 Factoring
         06                      Graham County
                      Agreement- Graham
            Factoring Agreement-                            v2
                                                    Company v2
                                               Land Company
                                        County Land                                                                                                                             Page 55of
                                                                                                                                                                                Page       14
                                                                                                                                                                                        of 14
     Case 23-04014-mxm                         Doc 12          Filed 04/28/23 Entered 04/28/23 12:10:07                                               Desc Main
                                                             Document      Page 23 of 61

DocuSign Envelope
DocuSign Envelope ID:
                   ID: 135EE5598-66C0-428B-AD07-DEOFF86D2499
                        BSEE5598-66C0-428B-AD07-DEOFF86D2499


          15. GRAHAM
         15.     GRAHAM COUNTY COUNTY LAND    LAND COMPANY
                                                       COMPANY agrees   agrees that
                                                                                  that FLEXIBLE
                                                                                        FLEXIBLE FUNDING
                                                                                                      FUNDING may     may (a)
                                                                                                                            (a) charge
                                                                                                                                 charge allall fees,
                                                                                                                                                fees, costs
                                                                                                                                                       costs and
                                                                                                                                                               and expenses
                                                                                                                                                                    expenses
          payable by
         payable    by GRAHAM
                         GRAHAM COUNTY  COUNTY LAND    LAND COMPANY
                                                                  COMPANY to        to FLEXIBLE
                                                                                        FLEXIBLE FUNDING
                                                                                                      FUNDING pursuant pursuant to  to the
                                                                                                                                        the terms
                                                                                                                                               terms ofof this
                                                                                                                                                           this Agreement
                                                                                                                                                                 Agreement
          (including any
         (including     any amount
                              amount paidpaid byby FLEXIBLE
                                                    FLEXIBLE FUNDING FUNDING and       and required
                                                                                            required toto bebe reimbursed
                                                                                                                 reimbursed by   by GRAHAM
                                                                                                                                      GRAHAM COUNTY    COUNTY LAND     LAND
          COMPANY pursuant
         COMPANY          pursuant toto the
                                         the terms
                                              terms of
                                                     of this
                                                         this Agreement)
                                                               Agreement) to   to the
                                                                                   the Factoring
                                                                                       Factoring Facility,
                                                                                                   Facility, (b)
                                                                                                               (b) pay
                                                                                                                    pay such
                                                                                                                         such amounts
                                                                                                                                amounts to   to FLEXIBLE
                                                                                                                                                 FLEXIBLE FUNDINGFUNDING
          from the
         from   the proceeds
                    proceeds of of the
                                    the Factoring
                                         Factoring Facility,
                                                      Facility, and
                                                                  and (c)
                                                                       (c) treat
                                                                            treat each
                                                                                    each such
                                                                                          such payment
                                                                                               payment as  as an
                                                                                                               an Advance
                                                                                                                   Advance of  of the
                                                                                                                                   the Factoring
                                                                                                                                       Factoring Facility
                                                                                                                                                      Facility on on the
                                                                                                                                                                      the date
                                                                                                                                                                          date
         proceeds of
         proceeds    of the
                         the Factoring
                             Factoring Facility
                                           Facility above
                                                    above are are paid
                                                                  paid to
                                                                        to FLEXIBLE
                                                                            FLEXIBLE FUNDINGFUNDING as    as described
                                                                                                              described above.
                                                                                                                           above.

                 REPRESENTATIONS, WARRANTIES
                 REPRESENTATIONS, WARRANTIES AND
                                             AND COVENANTS
                                                 COVENANTS OF
                                                           OF GRAHAM
                                                              GRAHAM COUNTY
                                                                     COUNTY LAND
                                                                            LAND COMPANY
                                                                                 COMPANY
          16. GRAHAM
         16.     GRAHAM COUNTY
                          COUNTY LAND
                                  LAND COMPANY
                                        COMPANY represents,
                                                 represents, warrants
                                                             warrants and
                                                                      and covenants
                                                                          covenants to
                                                                                     to FLEXIBLE
                                                                                         FLEXIBLE FUNDING
                                                                                                     FUNDING thatthat (except
                                                                                                                       (except
          insofar as
         insofar  as GRAHAM
                     GRAHAM COUNTY
                             COUNTY LAND
                                     LAND COMPANY
                                           COMPANY and
                                                     and FLEXIBLE
                                                          FLEXIBLE FUNDING
                                                                      FUNDING have
                                                                                 have expressly
                                                                                       expressly otherwise
                                                                                                 otherwise agreed
                                                                                                           agreed in
                                                                                                                   in writing)
                                                                                                                      writing)
          that:
         that:
                             goods and
                       The goods
                16.1 The
               16.1                    and services    provided by
                                             services provided          GRAHAM COUNTY
                                                                   by GRAHAM         COUNTY LAND            COMPANY to
                                                                                                  LAND COMPANY                  each Account
                                                                                                                            to each             Debtor that
                                                                                                                                      Account Debtor           are
                                                                                                                                                         that are
                     within each
          described within
         described                                     were in
                                                Pack were
                                      Invoice Pack
                              each Invoice                              provided or
                                                                  fact provided
                                                              in fact                  rendered on
                                                                                   or rendered         the date(s)
                                                                                                  on the                  in the
                                                                                                                     and in
                                                                                                           date(s) and                         described in
                                                                                                                                   amount(s) described
                                                                                                                              the amount(s)                    the
                                                                                                                                                           in the
                  Pack, and
         Invoice Pack,
         Invoice                     the Eligible
                               that the
                          and that                                  evidenced thereby
                                                    Receivables evidenced
                                          Eligible Receivables                            are and
                                                                                thereby are              continue to
                                                                                                   will continue
                                                                                              and will                 be genuine,
                                                                                                                   to be                   fide and
                                                                                                                                     bona fide
                                                                                                                          genuine, bona              collectable
                                                                                                                                                 and collectable
          and without
         and  without right
                       right of
                              of offset,
                                  offset, counterclaim
                                           counterclaim oror right
                                                             right ofof return
                                                                        return or
                                                                               or cancellation;
                                                                                  cancellation; and
                                                                                                  and
                       Each Account
               16.2 Each
              16.2                      Receivable that
                              Account Receivable                submitted for
                                                     that isis submitted        funding and
                                                                           for funding                 in an
                                                                                            described in
                                                                                        and described         Invoice Pack
                                                                                                          an Invoice       constitutes an
                                                                                                                      Pack constitutes    Eligible
                                                                                                                                       an Eligible
         Receivable (as
         Receivable  (as defined
                          defined in
                                   in paragraph
                                      paragraph 1.4
                                                 1.4 above);
                                                      above); andand
               16.3 GRAHAM
               16,3                 COUNTY LAND
                        GRAHAM COUNTY                    COMPANY will
                                                 LAND COMPANY             will immediately                              FUNDING, in
                                                                                                         FLEXIBLE FUNDING,
                                                                                                notify FLEXIBLE
                                                                                immediately notify                                         writing ifif
                                                                                                                                       in writing
         GRAHAM COUNTY
         GRAHAM        COUNTY LAND LAND COMPANY           notified (in
                                           COMPANY isis notified        writing, by
                                                                    (in writing,                   communication or
                                                                                       electronic communication
                                                                                   by electronic                         by telephone)
                                                                                                                     or by   telephone) by    Account
                                                                                                                                          by Account
         Debtor of
         Debtor   of any             or of
                          disputes, or
                      any disputes,            right of
                                           any right
                                        of any                   counterclaim or
                                                        offset, counterclaim
                                                     of offset,                      right of
                                                                                 or right      return or
                                                                                           of return                     against Account
                                                                                                          cancellation against
                                                                                                       or cancellation                       Debtor's
                                                                                                                                  Account Debtor's
         obligation to
         obligation  to GRAHAM
                        GRAHAM COUNTY
                                    COUNTY LANDLAND COMPANY;
                                                       COMPANY; and   and
               16.4 The
              16.4    The Collateral
                            Collateral is
                                        is free
                                            free and
                                                   and clear
                                                       clear of
                                                              of all
                                                                 all liens,
                                                                      liens, encumbrances,
                                                                             encumbrances, security
                                                                                            security interests
                                                                                                      interests and
                                                                                                                and adverse
                                                                                                                    adverse claims
                                                                                                                            claims other
                                                                                                                                   other than
                                                                                                                                          than such
                                                                                                                                                such as
                                                                                                                                                      as
         were created
         were created by
                       by this
                           this Agreement
                                Agreement in  in favor
                                                  favor of
                                                         of FLEXIBLE
                                                            FLEXIBLE FUNDING;
                                                                            FUNDING; andand
                       All Accounts
                16.5 All
               16.5                             in each
                                    Receivable in
                           Accounts Receivable                  Pack are,
                                                        Invoice Pack
                                                   each Invoice           and at
                                                                     are, and         times will
                                                                                 all times
                                                                              at all                       to be,
                                                                                                 continue to
                                                                                            will continue                  bona fide
                                                                                                                  genuine, bona
                                                                                                              be, genuine,           and
                                                                                                                                fide and
         collectible; and
         collectible; and                                                                                                                ’

               16.6 No
              16.6     No Purchased     Receivable will,
                            Purchased Receivable                             to FLEXIBLE
                                                                   assigned to
                                                            when assigned
                                                     will, when                               FUNDING, or
                                                                                FLEXIBLE FUNDING,          or at any time
                                                                                                              at any        thereafter, be
                                                                                                                      time thereafter,        Disputed
                                                                                                                                        be aa Disputed
         Account or
         Account   or subject
                      subject to
                               to any
                                  any dispute,
                                      dispute, right
                                               right of
                                                     of offset,
                                                         offset, counterclaim,
                                                                 counterclaim, or
                                                                                or right
                                                                                   right of
                                                                                         of cancellation;
                                                                                            cancellation; and
                                                                                                          and
                16.7 All
               16.7      All Purchased
                             Purchased Receivables
                                         Receivables will,
                                                        will, when
                                                                when assigned
                                                                      assigned toto FLEXIBLE
                                                                                     FLEXIBLE FUNDING,
                                                                                                    FUNDING, and  and at
                                                                                                                       at all
                                                                                                                          all times
                                                                                                                               times thereafter,
                                                                                                                                       thereafter, be
                                                                                                                                                   be due
                                                                                                                                                        due and
                                                                                                                                                              and
         unconditionally payable
         unconditionally     payable on
                                      on terms
                                          terms acceptable
                                                 acceptable to to FLEXIBLE
                                                                  FLEXIBLE FUNDING
                                                                                FUNDING but    but never
                                                                                                   never more
                                                                                                           more than
                                                                                                                 than ninety
                                                                                                                        ninety (90)
                                                                                                                                  (90) days
                                                                                                                                        days from
                                                                                                                                               from invoicing,
                                                                                                                                                      invoicing,
         and will
         and  will conform
                    conform to to the
                                  the terms
                                      terms expressly
                                              expressly set
                                                          set forth
                                                              forth on
                                                                     on the
                                                                        the face
                                                                             face ofof the
                                                                                        the relevant
                                                                                            relevant invoice;
                                                                                                      invoice; no
                                                                                                                no account
                                                                                                                    account will
                                                                                                                               will be
                                                                                                                                     be past
                                                                                                                                         past due
                                                                                                                                               due at
                                                                                                                                                    at the
                                                                                                                                                        the time
                                                                                                                                                             time
         assigned; and
         assigned;   and
              16.8 All
             16.8  All facts,
                       facts, figures,
                              figures, representations
                                         representations given,
                                                          given, or
                                                                  or caused
                                                                      caused to
                                                                              to be
                                                                                 be given
                                                                                    given by
                                                                                          by GRAHAM
                                                                                              GRAHAM COUNTYCOUNTY LAND  LAND COMPANY
                                                                                                                                  COMPANY to     to
         FLEXIBLE FUNDING
         FLEXIBLE  FUNDING in   in connection
                                   connection with
                                                 with the
                                                      the value
                                                          value of
                                                                 of the
                                                                     the Purchased
                                                                         Purchased Receivables
                                                                                    Receivables assigned
                                                                                                 assigned hereunder
                                                                                                           hereunder will
                                                                                                                       will be
                                                                                                                             be true
                                                                                                                                 true and
                                                                                                                                      and correct.
                                                                                                                                          correct.
         FLEXIBLE FUNDING
         FLEXIBLE  FUNDING may  may verify
                                      verify GRAHAM
                                              GRAHAM COUNTY
                                                          COUNTY LAND   LAND COMPANY's
                                                                                COMPANY"s Account
                                                                                              Account Debtor
                                                                                                       Debtor contracts
                                                                                                               contracts and
                                                                                                                           and balances;
                                                                                                                                balances; and
                                                                                                                                           and
               16.9 GRAHAM
               16.9    GRAHAM COUNTY  COUNTY LAND   LAND COMPANY's
                                                            COMPANY’s books   books and
                                                                                      and records
                                                                                           records do
                                                                                                    do and
                                                                                                         and will
                                                                                                              will fully
                                                                                                                   fully and
                                                                                                                          and accurately
                                                                                                                                accurately reflect
                                                                                                                                              reflect all
                                                                                                                                                       all of
                                                                                                                                                            of
         GRAHAM COUNTY
         GRAHAM       COUNTY LAND   LAND COMPANY's
                                              COMPANY’s assetsassets and
                                                                      and liabilities
                                                                          liabilities (absolute
                                                                                      (absolute and
                                                                                                 and contingent),
                                                                                                      contingent), have
                                                                                                                    have been
                                                                                                                           been and
                                                                                                                                  and will
                                                                                                                                      will be
                                                                                                                                            be kept
                                                                                                                                                 kept in
                                                                                                                                                       in the
                                                                                                                                                           the
         ordinary course
         ordinary  course of
                           of business
                               business inin accordance
                                             accordance with
                                                         with generally
                                                                generally accepted
                                                                           accepted accounting
                                                                                      accounting principles
                                                                                                  principles consistently
                                                                                                              consistently applied
                                                                                                                             applied and
                                                                                                                                      and all
                                                                                                                                           all information
                                                                                                                                                information
         contained therein
         contained  therein is
                             is and
                                and will
                                     will be
                                           be true
                                              true and
                                                   and correct;
                                                       correct; and
                                                                 and
             16.10 All
             16.10 All taxes
                       taxes of
                             of any
                                any governmental
                                    governmental or
                                                  or taxing
                                                     taxing authority
                                                             authority due
                                                                        due oror payable
                                                                                  payable by,
                                                                                           by, or
                                                                                               or imposed
                                                                                                   imposed or
                                                                                                           or assessed
                                                                                                              assessed against,
                                                                                                                       against, GRAHAM
                                                                                                                                GRAHAM
         COUNTY LAND
         COUNTY   LAND COMPANY,
                          COMPANY, have
                                      have been
                                           been paid
                                                paid and
                                                      and will
                                                          will be
                                                               be paid
                                                                   paid in
                                                                        in full
                                                                           full before
                                                                                 before delinquency;
                                                                                         delinquency; and
                                                                                                       and
               16.11 There
               16.11   There are
                              are no
                                  no actions
                                      actions or
                                               or proceedings
                                                  proceedings pending
                                                               pending by
                                                                        by or
                                                                            or against
                                                                               against GRAHAM
                                                                                       GRAHAM COUNTYCOUNTY LAND
                                                                                                              LAND COMPANY
                                                                                                                      COMPANY beforebefore any
                                                                                                                                            any
         court or
         court  or administrative
                   administrative agency,
                                    agency, and
                                              and there
                                                   there are
                                                         are no
                                                             no pending,
                                                                 pending, threatened,
                                                                           threatened, or
                                                                                        or imminent
                                                                                           imminent governmental
                                                                                                      governmental investigations,
                                                                                                                    investigations, or
                                                                                                                                     or claims,
                                                                                                                                        claims,
         complaints, or
         complaints,  or prosecutions
                         prosecutions involving
                                        involving GRAHAM
                                                   GRAHAM COUNTY
                                                               COUNTY LANDLAND COMPANY;
                                                                                   COMPANY; and and
               16.12 GRAHAM
               16.12  GRAHAM COUNTY
                                 COUNTY LAND
                                         LAND COMPANY
                                              COMPANY has
                                                      has the
                                                          the legal
                                                              legal power
                                                                     power and
                                                                             and authority
                                                                                  authority to
                                                                                             to enter
                                                                                                enter into
                                                                                                       into this
                                                                                                            this Agreement
                                                                                                                 Agreement and
                                                                                                                           and to
                                                                                                                               to
         perform and
         perform  and discharge
                      discharge GRAHAM
                                GRAHAM COUNTY
                                        COUNTY LAND
                                               LAND COMPANY's
                                                    COMPANY ’s obligations
                                                                  obligations hereunder;
                                                                               hereunder; and
                                                                                            and
                 16.13 No
                16.13    No information
                             information furnished
                                          furnished by
                                                     by or
                                                        or on
                                                            on behalf
                                                                behalf of
                                                                       of GRAHAM
                                                                          GRAHAM COUNTY
                                                                                      COUNTY LAND LAND COMPANY
                                                                                                          COMPANY (including
                                                                                                                        (including but
                                                                                                                                    but not
                                                                                                                                        not limited
                                                                                                                                            limited
         to facts,
         to facts, figures,
                    figures, and
                             and representations
                                 representations given)
                                                  given) shall
                                                          shall contain
                                                                contain untrue
                                                                        untrue statements
                                                                               statements of
                                                                                          of material
                                                                                             material fact
                                                                                                      fact or
                                                                                                           or omit
                                                                                                              omit material
                                                                                                                   material facts.
                                                                                                                             facts.
          17. Each
         17.    Each warranty
                       warranty andand representation
                                        representation contained
                                                           contained in in this
                                                                            this agreement
                                                                                  agreement shall
                                                                                                shall be
                                                                                                       be deemed
                                                                                                            deemed repeated
                                                                                                                    repeated withwith each
                                                                                                                                       each Advance
                                                                                                                                              Advance and  and shall
                                                                                                                                                                shall be
                                                                                                                                                                      be
         conclusively presumed
         conclusively    presumed to to have
                                        have been
                                               been relied
                                                      relied on
                                                              on byby FLEXIBLE
                                                                       FLEXIBLE FUNDING FUNDING regardless
                                                                                                       regardless of
                                                                                                                   of any
                                                                                                                       any investigation
                                                                                                                              investigation made,
                                                                                                                                               made, or or information
                                                                                                                                                            information
         possessed by
         possessed    by FLEXIBLE
                          FLEXIBLE FUNDING.
                                         FUNDING. The     The warranties,
                                                                warranties, representations
                                                                                representations and and agreements
                                                                                                         agreements setset forth
                                                                                                                            forth herein
                                                                                                                                   herein shall
                                                                                                                                            shall be
                                                                                                                                                   be cumulative
                                                                                                                                                       cumulative andand
         in addition
         in  addition to
                       to any
                           any and
                               and all
                                    all other
                                        other warranties,
                                               warranties, representations
                                                              representations and  and agreements
                                                                                         agreements contained
                                                                                                        contained in
                                                                                                                  in any
                                                                                                                      any other
                                                                                                                            other document
                                                                                                                                    document or  or instrument
                                                                                                                                                     instrument which
                                                                                                                                                                  which
         GRAHAM COUNTY
         GRAHAM         COUNTY LAND  LAND COMPANY
                                              COMPANY shall     shall give,
                                                                       give, or
                                                                              or cause
                                                                                  cause toto be
                                                                                             be given,
                                                                                                 given, toto FLEXIBLE
                                                                                                             FLEXIBLE FUNDING,
                                                                                                                            FUNDING, either either now
                                                                                                                                                     now oror hereafter.
                                                                                                                                                              hereafter.
         FLEXIBLE FUNDING's
         FLEXIBLE        FUNDING's right right to
                                                to bring
                                                   bring anan action
                                                               action for
                                                                        for breach
                                                                             breach of of any
                                                                                          any such
                                                                                               such representation
                                                                                                      representation oror to
                                                                                                                           to exercise
                                                                                                                               exercise any
                                                                                                                                          any right,
                                                                                                                                                right, remedy,
                                                                                                                                                       remedy, power
                                                                                                                                                                  power
         or privilege
         or  privilege under
                         under this
                                this Agreement
                                      Agreement based
                                                    based upon
                                                             upon thethe breach
                                                                          breach of of any
                                                                                        any such
                                                                                             such representation
                                                                                                    representation shall
                                                                                                                     shall survive
                                                                                                                             survive the
                                                                                                                                       the execution,
                                                                                                                                            execution, delivery
                                                                                                                                                          delivery and
                                                                                                                                                                     and



         06 Factoring
         06 Factoring Agreement-
                      Agreement- Graham
                                 Graham County
                                        County Land
                                               Land Company
                                                    Companyv2
                                                            v2                                                                                                  Page 66 of
                                                                                                                                                                Page    of 14
                                                                                                                                                                           14
      Case 23-04014-mxm                                 Doc 12             Filed 04/28/23 Entered 04/28/23 12:10:07                                                                   Desc Main
                                                                         Document      Page 24 of 61

 DocuSign Envelope
DocuSign   Envelope ID:
                     1D: B5EE5598-66C0-428B-ADO7-DE0FF86D2499
                          BSEE5598-66C0-428B-AD07-DEOFF86D2499


          acceptance of
         acceptance   of this
                          this Agreement,
                               Agreement, andand the
                                                  the closing
                                                       closing of
                                                                of the
                                                                    the transactions
                                                                         transactions described
                                                                                        described inin this
                                                                                                         this Agreement,
                                                                                                              Agreement, until
                                                                                                                          until all
                                                                                                                                 all amounts
                                                                                                                                      amounts payable
                                                                                                                                                   payable toto
          FLEXIBLE FUNDING
         FLEXIBLE      FUNDING underunder this
                                           this Agreement
                                                Agreement areare finally
                                                                  finally and
                                                                           and indefeasibly
                                                                                indefeasibly paid
                                                                                              paid toto FLEXIBLE
                                                                                                         FLEXIBLE FUNDING
                                                                                                                     FUNDING inin cashcash inin full,
                                                                                                                                                 full.

                                                               GRANT OF
                                                               GRANT OF SECURITY
                                                                         SECURITY INTEREST;
                                                                                   INTEREST; COLLATERAL'
                                                                                              COLLATERAL’
          18. GRAHAM
         18.    GRAHAM COUNTYCOUNTY LAND      LAND COMPANY
                                                         COMPANY hereby    hereby pledges,
                                                                                    pledges, assigns
                                                                                                assigns and
                                                                                                          and grants
                                                                                                                grants toto FLEXIBLE
                                                                                                                             FLEXIBLE FUNDINGFUNDING aa continuing
                                                                                                                                                              continuing lien
                                                                                                                                                                            lien
          upon and
         upon   and security
                     security interest
                               interest inin andand toto all
                                                          all of
                                                               of GRAHAM
                                                                   GRAHAM COUNTY   COUNTY LAND    LAND COMPANY's
                                                                                                           COMPANY ’s rights,   rights, title and interests inin and
                                                                                                                                        title  and  interests      and toto the
                                                                                                                                                                             the
          following, wherever
         following,   wherever located
                                   located and  and whether
                                                       whether ownedowned on   on the
                                                                                   the Effective
                                                                                        Effective Date
                                                                                                     Date oror thereafter
                                                                                                                 thereafter acquired,
                                                                                                                                acquired, whether
                                                                                                                                              whether owned
                                                                                                                                                         owned oror held
                                                                                                                                                                      held by by
          GRAHAM COUNTY
         GRAHAM         COUNTY LAND     LAND COMPANYCOMPANY or         or by by any
                                                                                  any other
                                                                                        other person
                                                                                                 person inin anyany manner
                                                                                                                       manner for   for GRAHAM
                                                                                                                                         GRAHAM COUNTY   COUNTY LAND   LAND
          COMPANY’s account
         COMPANY's        account (and(and specifically
                                             specifically including
                                                               including allall accessions
                                                                                 accessions to,
                                                                                              to, substitutions
                                                                                                   substitutions forfor and
                                                                                                                         and all
                                                                                                                              all replacements,
                                                                                                                                   replacements, products
                                                                                                                                                     products and
                                                                                                                                                                and cash
                                                                                                                                                                     cash and
                                                                                                                                                                            and
          non-cash proceeds
         non-cash   proceeds ofof all
                                   all of
                                        of the
                                            the following),
                                                 following), and  and as
                                                                       as such
                                                                           such terms
                                                                                  terms are
                                                                                         are defined
                                                                                              defined inin the
                                                                                                            the UCC
                                                                                                                 UCC (hereinafter
                                                                                                                         (hereinafter thethe "Collateral"):
                                                                                                                                               "Collateral"):
          All cash,
         All   cash, money,
                      money, accessions,
                                  accessions, accounts,
                                                    accounts, as-extracted
                                                                  as-extracted collateral,
                                                                                   collateral, certificates
                                                                                                 certificates ofof title,
                                                                                                                     title, chattel
                                                                                                                              chattel paper
                                                                                                                                        paper and
                                                                                                                                                and all
                                                                                                                                                      all rights
                                                                                                                                                            rights toto payment
                                                                                                                                                                         payment inin
          connection therewith,
         connection     therewith, commercial
                                         commercial tort  tort claims,
                                                                claims, deposit
                                                                           deposit accounts,
                                                                                      accounts, documents,
                                                                                                   documents, electronic
                                                                                                                  electronic chattel
                                                                                                                                   chattel paper
                                                                                                                                            paper andand all
                                                                                                                                                           all rights
                                                                                                                                                                rights toto payment
                                                                                                                                                                              payment
          in connection
         in   connection therewith,
                              therewith, equipment,
                                               equipment, fixtures,
                                                                fixtures, general
                                                                             general intangibles,
                                                                                         intangibles, goods,
                                                                                                          goods, health-care-insurance
                                                                                                                    health-care-insurance receivables,
                                                                                                                                                    receivables, instruments,
                                                                                                                                                                        instruments,
          inventory, investment
         inventory,    investment property,
                                         property, letter-of-credit
                                                      letter-of-credit rights,
                                                                            rights, payment
                                                                                     payment intangibles,
                                                                                                 intangibles, proceeds,
                                                                                                                 proceeds, records
                                                                                                                                 records (including
                                                                                                                                            (including but but not
                                                                                                                                                                 not limited
                                                                                                                                                                       limited allall to
                                                                                                                                                                                       to
          books and
         books     and records
                        records pertaining
                                      pertaining toto any any of of the
                                                                      the items
                                                                            items oror subject
                                                                                         subject matter
                                                                                                    matter described
                                                                                                              described inin this  this paragraph),
                                                                                                                                         paragraph), software,
                                                                                                                                                           software, supporting
                                                                                                                                                                          supporting
          obligations, all
         obligations,    all rights
                              rights to to payment
                                            payment for for money
                                                              money or  or funds
                                                                            funds advanced
                                                                                    advanced or  or sold,
                                                                                                     sold, and
                                                                                                            and all
                                                                                                                 all money
                                                                                                                      money or    or other
                                                                                                                                      other property
                                                                                                                                             property of  of any
                                                                                                                                                              any kind
                                                                                                                                                                    kind nownow or or atat
          any time or times hereafter in the possession or under the control of FLEXIBLE FUNDING or any affiliate of FLEXIBLE
         any  time   or times     hereafter      in the  possession       or  under   the   control   of  FLEXIBLE          FUNDING         or  any   affiliate    of  FLEXIBLE
          FUNDING or
         FUNDING        or any
                             any representative,
                                    representative, agentagent or or correspondent
                                                                      correspondent of    of FLEXIBLE
                                                                                              FLEXIBLE FUNDINGFUNDING pertainingpertaining to to any
                                                                                                                                                  any ofof the
                                                                                                                                                             the items
                                                                                                                                                                  items or  or subject
                                                                                                                                                                                subject
          matter described
         matter    described in  in this
                                     this paragraph,
                                             paragraph, and and toto the
                                                                      the extent
                                                                            extent not
                                                                                     not otherwise
                                                                                           otherwise included
                                                                                                         included in in the
                                                                                                                          the foregoing,
                                                                                                                                foregoing, allall other
                                                                                                                                                   other property
                                                                                                                                                            property in   in which
                                                                                                                                                                               which aa
          Security Interest
         Security    Interest or  or other
                                       other Lien
                                                Lien may
                                                       may be  be granted
                                                                    granted under
                                                                                under thethe UCC
                                                                                              UCC or   or which
                                                                                                           which maymay be   be delivered
                                                                                                                                  delivered toto andand held
                                                                                                                                                           held by by FLEXIBLE
                                                                                                                                                                        FLEXIBLE
          FUNDING pursuant
         FUNDING        pursuant to   to the
                                           the terms
                                                terms ofof this
                                                            this Agreement
                                                                 Agreement
          19. The
         19.     The pledge,
                         pledge, assignment
                                       assignment lien    lien andand security
                                                                          security interest
                                                                                        interest granted
                                                                                                    granted to   to FLEXIBLE
                                                                                                                      FLEXIBLE FUNDING     FUNDING pursuant     pursuant to    to this
                                                                                                                                                                                   this Agreement
                                                                                                                                                                                         Agreement shall     shall
          continue in
         continue      in full
                            full force
                                   force and and effect
                                                    effect until
                                                              until all all amounts
                                                                             amounts payablepayable to   to FLEXIBLE
                                                                                                             FLEXIBLE FUNDING     FUNDING pursuant    pursuant to      to this
                                                                                                                                                                           this Agreement
                                                                                                                                                                                  Agreement have   have been been
          finally and
         finally    and indefeasibly
                            indefeasibly paid    paid to to FLEXIBLE
                                                              FLEXIBLE FUNDING      FUNDING in        in cash
                                                                                                           cash and and allall other
                                                                                                                                 other obligations
                                                                                                                                            obligations of      of GRAHAM
                                                                                                                                                                      GRAHAM COUNTY    COUNTY LAND       LAND
          COMPANY hereunder
         COMPANY              hereunder have  have been
                                                      been performed
                                                               performed in       in full,
                                                                                      full, notwithstanding
                                                                                             notwithstanding the      the termination
                                                                                                                             termination of      of FLEXIBLE
                                                                                                                                                     FLEXIBLE FUNDING's    FUNDING’s obligations
                                                                                                                                                                                              obligations to     to
          extend credit
         extend     credit to  to GRAHAM
                                   GRAHAM COUNTY      COUNTY LAND        LAND COMPANY COMPANY under       under thisthis Agreement,
                                                                                                                           Agreement, the       the full
                                                                                                                                                       full or or partial
                                                                                                                                                                   partial termination
                                                                                                                                                                               termination (whether
                                                                                                                                                                                                (whether by     by
          prepayment, demand
         prepayment,         demand or     or acceleration)
                                               acceleration) of      of the
                                                                         the Factoring
                                                                               Factoring Facility,
                                                                                                Facility, in in whole
                                                                                                                 whole or   or in
                                                                                                                                in part,
                                                                                                                                     part, or or that
                                                                                                                                                  that thethe Factoring
                                                                                                                                                                Factoring Facility
                                                                                                                                                                                 Facility may
                                                                                                                                                                                            may from
                                                                                                                                                                                                   from time time
          to time
         to   time bebe temporarily
                          temporarily in       in aa credit
                                                       credit position.
                                                                 position. Any   Any balances
                                                                                          balances to   to the
                                                                                                            the credit
                                                                                                                   credit of  of GRAHAM
                                                                                                                                   GRAHAM COUNTY       COUNTY LAND         LAND COMPANY
                                                                                                                                                                                      COMPANY in           in the
                                                                                                                                                                                                               the
          possession of
         possession       of FLEXIBLE
                                FLEXIBLE FUNDING,  FUNDING, and          and anyany other
                                                                                       other property
                                                                                                 property or   or assets
                                                                                                                    assets of of GRAHAM
                                                                                                                                   GRAHAM COUNTY        COUNTY LAND        LAND COMPANY
                                                                                                                                                                                      COMPANY in           in the
                                                                                                                                                                                                               the
          possession of
         possession       of FLEXIBLE
                                FLEXIBLE FUNDING,  FUNDING, shall       shall be be held
                                                                                      held by by FLEXIBLE
                                                                                                   FLEXIBLE FUNDING   FUNDING as           as Collateral,
                                                                                                                                                Collateral, and     and applied
                                                                                                                                                                           applied in in whole
                                                                                                                                                                                          whole or   or partial
                                                                                                                                                                                                          partial
          satisfaction of
         satisfaction       of the
                                 the amounts
                                       amounts payable
                                                     payable to     to FLEXIBLE
                                                                         FLEXIBLE FUNDING    FUNDING hereunder  hereunder when   when due,  due, subject
                                                                                                                                                    subject to    to the
                                                                                                                                                                       the terms
                                                                                                                                                                             terms of of this
                                                                                                                                                                                          this Agreement.
                                                                                                                                                                                                 Agreement,
          FLEXIBLE FUNDING
         FLEXIBLE           FUNDING shall      shall not
                                                       not have
                                                              have any any obligation
                                                                              obligation to    to release
                                                                                                   release anyany security
                                                                                                                     security interest,
                                                                                                                                   interest, lienlien or or other
                                                                                                                                                              other encumbrance
                                                                                                                                                                        encumbrance in,    in, on
                                                                                                                                                                                                on oror toto any
                                                                                                                                                                                                              any
          Collateral, unless
         Collateral,      unless and  and until
                                            until all
                                                    all of
                                                         of the
                                                              the requirements
                                                                    requirements of       of paragraph
                                                                                               paragraph 29    29 below
                                                                                                                    below have have been
                                                                                                                                       been fullyfully satisfied
                                                                                                                                                          satisfied and  and performed.
                                                                                                                                                                               performed. At     At all
                                                                                                                                                                                                      all times
                                                                                                                                                                                                            times
          prior to
         prior   to the
                     the final
                           final andand indefeasible
                                          indefeasible paymentpayment to     to FLEXIBLE
                                                                                  FLEXIBLE FUNDING   FUNDING in         in cash
                                                                                                                            cash of of all
                                                                                                                                         all amounts
                                                                                                                                               amounts payablepayable to    to FLEXIBLE
                                                                                                                                                                                FLEXIBLE FUNDING  FUNDING
          pursuant to
         pursuant     to the
                          the terms
                                 terms of  of this
                                               this Agreement,
                                                     Agreement, FLEXIBLE  FLEXIBLE FUNDING   FUNDING shall      shall have,
                                                                                                                        have, in  in addition
                                                                                                                                      addition to    to all
                                                                                                                                                          all other
                                                                                                                                                               other rights,
                                                                                                                                                                         rights, powers,
                                                                                                                                                                                   powers, remedies
                                                                                                                                                                                              remedies and    and
          privileges of
         privileges     of FLEXIBLE
                              FLEXIBLE FUNDING   FUNDING under       under thisthis Agreement
                                                                                       Agreement (a)    (a) all
                                                                                                              all rights,
                                                                                                                   rights, powers,
                                                                                                                              powers, remedies
                                                                                                                                             remedies and     and privileges
                                                                                                                                                                     privileges granted
                                                                                                                                                                                    granted to  to aa secured
                                                                                                                                                                                                        secured
          party under
         party    under the  the UCC,
                                   UCC, and   and (b)(b) all
                                                           all rights,
                                                                 rights, powers,
                                                                             powers, remedies
                                                                                           remedies and   and privileges
                                                                                                                 privileges with   with respect
                                                                                                                                            respect to    to Collateral
                                                                                                                                                               Collateral grantedgranted to to FLEXIBLE
                                                                                                                                                                                                 FLEXIBLE
          FUNDING under
         FUNDING            under all  all other agreements, documents and instruments executed and/or delivered to FLEXIBLE FUNDING in
                                            other    agreements,           documents         and    instruments        executed        and/or       delivered         to  FLEXIBLE          FUNDING              in
          connection with
         connection        with the  the transactions
                                           transactions contemplated
                                                                contemplated by         by this
                                                                                              this Agreement,
                                                                                                     Agreement, and      and (c)(c) allall rights,
                                                                                                                                              rights, powers,
                                                                                                                                                          powers, remediesremedies and  and privileges
                                                                                                                                                                                               privileges of     of
          FLEXIBLE FUNDING
         FLEXIBLE           FUNDING with      with respect
                                                      respect to   to the
                                                                       the Collateral
                                                                             Collateral available
                                                                                               available under
                                                                                                            under applicable
                                                                                                                       applicable law.  law,
          20. GRAHAM
         20.       GRAHAM COUNTY   COUNTY LAND  LAND COMPANY
                                                           COMPANY will    will execute
                                                                                 execute and and deliver
                                                                                                   deliver toto FLEXIBLE
                                                                                                                 FLEXIBLE FUNDING FUNDING securitysecurity agreements,
                                                                                                                                                             agreements,
          assignments (including,
         assignments         (including, without
                                          without limitation,
                                                    limitation, assignments
                                                                   assignments of of specific
                                                                                      specific accounts,
                                                                                                 accounts, Accounts
                                                                                                              Accounts Receivable,
                                                                                                                           Receivable, certificates
                                                                                                                                          certificates ofof title,
                                                                                                                                                             title, chattel
                                                                                                                                                                     chattel
         paper, documents,
         paper,      documents, instruments,
                                    instruments, goods,
                                                   goods, inventory,
                                                             inventory, equipment
                                                                         equipment and  and general
                                                                                              general intangibles),
                                                                                                        intangibles), control
                                                                                                                        control agreements,
                                                                                                                                   agreements, mortgages,
                                                                                                                                                   mortgages, deedsdeeds of of
          trust, collateral
         trust,    collateral assignments,
                                 assignments, andand other
                                                       other documents
                                                               documents and and instruments
                                                                                   instruments as  as FLEXIBLE
                                                                                                       FLEXIBLE FUNDINGFUNDING may     may atat any
                                                                                                                                                  any time
                                                                                                                                                       time reasonably
                                                                                                                                                               reasonably
          request to
         request       to establish,
                           establish, evidence,
                                        evidence, attach,
                                                     attach, perfect,
                                                               perfect, or
                                                                         or protect
                                                                              protect anyany security
                                                                                               security interest,
                                                                                                          interest, pledge,
                                                                                                                      pledge, lien,
                                                                                                                                 lien, charge,
                                                                                                                                        charge, mortgage
                                                                                                                                                    mortgage or    or other
                                                                                                                                                                        other
          encumbrance granted
         encumbrance          granted to
                                       to FLEXIBLE FUNDING. GRAHAM COUNTY LAND COMPANY authorizes FLEXIBLE FUNDING
                                          FLEXIBLE       FUNDING.        GRAHAM        COUNTY         LAND     COMPANY          authorizes   FLEXIBLE        FUNDING
         to file
         to   file all
                    all financing
                         financing statements
                                     statements (including,
                                                  (including, without
                                                                 without limitation,
                                                                          limitation, describing
                                                                                        describing thethe Collateral
                                                                                                           Collateral asas "all
                                                                                                                            “all assets"
                                                                                                                                 assets” or
                                                                                                                                          or "all
                                                                                                                                              “all personal
                                                                                                                                                    personal property,"
                                                                                                                                                                property,”
         whether owned
         whether        owned or or hereafter
                                    hereafter acquired),
                                                acquired), andand all
                                                                   all continuations
                                                                       continuations or   or amendments
                                                                                             amendments thereof,
                                                                                                              thereof, toto establish,
                                                                                                                             establish, evidence
                                                                                                                                         evidence attach,
                                                                                                                                                      attach, perfect
                                                                                                                                                                perfect or  or
         protect any
         protect      any security
                            security interest,
                                      interest, pledge,
                                                 pledge, lien,
                                                           lien, charge,
                                                                  charge, mortgage
                                                                            mortgage or  or other
                                                                                             other encumbrance
                                                                                                     encumbrance granted
                                                                                                                      granted to to FLEXIBLE
                                                                                                                                     FLEXIBLE FUNDINGFUNDING in       in the
                                                                                                                                                                          the
          Collateral.
         Collateral.
         21. GRAHAM
         21.    GRAHAM COUNTYCOUNTY LANDLAND COMPANY
                                                COMPANY covenants
                                                               covenants and and agrees
                                                                                  agrees that
                                                                                          that itit shall
                                                                                                    shall not
                                                                                                          not grant
                                                                                                              grant or
                                                                                                                     or give,
                                                                                                                         give, or
                                                                                                                                or suffer
                                                                                                                                   suffer to
                                                                                                                                          to permit,
                                                                                                                                             permit, any
                                                                                                                                                     any lien,
                                                                                                                                                          lien,
         Security Interest,
         Security  Interest, pledge
                             pledge or
                                    or other
                                       other encumbrance
                                             encumbrance in,in, on
                                                                 on oror to
                                                                         to the
                                                                            the Collateral,
                                                                                 Collateral, in
                                                                                              in whole
                                                                                                    whole or
                                                                                                           or in
                                                                                                              in part,
                                                                                                                 part, without
                                                                                                                        without FLEXIBLE
                                                                                                                                   FLEXIBLE FUNDING's
                                                                                                                                                 FUNDING's
         prior written
         prior written consent,
                        consent, which
                                 which consent
                                        consent will
                                                will be
                                                     be granted
                                                        granted or or withheld
                                                                       withheld inin FLEXIBLE
                                                                                     FLEXIBLE FUNDING's
                                                                                                      FUNDING’s sole  sole discretion.
                                                                                                                             discretion.
         22.
         22.     GRAHAM COUNTY
                 GRAHAM       COUNTY LAND  LAND COMPANY
                                                     COMPANY hereby
                                                                  hereby irrevocably
                                                                           irrevocably appoints
                                                                                        appoints FLEXIBLE
                                                                                                  FLEXIBLE FUNDING
                                                                                                              FUNDING its  its agent
                                                                                                                                agent for
                                                                                                                                       for the
                                                                                                                                            the purpose
                                                                                                                                                  purpose
         of executing
         of  executing and
                         and filing
                              filing any
                                      any financing
                                          financing statement
                                                      statement or
                                                                or similar
                                                                    similar document
                                                                             document which
                                                                                        which may be necessary to perfect and continue perfected
                                                                                               may  be necessary  to perfect  and  continue     perfected
         such security
         such   security interest
                          interest under
                                    under the
                                           the Uniform
                                               Uniform Commercial
                                                          Commercial Code.
                                                                        Code. GRAHAM
                                                                                 GRAHAM COUNTYCOUNTY LANDLAND COMPANY
                                                                                                                 COMPANY hereby  hereby approves
                                                                                                                                          approves and and
         ratifies any
         ratifies any financing
                       financing statement
                                    statement filed
                                               filed by
                                                     by FLEXIBLE
                                                        FLEXIBLE FUNDING
                                                                      FUNDING against
                                                                                   against GRAHAM
                                                                                            GRAHAM COUNTY
                                                                                                        COUNTY LANDLAND COMPANY
                                                                                                                            COMPANY prior    prior to
                                                                                                                                                    to the
                                                                                                                                                        the
         Effective Date,
         Effective  Date. GRAHAM
                            GRAHAM COUNTY COUNTY LAND  LAND COMPANY
                                                              COMPANY agrees agrees to
                                                                                    to not
                                                                                       not further
                                                                                           further encumber
                                                                                                   encumber the
                                                                                                             the Collateral
                                                                                                                 Collateral described
                                                                                                                              described herein.
                                                                                                                                          herein.



          06 Factoring
          06 Factoring Agreement-
                       Agreement Graham
                                  Graham County
                                         County Land
                                                Land Company
                                                     Company v2
                                                             v2                                                                                                                                   Page
                                                                                                                                                                                                  Page 77 of
                                                                                                                                                                                                          of 14
                                                                                                                                                                                                             14
      Case 23-04014-mxm                           Doc 12           Filed 04/28/23 Entered 04/28/23 12:10:07                                                       Desc Main
                                                                 Document      Page 25 of 61

DocuSign Envelope
DocuSign            ID: BSEE5598-66C0-428B-AD07-DEOFF86
          Envelope ID:                                  D2499
                        B5EE5598-66C0-428B-AD07-DEOFF86D2499

                 FLEXIBLE FUNDING
          23. FLEXIBLE
         23.                     FUNDING may,                 its sole
                                                   may, inin its         discretion, decide
                                                                  sole discretion,                  assist the
                                                                                       decide toto assist          efforts toto require
                                                                                                              the efforts                               Debtors toto pay
                                                                                                                                            Account Debtors
                                                                                                                                 require Account                         pay Accounts
                                                                                                                                                                                Accounts
                                        directly to the payment instructions outlined in paragraph 9 above, with the following actions: (i)
                         obligations directly
          Receivable obligations
         Receivable                                 to the  payment       instructions   outlined     in   paragraph      9 above,     with    the  following     actions:       (i) notify
                                                                                                                                                                                     notify
         any                Debtor that
                Account Debtor
          any Account                                 Account has
                                        that itsits Account        has been                        FLEXIBLE FUNDING
                                                                                 assigned toto FLEXIBLE
                                                                          been assigned                                FUNDING by               GRAHAM COUNTY
                                                                                                                                          by GRAHAM             COUNTY LAND         LAND
          COMPANY and
         COMPANY                that payment
                           and that                 thereof shall
                                      payment thereof                      made toto the
                                                               shall bebe made            order ofof and
                                                                                      the order                              FLEXIBLE FUNDING
                                                                                                              directly toto FLEXIBLE
                                                                                                       and directly                             FUNDING and/or  and/or (ii)(ii) demand,
                                                                                                                                                                                  demand,
         collect                 payment ofof any
                        enforce payment
          collect oror enforce                      any Accounts                        and/or (iii) communicate directly with GRAHAM COUNTY LAND
                                                                        Receivable; and/or
                                                         Accounts Receivable;                    (ii)   communicate         directly     with    GRAHAM          COUNTY             LAND
          COMPANY's Account
         COMPANY’s           Account Debtors               verify the
                                          Debtors toto verify              amount and
                                                                     the amount            validity ofof any
                                                                                     and validity                              created by
                                                                                                                   invoice created
                                                                                                             any invoice                         GRAHAM COUNTY
                                                                                                                                           by GRAHAM             COUNTY LAND        LAND
         COMPANY.
          COMPANY.
         24.     GRAHAM COUNTY
          24, GRAHAM             COUNTY LAND                COMPANY shall
                                                  LAND COMPANY                 shall not,                 FLEXIBLE FUNDING's
                                                                                             without FLEXIBLE
                                                                                       not, without                         FUNDING's prior                         consent inin each
                                                                                                                                                        written consent
                                                                                                                                                 prior written                         each
          instance: (a)
         instance:                       extension ofof time
                            grant anan extension
                       (a) grant                             time for      payment of
                                                                     for payment                  Account Receivable; (b) compromise or settle any
                                                                                           any Account
                                                                                       of any                   Receivable;       (b)   compromise         or  settle     any Account
                                                                                                                                                                                  Account
         Receivable; (c)
         Receivable;         grant any
                         (c) grant         credits, discounts,
                                     any credits,                     allowances, deductions,
                                                       discounts, allowances,                                   authorizations oror the
                                                                                                      return authorizations
                                                                                      deductions, return                                 the like          respect toto any
                                                                                                                                                    with respect
                                                                                                                                               like with                   any Account
                                                                                                                                                                                  Account
         Receivable.
          Receivable.
         25.     GRAHAM COUNTY
          25. GRAHAM             COUNTY LAND                  COMPANY hereby
                                                   LAND COMPANY                            irrevocably appoints
                                                                                 hereby irrevocably                         FLEXIBLE FUNDING
                                                                                                               appoints FLEXIBLE                FUNDING and      and its its designees
                                                                                                                                                                               designees
          GRAHAM COUNTY
         GRAHAM          COUNTY LAND               COMPANY's true
                                       LAND COMPANY's                                       attorney in fact, to exercise after an Event of Default, all
                                                                                   lawful attorney
                                                                             and lawful
                                                                        true and                         in  fact,  to  exercise     after  an   Event   of  Default,                any of
                                                                                                                                                                          all oror any    of
              following powers
          the following
         the                         until  all   amounts     due   FLEXIBLE
                           powers until all amounts due FLEXIBLE FUNDING have       FUNDING         have    been
                                                                                                             been   fully,
                                                                                                                     fully, finally,
                                                                                                                            finally,    and
                                                                                                                                        and  indefeasibly
                                                                                                                                              indefeasibly     paid
                                                                                                                                                               paid   in
                                                                                                                                                                      in   full:
                                                                                                                                                                            full:
             25.1  Receive, take,
             25,1 Receive,        endorse, assign,
                            take, endorse,           deliver, accept
                                            assign, deliver,         and deposit,
                                                              accept and                    name of
                                                                                        the name
                                                                          deposit, inin the          of FLEXIBLE    FUNDING oror GRAHAM
                                                                                                        FLEXIBLE FUNDING           GRAHAM
         COUNTY LAND
         COUNTY           COMPANY, any
                  LAND COMPANY,              and all
                                         any and       cash, checks,
                                                   all cash,          commercial paper,
                                                              checks, commercial             drafts, remittances
                                                                                      paper, drafts,               and other
                                                                                                       remittances and       instruments and
                                                                                                                       other instruments and
         documents relating
         documents               the Accounts
                   relating toto the                      Collateral oror the
                                              Receivable, Collateral
                                     Accounts Receivable,                     proceeds thereof;
                                                                          the proceeds thereof;
                 25.2
                 25.2     Take      bring, inin the
                          Take oror bring,          name of
                                                the name    FLEXIBLE FUNDING
                                                         of FLEXIBLE              GRAHAM COUNTY
                                                                     FUNDING oror GRAHAM        LAND COMPANY,
                                                                                         COUNTY LAND          all steps,
                                                                                                     COMPANY, all steps,
         actions,  suits oror proceedings
         actions, suits                   deemed by
                              proceedings deemed       FLEXIBLE FUNDING
                                                   by FLEXIBLE               necessary oror desirable
                                                                     FUNDING necessary                     effect collection
                                                                                            desirable toto effect                    other realization
                                                                                                                             of oror other
                                                                                                                  collection of            realization
         upon   the Accounts
         upon the                Receivable and/or
                    Accounts Receivable            other Collateral.
                                            and/or other Collateral.
                 25.3
                 25.3        extend the
                          To extend
                          To                 of payment
                                        time of
                                    the time            of, compromise
                                                payment of,                        for cash,
                                                                            settle for
                                                            compromise oror settle                   return of
                                                                                             credit, return
                                                                                       cash, credit,                        and upon
                                                                                                               merchandise, and
                                                                                                            of merchandise,          any terms
                                                                                                                                upon any terms
               conditions, any
          oror conditions,        and all,
                             any and            Collateral and
                                      all, oror Collateral     discharge oror release
                                                           and discharge              any Account
                                                                              release any         Debtor oror other
                                                                                          Account Debtor            obligor, without
                                                                                                              other obligor,         affecting any
                                                                                                                             without affecting any
          amounts
          amounts due due  hereunder.
                           hereunder.

                                                                              TERM OF AGREEMENT
                                                                              TERM OF AGREEMENT
         26. Unless
         26.            earlier terminated
                Unless earlier                                  terms of
                                                            the terms
                                              pursuant toto the
                                 terminated pursuant                      of this  Agreement, this
                                                                             this Agreement,      this Agreement            terminate on
                                                                                                                      shall terminate
                                                                                                        Agreement shall                     the 2™
                                                                                                                                         on the      anniversary of
                                                                                                                                                 2nd anniversary    of
         the Effective
         the             Date (the
              Effective Date          "Initial Termination
                                (the “Initial                   Date"); provided
                                                Termination Date”);                      however, this
                                                                            provided however,              Agreement shall
                                                                                                      this Agreement            continue for
                                                                                                                          shall continue    for additional     1-year
                                                                                                                                                 additional 1-year
         periods    commencing on
         periods commencing             the day
                                    on the                         following the
                                                   immediately following
                                             day immediately                       the Initial                   Date, and
                                                                                                 Termination Date,
                                                                                        Initial Termination                    each subsequent
                                                                                                                          and each    subsequent 1-year1-year period
                                                                                                                                                               period
         thereafter (each,
         thereafter                                      Period"), unless either party hereto provides written notice of its intent not toto renew
                                              Renewal Period”),
                               "Subsequent Renewal
                     (each, aa “Subsequent                            unless    either  party  hereto  provides   written  notice  of its intent  not      renew this
                                                                                                                                                                  this
                         least sixty
         Agreement atat least
         Agreement                          calendar days
                                      (60) calendar
                                sixty (60)                              the Initial
                                                             prior toto the
                                                       days prior                      Termination Date,
                                                                             Initial Termination                sixty (60)
                                                                                                             or sixty
                                                                                                      Date, or               calendar days
                                                                                                                       (60) calendar                     the end
                                                                                                                                              prior toto the
                                                                                                                                        days prior                of aa
                                                                                                                                                             end of
         Subsequent Renewal
         Subsequent               Period, asas applicable.
                       Renewal Period,         applicable.

                                                                 TERMINATION BY
                                                                 TERMINATION    FLEXIBLE FUNDING
                                                                             BY FLEXIBLE FUNDING
          27.
          27.    An event
                 An          default (“Event
                          of default
                    event of                 ofDefault”)
                                     ("Event of                 be deemed
                                                          shall be
                                                Default") shall                have occurred
                                                                   deemed toto have                      the following
                                                                                                      of the
                                                                                                  any of
                                                                                    occurred ifif any                  occurs:
                                                                                                             following occurs:
                27.1   GRAHAM COUNTY
                27.1 GRAHAM         COUNTY LAND            COMPANY makes
                                                   LAND COMPANY             makes any       false, misleading
                                                                                      any false,   misleading or             representation or
                                                                                                                     untrue representation
                                                                                                                 or untrue                           warranty inin
                                                                                                                                                  or warranty
          connection        or contained
                      with, or
          connection with,                          Agreement, or
                                               this Agreement,
                                           in, this
                               contained in,                       or fails      comply with
                                                                             to comply
                                                                       fails to                        covenant, obligation
                                                                                                 any covenant,
                                                                                           with any                obligation or                provision of
                                                                                                                                     material provision
                                                                                                                                or material                 of this
                                                                                                                                                               this
          Agreement; or
          Agreement;   or
                272    GRAHAM COUNTY
                27.2 GRAHAM         COUNTY LAND            COMPANY makes
                                                  LAND COMPANY              makes aa general      assignment for
                                                                                       general assignment           the benefit
                                                                                                                for the  benefit of     its creditors
                                                                                                                                    of its             other than
                                                                                                                                            creditors other   than
          FLEXIBLE FUNDING
          FLEXIBLE     FUNDING or   or commences
                                        commences or     has commenced
                                                      or has commenced against             any proceeding
                                                                                        it any
                                                                               against it                             any Title
                                                                                                              under any
                                                                                                proceeding under          Title of          Bankruptcy Code
                                                                                                                                      the Bankruptcy
                                                                                                                                  of the                  Code ofof
          the United States
          the United        or under
                     States or under any            federal, state
                                           similar federal,
                                       any similar           state or   local law
                                                                    or local        existing for
                                                                               law existing                   from creditors;
                                                                                                       relief from
                                                                                                   the relief
                                                                                               for the              creditors; oror

                 27.3       Receiver or
                  27.3 AA Receiver                     appointed for
                                          Trustee isis appointed
                                       or Trustee                 for GRAHAM  COUNTY LAND
                                                                      GRAHAM COUNTY        COMPANY or
                                                                                      LAND COMPANY         proceeding isis instituted
                                                                                                       any proceeding
                                                                                                    or any                 instituted
          for the dissolution
          for the              or full
                   dissolution or      or partial liquidation  of GRAHAM   COUNTY  LAND COMPANY;
                                  full or partial liquidation of GRAHAM COUNTY LAND COMPANY; or  or

                 27.4       sale or
                 27.4 AA sale      or transfer
                                       transfer of  fifty percent
                                                 of fifty  percent (50%)   or more
                                                                    (50%) or  more ofof the
                                                                                         the interests of GRAHAM
                                                                                             interests of                         COMPANY is
                                                                                                                            LAND COMPANY
                                                                                                                    COUNTY LAND
                                                                                                          GRAHAM COUNTY                       is
          effected in
          effected   in one  or aa series
                        one or             of related
                                    series of            transactions without
                                               related transactions   without the  prior written
                                                                               the prior  written approval  of FLEXIBLE
                                                                                                   approval of          FUNDING, which
                                                                                                               FLEXIBLE FUNDING,       approval
                                                                                                                                 which approval
          shall not
          shall not be   unreasonably withheld;
                     be unreasonably      withheld; or or
                27.5
                27.5    Any change
                        Any            occurs in
                              change occurs     in GRAHAM
                                                    GRAHAM COUNTY  COUNTY LAND LAND COMPANY's           business or
                                                                                         COMPANY’s business          business structure,
                                                                                                                  or business              including,
                                                                                                                               structure, including,
          without  limitation, the
          without limitation,  the ownership    thereof,  or financial condition,   or disputes between principals/managers/officers,   which
                                   ownership thereof, or financial condition, or disputes between principals/managers/officers, which causes   causes
          FLEXIBLE FUNDING,
          FLEXIBLE      FUNDING, in  in its sole discretion,
                                        its sole              to deem
                                                  discretion, to       itself insecure;
                                                                 deem itself             or
                                                                              insecure; or
                27.6 Any
                27.6         subordination agreement
                        Any subordination              whereby any
                                           agreement whereby         indebtedness of
                                                                any indebtedness      GRAHAM COUNTY
                                                                                   of GRAHAM       COUNTY LAND         COMPANY to
                                                                                                                 LAND COMPANY     to any third
                                                                                                                                     any third
          party is
          party    subordinated to
                is subordinated                COUNTY LAND
                                    GRAHAM COUNTY
                                 to GRAHAM                  LAND COMPANY's         obligations to
                                                                   COMPANY’s obligations          FLEXIBLE FUNDING
                                                                                               to FLEXIBLE                is amended
                                                                                                                  FUNDING is          without
                                                                                                                             amended without
          the consent
          the consent of               FUNDING or
                          FLEXIBLE FUNDING
                       of FLEXIBLE                or is breached or
                                                     is breached                in any
                                                                    repudiated in
                                                                 or repudiated         manner by
                                                                                   any manner         third party;
                                                                                                by aa third        or
                                                                                                            party; or
                  27.7
                  27.7     GRAHAM COUNTY LAND
                           GRAHAM COUNTY      COMPANY retains
                                         LAND COMPANY         or converts
                                                      retains or          moneys properly
                                                                 converts moneys          due to
                                                                                 properly due    FLEXIBLE FUNDING;
                                                                                              to FLEXIBLE          or
                                                                                                          FUNDING; or

                27.8 Any
                27.8         guarantor of
                       Any guarantor        GRAHAM COUNTY
                                        of GRAHAM                 LAND COMPANY's
                                                        COUNTY LAND                   obligations to
                                                                        COMPANY's obligations        FLEXIBLE FUNDING
                                                                                                  to FLEXIBLE                   to
                                                                                                                          fails to
                                                                                                              FUNDING fails
          perform or
          perform   or observe  any of
                       observe any          obligations to
                                        its obligations
                                     of its                FLEXIBLE FUNDING
                                                        to FLEXIBLE              notifies FLEXIBLE
                                                                              or notifies
                                                                     FUNDING or                        FUNDING of
                                                                                           FLEXIBLE FUNDING       an intention
                                                                                                               of an            to
                                                                                                                     intention to



          06 Factoring Agreement-
          06 Factoring                   County Land
                                  Graham County
                       Agreement- Graham                     v2
                                                     Company v2
                                                Land Company                                                                                                                 Page       14
                                                                                                                                                                                     of 14
                                                                                                                                                                             Page 88 of
     Case 23-04014-mxm                               Doc 12            Filed 04/28/23 Entered 04/28/23 12:10:07                                                             Desc Main
                                                                     Document      Page 26 of 61

DocuSign Envelope
DocuSign Envelope ID:
                  ID: B5EE5598-66C0-428B-AD07-DE0FF86D2499
                      BSEE5598-66C0-428B-AD07-DEOFF86D2499


         rescind, modify,
         rescind, modify, terminate
                          terminate or
                                    or revoke
                                       revoke any
                                              any guaranty,
                                                  guaranty, or
                                                            or any
                                                               any such
                                                                   such guaranty
                                                                        guaranty ceases
                                                                                 ceases to
                                                                                        to be
                                                                                           be in
                                                                                              in full
                                                                                                 full force
                                                                                                      force and
                                                                                                            and effect
                                                                                                                effect for
                                                                                                                       for any
                                                                                                                           any reason
                                                                                                                               reason
         whatsoever; or
         whatsoever;  or
                 27.9
                 27.9       A federal,
                            A federal, state
                                       state or
                                             or local
                                                local tax
                                                      tax lien
                                                          lien is
                                                               is filed
                                                                  filed against
                                                                        against GRAHAM
                                                                                GRAHAM COUNTY
                                                                                       COUNTY LAND
                                                                                              LAND COMPANY
                                                                                                   COMPANY or
                                                                                                           or its
                                                                                                              its principals;
                                                                                                                  principals; or
                                                                                                                              or
             27.10 GRAHAM
             27.10 GRAHAM COUNTYCOUNTY LAND  LAND COMPANY
                                                      COMPANY fails fails to
                                                                          to pay
                                                                             pay the
                                                                                 the full
                                                                                     full amount
                                                                                          amount of
                                                                                                 of all
                                                                                                    all Obligations
                                                                                                        Obligations to
                                                                                                                    to FLEXIBLE
                                                                                                                       FLEXIBLE
         FUNDING, in
         FUNDING,  in cash,
                      cash, upon
                            upon the
                                 the termination
                                     termination of
                                                 of this
                                                    this Agreement.
                                                         Agreement.
         After an
         After         Event of
                  an Event           Default, FLEXIBLE
                                 of Default,       FLEXIBLE FUNDING   FUNDING may              suspend or
                                                                                        may suspend         or terminate        FLEXIBLE FUNDING's
                                                                                                                 terminate FLEXIBLE                 FUNDING's obligationsobligations to        make
                                                                                                                                                                                          to make
         Advances and/or
         Advances        and/or render
                                   render other
                                              other services
                                                       services hereunder
                                                                     hereunder upon  upon notice
                                                                                             notice to to GRAHAM
                                                                                                           GRAHAM COUNTY     COUNTY LAND      LAND COMPANY  COMPANY that      that an an Event
                                                                                                                                                                                          Event of   of
         Default has
         Default            occurred, in
                      has occurred,        in the      event of
                                                 the event               termination of
                                                                 of aa termination                    Agreement by
                                                                                               this Agreement
                                                                                          of this                            FLEXIBLE FUNDING,
                                                                                                                        by FLEXIBLE              FUNDING, GRAHAM      GRAHAM COUNTY     COUNTY
                     COMPANY shall
          LAND COMPANY
         LAND                            shall be       obligated, without
                                                   be obligated,                                  demand, protest
                                                                                      further demand,
                                                                          without further                        protest or      notice of
                                                                                                                            or notice       of any        kind, to
                                                                                                                                                  any kind,                    immediately to
                                                                                                                                                                        pay immediately
                                                                                                                                                                    to pay                           to
         FLEXIBLE FUNDING
         FLEXIBLE           FUNDING the      the full    amount of
                                                   full amount             all Obligations
                                                                      of all                     payable to
                                                                               Obligations payable               FLEXIBLE FUNDING
                                                                                                             to FLEXIBLE            FUNDING hereunder.                  Notwithstanding the
                                                                                                                                                      hereunder. Notwithstanding                   the
                                            sentence, upon
                             preceding sentence,
          immediately preceding
         immediately                                        upon the        occurrence of
                                                                     the occurrence        of any     Event of
                                                                                                any Event                       described in
                                                                                                                    Default described
                                                                                                                of Default                           either of
                                                                                                                                                in either           paragraphs 27.2
                                                                                                                                                                of paragraphs       27.2 or     27.3
                                                                                                                                                                                            or 27.3
                    without notice,
          above, without
         above,                            demand or
                                 notice, demand                       action by
                                                             other action
                                                         or other                    FLEXIBLE FUNDING
                                                                                 by FLEXIBLE           FUNDING (a)       (a) all                  payable to
                                                                                                                                    amounts payable
                                                                                                                              all amounts                           FLEXIBLE FUNDING
                                                                                                                                                                to FLEXIBLE           FUNDING
         pursuant to
         pursuant       to this                       including but
                                   Agreement, including
                            this Agreement,                            but not      limited to,
                                                                              not limited                 outstanding and
                                                                                                    all outstanding
                                                                                               to, all                               unpaid Advances,
                                                                                                                             and unpaid                           Factoring Fees
                                                                                                                                                Advances, Factoring                        payable
                                                                                                                                                                                  Fees payable
                     (until all
         thereon (until
         thereon                                 payable to
                                   amounts payable
                              all amounts                         FLEXIBLE FUNDING
                                                              to FLEXIBLE                            hereunder are
                                                                                     FUNDING hereunder                     paid in
                                                                                                                     are paid          cash in
                                                                                                                                   in cash    in full),                      Damages, and
                                                                                                                                                            Liguidated Damages,
                                                                                                                                                   full), Liquidated                         and allall
                           costs and
                  fees, costs
          other fees,
         other                            expenses payable
                                    and expenses          payable with  with respect       thereto, shall
                                                                                 respect thereto,                 immediately become
                                                                                                         shall immediately            become due    due and and payable         whether or
                                                                                                                                                                   payable whether           or notnot
         payable on
         payable           demand prior
                      on demand        prior to to such     Event of
                                                    such Event             Default, and
                                                                       of Default,      and (b)          Factoring Fee
                                                                                                   the Factoring
                                                                                              (b) the                                    immediately increase
                                                                                                                                shall immediately
                                                                                                                         Fee shall                            increase to      the default
                                                                                                                                                                           to the               rate,
                                                                                                                                                                                     default rate,
         and (c)
         and    (c) all     obligations to
                       all obligations              purchase Eligible
                                               to purchase                        Receivables, make
                                                                    Eligible Receivables,                      Advances or
                                                                                                     make Advances                    otherwise provide
                                                                                                                                or otherwise           provide any          services or
                                                                                                                                                                     any services              other
                                                                                                                                                                                          or other
          accommodations to
         accommodations                GRAHAM COUNTY
                                   to GRAHAM              COUNTY LAND                 COMPANY under
                                                                            LAND COMPANY                  under this      Agreement, or
                                                                                                                   this Agreement,                any other
                                                                                                                                             or any                                document or
                                                                                                                                                                   agreement, document
                                                                                                                                                         other agreement,                            or
                          between the
         instrument between
         instrument                         parties shall
                                       the parties                                  terminate. After
                                                                immediately terminate.
                                                        shall immediately                           After the      occurrence and
                                                                                                             the occurrence                during the
                                                                                                                                     and during              continuation of
                                                                                                                                                      the continuation                    Event of
                                                                                                                                                                                    any Event
                                                                                                                                                                                of any               of
                      FLEXIBLE FUNDING
         Default, FLEXIBLE
         Default,                       FUNDING may        may taketake all            and further
                                                                                other and
                                                                           all other                    actions and
                                                                                             further actions                       itself of
                                                                                                                          avail itself
                                                                                                                    and avail                  any and
                                                                                                                                           of any      and all     rights, powers,
                                                                                                                                                              all rights,                remedies
                                                                                                                                                                             powers, remedies
                               available to
               privileges available
         and privileges
         and                                      FLEXIBLE FUNDING
                                             to FLEXIBLE             FUNDING under                   Agreement, under
                                                                                               this Agreement,
                                                                                      under this                        under the       UCC or
                                                                                                                                  the UCC       or other       applicable law,
                                                                                                                                                     other applicable         law, at    law or
                                                                                                                                                                                      at law    or inin
         equity. Upon
         equity.      Upon termination             pursuant to
                                termination pursuant                          paragraph 27,
                                                                      this paragraph
                                                                  to this                         FLEXIBLE FUNDING
                                                                                            27, FLEXIBLE             FUNDING may        may taketake all all steps                 necessary to
                                                                                                                                                                       deemed necessary
                                                                                                                                                               steps deemed                          to
                   collection of
         effect collection
         effect                        the Accounts
                                   of the                    Receivable and
                                             Accounts Receivable                and otherwise        dispose of
                                                                                      otherwise dispose                     Collateral in
                                                                                                                      the Collateral
                                                                                                                  of the                          accordance with
                                                                                                                                             in accordance                         terms of
                                                                                                                                                                             the terms
                                                                                                                                                                      with the                    this
                                                                                                                                                                                             of this
         Agreement, the
         Agreement,        the UCC
                                 UCC and and applicable
                                                applicable law.  law.
         28. In
         28.   In the    absence of
                   the absence               Event of
                                       any Event
                                   of any              Default, FLEXIBLE
                                                    of Default,              FUNDING may
                                                                FLEXIBLE FUNDING              terminate its
                                                                                         may terminate     its obligations     under this
                                                                                                                 obligations under           Agreement
                                                                                                                                       this Agreement
         provided it
         provided   it has         written notice
                            given written
                       has given                                   COUNTY LAND
                                                       GRAHAM COUNTY
                                                    to GRAHAM
                                             notice to                                COMPANY at
                                                                              LAND COMPANY            least sixty
                                                                                                   at least          (60) days
                                                                                                              sixty (60)                to the
                                                                                                                                 prior to
                                                                                                                           days prior          effective
                                                                                                                                           the effective
              of termination,
         date of
         date                    with all
                 termination, with         Obligations becoming
                                       all Obligations            immediately due
                                                        becoming immediately           payable on
                                                                                   and payable
                                                                               due and             the effective
                                                                                               on the                date of
                                                                                                        effective date       termination.
                                                                                                                          of termination.
               This Agreement
         29. This
         29.                         the security
                                 and the
                     Agreement and                            hereby granted
                                                   interests hereby
                                         security interests                     shall remain
                                                                       granted shall            effect until
                                                                                             in effect
                                                                                      remain in                    time as
                                                                                                             such time
                                                                                                       until such                amounts payable
                                                                                                                             all amounts
                                                                                                                         as all                      to
                                                                                                                                            payable to
                       FUNDING under
         FLEXIBLE FUNDING
         FLEXIBLE                              Agreement have
                                          this Agreement
                                   under this                       been paid
                                                             have been          to FLEXIBLE
                                                                           paid to              FUNDING in
                                                                                    FLEXIBLE FUNDING          in cash  and satisfied
                                                                                                                 cash and               in full,
                                                                                                                             satisfied in        and aa
                                                                                                                                           full, and
                   Release shall
         General Release
         General                 have been
                           shall have        executed and
                                      been executed          delivered by
                                                        and delivered                    COUNTY LAND
                                                                             GRAHAM COUNTY
                                                                        by GRAHAM                            COMPANY in
                                                                                                     LAND COMPANY               favor of
                                                                                                                            in favor      FLEXIBLE
                                                                                                                                       of FLEXIBLE
         FUNDING.
         FUNDING.
                       termination, at
                After termination,
         30. After
         30.                               such time
                                        at such             all Obligations
                                                        as all
                                                  time as                    shall have
                                                                Obligations shall                indefeasibly paid
                                                                                           been indefeasibly
                                                                                    have been                       to FLEXIBLE
                                                                                                              paid to                    in cash
                                                                                                                                FUNDING in
                                                                                                                       FLEXIBLE FUNDING          and
                                                                                                                                            cash and
                    in full,
         satisfied in
         satisfied            and aa General
                       full, and                           shall have
                                                Release shall
                                      General Release                       executed and
                                                                       been executed
                                                                 have been                    delivered by
                                                                                         and delivered      GRAHAM COUNTY
                                                                                                         by GRAHAM                     COMPANY in
                                                                                                                                 LAND COMPANY
                                                                                                                         COUNTY LAND               in
         favor of
         favor      FLEXIBLE FUNDING,
                of FLEXIBLE                                        FUNDING will
                                                    FLEXIBLE FUNDING
                                     FUNDING, FLEXIBLE                           will re-assign      GRAHAM COUNTY
                                                                                                  to GRAHAM
                                                                                       re-assign to               COUNTY LAND     COMPANY any
                                                                                                                            LAND COMPANY         and
                                                                                                                                             any and
             interests it
         all interests
         all                        have in
                             may have
                         it may                the Collateral
                                           in the                 and will
                                                     Collateral and         execute such
                                                                       will execute     such termination    statements as
                                                                                               termination statements      GRAHAM COUNTY
                                                                                                                        as GRAHAM             LAND
                                                                                                                                    COUNTY LAND
         COMPANY may
         COMPANY         may reasonably
                                reasonably request.
                                              request.

                                                     TERMINATION BY
                                                     TERMINATION BY GRAHAM
                                                                    GRAHAM COUNTY
                                                                           COUNTY LAND
                                                                                  LAND COMPANY
                                                                                       COMPANY

         31.
         31.     Inthe
                 In     event that:
                    the event that:
             31.1
            31.1  FLEXIBLE  FUNDING fails
                  FLEXIBLE FUNDING        to pay
                                    fails to  pay to   GRAHAM COUNTY
                                                  to GRAHAM                   COMPANY when
                                                                         LAND COMPANY
                                                                  COUNTY LAND              due any
                                                                                      when due     monies owing
                                                                                               any monies       to
                                                                                                          owing to
         GRAHAM COUNTY
         GRAHAM   COUNTY LAND
                          LAND COMPANY
                                COMPANY under
                                            under this
                                                   this Agreement;
                                                        Agreement; or
                                                                    or
                 31.2
                 31.2      FLEXIBLE FUNDING fails
                           FLEXIBLE FUNDING       to perform
                                            fails to         timely the
                                                     perform timely              to be
                                                                        services to
                                                                    the services       rendered by
                                                                                    be rendered    FLEXIBLE FUNDING
                                                                                                by FLEXIBLE         hereunder;
                                                                                                            FUNDING hereunder;
               GRAHAM COUNTY
         then, GRAHAM
         then,                               COMPANY may
                                     LAND COMPANY
                           COUNTY LAND                       may notify               FUNDING of
                                                                          FLEXIBLE FUNDING
                                                                  notify FLEXIBLE                of its intent to
                                                                                                    its intent     terminate this
                                                                                                               to terminate        Agreement,
                                                                                                                              this Agreement,
                termination shall
         which termination
         which                     become effective
                             shall become                     upon the
                                                        only upon
                                            effective only                payment to
                                                                     the payment                   FUNDING of
                                                                                       FLEXIBLE FUNDING
                                                                                   to FLEXIBLE                        the full
                                                                                                                  of the        amount of
                                                                                                                          full amount       all
                                                                                                                                         of all
         Obligations outstanding
         Obligations               hereunder and
                      outstanding hereunder          all other
                                               and all           fees, costs
                                                          other fees,          and expenses
                                                                        costs and            payable by
                                                                                    expenses payable         GRAHAM COUNTY
                                                                                                        by GRAHAM          COUNTY LAND  LAND
         COMPANY hereunder.
         COMPANY      hereunder.
         32. GRAHAM
         32.     GRAHAM COUNTY   COUNTY LAND LAND COMPANY
                                                     COMPANY may    may terminate
                                                                           terminate this
                                                                                        this Agreement
                                                                                              Agreement at   at any
                                                                                                                any time,
                                                                                                                     time, for
                                                                                                                           for any
                                                                                                                                any reason,
                                                                                                                                      reason, provided
                                                                                                                                               provided itit has
                                                                                                                                                               has
         given written
         given   written notice
                            notice toto FLEXIBLE
                                         FLEXIBLE FUNDING
                                                     FUNDING at   at least
                                                                      least sixty
                                                                             sixty (60)
                                                                                    (60) days
                                                                                           days prior
                                                                                                  prior to
                                                                                                         to the
                                                                                                            the effective
                                                                                                                 effective date
                                                                                                                           date ofof termination
                                                                                                                                      termination andand further
                                                                                                                                                          further
         provided that
         provided    that all
                           all Obligations
                                Obligations payable
                                             payable hereunder
                                                     hereunder shall
                                                                 shall have
                                                                        have been
                                                                               been paid
                                                                                     paid inin full
                                                                                               full to
                                                                                                    to FLEXIBLE
                                                                                                        FLEXIBLE FUNDING
                                                                                                                      FUNDING prior prior to
                                                                                                                                          to the
                                                                                                                                             the effective
                                                                                                                                                  effective date
                                                                                                                                                              date
         of termination,
         of  termination, and and aa General
                                      General Release
                                              Release shall
                                                      shall have
                                                             have been
                                                                   been executed
                                                                          executed andand delivered
                                                                                            delivered byby GRAHAM
                                                                                                            GRAHAM COUNTY COUNTY LAND  LAND COMPANY
                                                                                                                                                COMPANY in       in
         favor of
         favor   of FLEXIBLE
                     FLEXIBLE FUNDING.
                                     FUNDING. Any  Any notice
                                                        notice of
                                                                of termination
                                                                    termination which
                                                                                   which is is not
                                                                                               not followed
                                                                                                     followed byby payment
                                                                                                                    payment inin full
                                                                                                                                 full within
                                                                                                                                       within sixty
                                                                                                                                                sixty (60)
                                                                                                                                                       (60) days
                                                                                                                                                             days
         shall be
         shall  be void
                    void and
                          and ineffective.
                                ineffective.
         33. Upon
         33.   Upon termination
                      termination of
                                   of this
                                      this Agreement
                                           Agreement for
                                                     for any
                                                         any reason,
                                                              reason, FLEXIBLE
                                                                       FLEXIBLE FUNDING
                                                                                     FUNDING shall  shall render
                                                                                                          render an
                                                                                                                 an accounting
                                                                                                                     accounting forfor all
                                                                                                                                       all Purchased
                                                                                                                                            Purchased
         Receivables to
         Receivables   to GRAHAM
                           GRAHAM COUNTYCOUNTY LANDLAND COMPANY.
                                                           COMPANY.        Termination of
                                                                           Termination      of this
                                                                                                this Agreement
                                                                                                      Agreement shall
                                                                                                                   shall not
                                                                                                                         not relieve
                                                                                                                               relieve oror discharge
                                                                                                                                             discharge
         GRAHAM COUNTY
         GRAHAM       COUNTY LAND           COMPANY from
                                   LAND COMPANY                its payment
                                                        from its             obligations to
                                                                   payment obligations                         FUNDING until
                                                                                                FLEXIBLE FUNDING
                                                                                           to FLEXIBLE                      until such     time as
                                                                                                                                    such time        all
                                                                                                                                                 as all
         payment obligations
         payment   obligations to
                               to FLEXIBLE
                                  FLEXIBLE FUNDING
                                               FUNDING have
                                                          have been
                                                                 been paid
                                                                      paid and
                                                                           and satisfied
                                                                                satisfied in
                                                                                          in full.
                                                                                              full.


         06 Factoring
         06 Factoring Agreement-
                      Agreement- Graham
                                 Graham County
                                        County Land
                                               Land Company
                                                    Company v2
                                                            v2                                                                                                                         Page 99 of
                                                                                                                                                                                       Page    of 14
                                                                                                                                                                                                  14
     Case 23-04014-mxm                             Doc 12          Filed 04/28/23 Entered 04/28/23 12:10:07                                                        Desc Main
                                                                 Document      Page 27 of 61

DocuSign Envelope
DocuSign Envelope ID:
                  ID: B5EE5598-66C0-428B-AD07-DEOFF86D2499
                      BSEE5598-66C0-428B-AD07-DEOFF86D2499


                                                                        INSURANCE REQUIREMENTS
                                                                        INSURANCE REQUIREMENTS
                GRAHAM COUNTY
         34, GRAHAM
         34.                    COUNTY LAND             COMPANY shall
                                              LAND COMPANY                             FLEXIBLE FUNDING
                                                                              provide FLEXIBLE
                                                                       shall provide                   FUNDING with     proof of
                                                                                                                   with proof    employee bonding
                                                                                                                              of employee            (if
                                                                                                                                            bonding (if
         required by
         required        its’ Account
                    by its'              Debtors), workers
                              Account Debtors),                  compensation and
                                                      workers compensation           liability insurance.
                                                                                 and liability               GRAHAM COUNTY
                                                                                                insurance. GRAHAM                          COMPANY
                                                                                                                                   LAND COMPANY
                                                                                                                         COUNTY LAND
                notify FLEXIBLE
         shall notify
         shall                         FUNDING of
                        FLEXIBLE FUNDING                        changes in
                                                          any changes
                                                       of any               insurance and
                                                                         in insurance               ensure that
                                                                                             shall ensure
                                                                                        and shall                           FUNDING is
                                                                                                                FLEXIBLE FUNDING
                                                                                                           that FLEXIBLE                  named on
                                                                                                                                       is named     the
                                                                                                                                                 on the
         certificate of
         certificate  of insurance
                          insurance list
                                     list as
                                           as certificate
                                              certificate holder.
                                                           holder.

                                                                                 INDEMNIFICATION
                                                                                 INDEMNIFICATION
                GRAHAM COUNTY
          35. GRAHAM
         35.                      COUNTY LAND          COMPANY agrees
                                              LAND COMPANY               agrees and      warrants that
                                                                                   and warrants           under no
                                                                                                    that under         circumstances are
                                                                                                                  no circumstances              employees of
                                                                                                                                           are employees        GRAHAM
                                                                                                                                                             of GRAHAM
          COUNTY LAND
         COUNTY                     COMPANY to
                         LAND COMPANY              to be                     employees of
                                                            considered employees
                                                       be considered                           FLEXIBLE FUNDING
                                                                                            of FLEXIBLE         FUNDING for            any purpose,
                                                                                                                                 for any                 including but
                                                                                                                                             purpose, including           not
                                                                                                                                                                     but not
                  to, any
         limited to,
         limited              state or
                        any state               wage and
                                        federal wage
                                     or federal              hour law,
                                                        and hour                      withholding, state
                                                                            federal withholding,
                                                                    law, federal                                                withholding to
                                                                                                              withholding, withholding
                                                                                                       state withholding,                           other taxing
                                                                                                                                                 to other          authority
                                                                                                                                                           taxing authority
             health benefits
         or health
         or                         program; employees
                      benefits program;                             at all
                                                             shall at
                                               employees shall                times be
                                                                         all times          recognized as
                                                                                       be recognized       as the   employees of
                                                                                                               the employees             GRAHAM COUNTY
                                                                                                                                     of GRAHAM          COUNTY LAND   LAND
          COMPANY for
         COMPANY           for all              GRAHAM COUNTY
                                    purposes. GRAHAM
                                all purposes.                  COUNTY LAND               COMPANY shall
                                                                              LAND COMPANY                                   after each
                                                                                                                promptly after
                                                                                                         shall promptly                    pay period
                                                                                                                                     each pay            as required,
                                                                                                                                                 period as             make
                                                                                                                                                            required, make
         payments to
         payments     to the              Revenue Service
                                Internal Revenue
                          the Internal                             federal taxes;
                                                               for federal
                                                     Service for                           the State
                                                                                       to the
                                                                               taxes; to                   state taxes;
                                                                                                      for state
                                                                                               State for                  and to
                                                                                                                  taxes; and    to any                            agency to
                                                                                                                                                  governmental agency
                                                                                                                                          other governmental
                                                                                                                                    any other                               to
         whom any
         whom     any taxtax oror similar                obligation is
                                             payment obligation
                                    similar payment                   is due              respect to
                                                                                  with respect
                                                                            due with                    employees’ activities.
                                                                                                   to employees'                         GRAHAM COUNTY
                                                                                                                        activities. GRAHAM              COUNTY LAND   LAND
         COMPANY shall
         COMPANY                   cause FLEXIBLE
                          shall cause                   FUNDING to
                                          FLEXIBLE FUNDING             to bebe given    promptly suitable
                                                                                given promptly                 evidence of
                                                                                                    suitable evidence          all such
                                                                                                                           of all         payments.
                                                                                                                                    such payments.
                GRAHAM COUNTY
         36. GRAHAM
         36.                   COUNTY LAND LAND COMPANY                   that all
                                                                 warrants that
                                                   COMPANY warrants                 of its
                                                                               all of       employees are
                                                                                        its employees    are legally   entitled to
                                                                                                              legally entitled        employed in
                                                                                                                                   be employed
                                                                                                                                to be                the
                                                                                                                                                  in the
                  States and
         United States
         United                agrees to
                          and agrees              and hold
                                          defend and
                                       to defend            harmless FLEXIBLE
                                                       hold harmless               FUNDING, its
                                                                      FLEXIBLE FUNDING,           its directors,  officers, employees
                                                                                                      directors, officers,              and agents,
                                                                                                                             employees and            for
                                                                                                                                            agents, for
              failure on
         any failure
         any               the part
                       on the       of GRAHAM
                               part of              COUNTY LAND
                                        GRAHAM COUNTY                   COMPANY to
                                                                LAND COMPANY               comply with
                                                                                       to comply          relevant immigration,
                                                                                                    with relevant                  non-discrimination,
                                                                                                                     immigration, non-discrimination,
         employment and
         employment      and employee-benefit    laws.
                              employee-benefit laws.
                            limiting any
                Without limiting
         37. Without
         37.                            any other              hereunder or
                                                      rights hereunder
                                              other rights                    or under       applicable law,
                                                                                   under applicable                   GRAHAM COUNTY
                                                                                                             law, GRAHAM              COUNTY LAND     LAND COMPANYCOMPANY hereby    hereby
         agrees to
         agrees   to indemnify       FLEXIBLE FUNDING
                      indemnify FLEXIBLE               FUNDING and     and all      officers, directors,
                                                                              all officers,                                         employees and
                                                                                                                 shareholders, employees
                                                                                                 directors, shareholders,                            and agents                  (each an
                                                                                                                                                                      thereof (each
                                                                                                                                                             agents thereof               an
          "Indemnified Person"),
         "Indemnified     Person"),      forthwith
                                        forthwith     on
                                                      on   demand,
                                                           demand,     from
                                                                      from      and
                                                                               and     against
                                                                                      against     any
                                                                                                 any    and
                                                                                                        and    all
                                                                                                              all    damages,
                                                                                                                     damages,     losses,
                                                                                                                                 losses,     claims,
                                                                                                                                            claims,    liabilities
                                                                                                                                                       liabilities    and
                                                                                                                                                                     and    related
                                                                                                                                                                            related   costs
                                                                                                                                                                                      costs
               expenses, including
         and expenses,
         and                               attorneys' fees
                             including attorneys'                    disbursements (all
                                                                and disbursements
                                                         fees and                           (all of         foregoing being
                                                                                                      the foregoing
                                                                                                  of the                                              referred to
                                                                                                                                     collectively referred
                                                                                                                            being collectively                     to as   "Indemnified
                                                                                                                                                                       as "Indemnified
                                    against or
                        awarded against
         Amounts") awarded
         Amounts")                                 incurred by
                                               or incurred         any of
                                                               by any    of them      arising out
                                                                             them arising        out of        relating to
                                                                                                           or relating
                                                                                                       of or                   the transactions
                                                                                                                            to the                    contemplated hereby
                                                                                                                                    transactions contemplated             hereby or      the
                                                                                                                                                                                     or the
         ownership of
         ownership     of any    Account Receivable,
                            any Account                        including without
                                              Receivable, including                        limitation: (a)
                                                                             without limitation:            (a) any       representation or
                                                                                                                    any representation            warranty made
                                                                                                                                              or warranty        made by      GRAHAM
                                                                                                                                                                         by GRAHAM
          COUNTY LAND
         COUNTY                   COMPANY or
                       LAND COMPANY                 or any    officers or
                                                        any officers         affiliates that
                                                                         or affiliates      that was     false or
                                                                                                  was false            misleading when
                                                                                                                   or misleading               made; (b)
                                                                                                                                      when made;               GRAHAM COUNTY
                                                                                                                                                         (b) GRAHAM            COUNTY
                   COMPANY?" breach
         LAND COMPANY's
         LAND                          breach of of applicable            rule or
                                                                   law, rule
                                                     applicable law,                  regulation; (c)
                                                                                  or regulation;                    imperfection in
                                                                                                            any imperfection
                                                                                                      (c) any                             FLEXIBLE FUNDING's
                                                                                                                                      in FLEXIBLE           FUNDING's securitysecurity or or
                        interest in
         ownership interest
         ownership                            Collateral or
                                       any Collateral
                                   in any                    or Account       Receivable caused
                                                                 Account Receivable             caused by         GRAHAM COUNTY
                                                                                                           by GRAHAM               COUNTY LAND                 COMPANY; (d)
                                                                                                                                                   LAND COMPANY;                        any
                                                                                                                                                                                  (d) any
                    claim, offset
         dispute, claim,
         dispute,                        defense of
                                     or defense
                             offset or                        Obligor, including
                                                        any Obligor,
                                                    of any                                           limitation, any
                                                                                         without limitation,
                                                                          including without                                 relating to
                                                                                                                       any relating             goods or
                                                                                                                                           the goods
                                                                                                                                       to the                            related to
                                                                                                                                                              services related
                                                                                                                                                         or services                   such
                                                                                                                                                                                   to such
                      Receivable and
         Accounts Receivable
         Accounts                           products liability
                                      and products                  claims; and
                                                         liability claims;       and (e)     any tax,
                                                                                        (e) any           governmental fee
                                                                                                   tax, governmental           fee or    charge and
                                                                                                                                     or charge     and all      interest and
                                                                                                                                                           all interest         penalties
                                                                                                                                                                           and penalties
         thereon.
         thereon.
               GRAHAM COUNTY
         38. GRAHAM
         38.                  COUNTY LAND           COMPANY hereby
                                           LAND COMPANY                                  discharges and
                                                                            releases, discharges
                                                                   hereby releases,                         agrees to
                                                                                                       and agrees    to hold   harmless and
                                                                                                                         hold harmless           indemnify
                                                                                                                                           and indemnify
                       FUNDING’s banks
         FLEXIBLE FUNDING's
         FLEXIBLE                              from any
                                        banks from        and all
                                                     any and       actions, suits,
                                                               all actions,         causes of
                                                                            suits, causes    of action,   claims and
                                                                                                 action, claims         demands whatsoever,
                                                                                                                  and demands                     including
                                                                                                                                   whatsoever, including
                      attorneys’ fees
         reasonable attorneys'
         reasonable                     and costs,
                                   fees and                GRAHAM COUNTY
                                                    which GRAHAM
                                             costs, which                COUNTY LAND            COMPANY has,
                                                                                       LAND COMPANY                  or may
                                                                                                               has, or        have, in
                                                                                                                         may have,      the future
                                                                                                                                     in the          arising
                                                                                                                                             future arising
             of the
         out of
         out                     GRAHAM COUNTY
                     authority GRAHAM
                 the authority                 COUNTY LAND         COMPANY has
                                                          LAND COMPANY                  granted to
                                                                                   has granted    to FLEXIBLE       FUNDING to
                                                                                                      FLEXIBLE FUNDING               accept, endorse
                                                                                                                                  to accept,             and
                                                                                                                                               endorse and
         deposit remittances
         deposit                     GRAHAM COUNTY
                                for GRAHAM
                  remittances for                 COUNTY LAND         COMPANY to
                                                             LAND COMPANY            to the                FUNDING Deposit
                                                                                            FLEXIBLE FUNDING
                                                                                        the FLEXIBLE                               Accounts.
                                                                                                                          Deposit Accounts.

                                                                                          WAIVERS
                                                                                          WAIVERS
                     failure of
               The failure
         39. The
         39.                   of FLEXIBLE       FUNDING or
                                   FLEXIBLE FUNDING                GRAHAM COUNTY
                                                               or GRAHAM          COUNTY LAND             COMPANY to
                                                                                                LAND COMPANY            to enforce   any of
                                                                                                                            enforce any       the terms
                                                                                                                                          of the           and
                                                                                                                                                   terms and
         provisions of
         provisions   of this   Agreement, or
                          this Agreement,    or the           to exercise
                                                      failure to
                                                 the failure                 any right
                                                                  exercise any                     default hereunder
                                                                                        upon aa default
                                                                                  right upon                            shall apply
                                                                                                            hereunder shall                in the
                                                                                                                                      only in
                                                                                                                               apply only           particular
                                                                                                                                               the particular
                   and shall
         instance and
         instance                    operate as
                                 not operate
                         shall not                                 waiver of
                                                     continuing waiver
                                               as aa continuing             of rights.   To the
                                                                                rights. To     the maximum       extent permitted
                                                                                                    maximum extent                   under applicable
                                                                                                                         permitted under                  law,
                                                                                                                                            applicable law,
         GRAHAM COUNTY
         GRAHAM        COUNTY LAND          COMPANY hereby
                                    LAND COMPANY            hereby irrevocably             all of
                                                                                   waives all
                                                                     irrevocably waives                 following:
                                                                                                   the following:
                                                                                                of the
                39.1 Any
                39.1    Any and     all rights
                              and all                remedies now
                                                and remedies
                                         rights and               now or    hereafter conferred
                                                                        or hereafter    conferred by     statute or
                                                                                                     by statute    or otherwise            may require
                                                                                                                                   which may
                                                                                                                       otherwise which                      FLEXIBLE
                                                                                                                                                  require FLEXIBLE
          FUNDING to
         FUNDING          (a) take
                       to (a)          any judicial
                                take any             proceedings in
                                            judicial proceedings          connection with
                                                                      in connection                  Collateral or
                                                                                               any Collateral
                                                                                        with any                      otherwise use
                                                                                                                  or otherwise               Collateral in
                                                                                                                                       any Collateral
                                                                                                                                  use any                    mitigation
                                                                                                                                                          in mitigation
                           FUNDING's damages
             FLEXIBLE FUNDING's
          of FLEXIBLE
         of                                  damages as as set         herein, or
                                                                forth herein,
                                                           set forth                (b) proceed
                                                                                or (b)                             person or
                                                                                                             any person
                                                                                                    against any
                                                                                        proceed against                        entity liable
                                                                                                                            or entity                    obligations as
                                                                                                                                                    any obligations
                                                                                                                                               for any
                                                                                                                                       liable for                      as
                       to or
            condition to
         aa condition         prior to
                          or prior        proceeding hereunder;
                                      to proceeding    hereunder; and and (c)   dispose, sell
                                                                            (c) dispose,         or otherwise
                                                                                           sell or   otherwise realize     upon or
                                                                                                                 realize upon        collect or
                                                                                                                                  or collect       apply any
                                                                                                                                               or apply        personal
                                                                                                                                                          any personal
                     securing any
         property, securing
         property,                    obligations of
                                any obligations       GRAHAM COUNTY
                                                   of GRAHAM          COUNTY LAND             COMPANY, as
                                                                                    LAND COMPANY,                                    or prior
                                                                                                                                 to, or
                                                                                                                      condition to,
                                                                                                               as aa condition          prior to   proceeding against
                                                                                                                                                to proceeding    against
          GRAHAM COUNTY
         GRAHAM        COUNTY LAND   LAND COMPANY
                                               COMPANY hereunder.
                                                               hereunder.

                                                                                           NOTICE
                                                                                           NOTICE
         40. Any
         40.  Any notice,
                   notice, request
                           request or
                                    or demand
                                       demand under
                                              under this
                                                    this Agreement
                                                         Agreement shall
                                                                   shall be
                                                                         be in
                                                                            in writing,
                                                                               writing, with
                                                                                        with proof
                                                                                             proof of
                                                                                                   of receipt,
                                                                                                      receipt, issued
                                                                                                               issued via
                                                                                                                      via USPS,
                                                                                                                          USPS, Fed
                                                                                                                                Fed Ex,
                                                                                                                                    Ex,
         UPS or
         UPS or designated
                designated email
                            email address.
                                   address.
                 40.1
                 40.1      Any Notice,
                           Any Notice, Request
                                       Request or
                                               or Demand
                                                  Demand shall
                                                         shall be
                                                               be deemed
                                                                  deemed received
                                                                         received and
                                                                                  and effective
                                                                                      effective on
                                                                                                on the
                                                                                                   the day
                                                                                                       day on
                                                                                                           on which
                                                                                                              which it
                                                                                                                    it is
                                                                                                                       is received.
                                                                                                                          received.
               40.2 Notice
               40.2    Notice of of any
                                    any (a)
                                         (a) change
                                             change of
                                                    of address
                                                       address of
                                                                of principal
                                                                   principal place
                                                                              place of
                                                                                     of business,
                                                                                         business, (b)
                                                                                                    (b) state
                                                                                                         state of
                                                                                                               of incorporation,
                                                                                                                   incorporation, (c)
                                                                                                                                   (c) legal
                                                                                                                                       legal business
                                                                                                                                             business
         name, or
         name,  or (d)
                   (d) Fictitious
                        Fictitious Business
                                    Business Name
                                              Name (DBA)
                                                    (DBA) byby either
                                                               either party
                                                                      party shall
                                                                             shall be
                                                                                   be in
                                                                                      in writing
                                                                                          writing and
                                                                                                  and mailed
                                                                                                        mailed not
                                                                                                                not less
                                                                                                                     less than
                                                                                                                          than ten
                                                                                                                               ten (10)
                                                                                                                                   (10) days
                                                                                                                                         days prior
                                                                                                                                              prior to
                                                                                                                                                    to
         any such
         any such change.
                   change.



         06 Factoring
         06 Factoring Agreement-
                      Agreement- Graham
                                 Graham County
                                        County Land
                                               Land Company
                                                    Company v2
                                                            v2                                                                                                              Page 10
                                                                                                                                                                            Page 10 of
                                                                                                                                                                                    of 14
                                                                                                                                                                                       14
      Case 23-04014-mxm                        Doc 12         Filed 04/28/23 Entered 04/28/23 12:10:07                                            Desc Main
                                                            Document      Page 28 of 61

DocuSign
 DocuSignEnvelope
          EnvelopeID:ID:BSEE5598-66C0-428B -AD07-DEOFF86D2499
                         B5EE5598-66C0-428B-AD07-DEOFF86D2499

               40.3
                40.3 Both
                        Both parties
                              parties agree
                                        agreetoto communicate
                                                   communicatewithwith oneone another
                                                                               anotherfully
                                                                                        fully and
                                                                                               andinin good
                                                                                                        good faith,
                                                                                                              faith,particularly
                                                                                                                     particularly about
                                                                                                                                   aboutbusiness
                                                                                                                                         business conditions,
                                                                                                                                                   conditions,
         changes,
          changes, concerns
                    concerns andand oror other
                                          other matters
                                                  matters pertaining
                                                            pertaining toto GRAHAM
                                                                            GRAHAM COUNTY COUNTY LAND    LAND COMPANY’s             business, and
                                                                                                                    COMPANY's business,        and each
                                                                                                                                                    each shall
                                                                                                                                                          shall
         inform
          informthe
                  theother
                      otherasassoon
                                soon asaspossible
                                          possiblebutbutnot
                                                         notlater
                                                             laterthan
                                                                   thanFive
                                                                          Five(5)
                                                                                (5)days
                                                                                    daysafter
                                                                                         after any
                                                                                                anyrelevant
                                                                                                     relevantoccurrence.
                                                                                                                occurrence.

                                                                 INSPECTION
                                                                 INSPECTION AND
                                                                            ANDREPORTING
                                                                                REPORTING
         41.
          41. FLEXIBLE
                 FLEXIBLEFUNDING,FUNDING,through
                                              throughitsits agents
                                                             agents oror employees,
                                                                          employees, shall
                                                                                        shallhave
                                                                                               have the
                                                                                                     the right
                                                                                                          righttoto inspect
                                                                                                                     inspect and
                                                                                                                              and audit
                                                                                                                                   auditthe
                                                                                                                                          thebooks
                                                                                                                                              books and and records
                                                                                                                                                             records ofof
         GRAHAM
          GRAHAM COUNTY   COUNTY LAND LAND COMPANY
                                               COMPANY atat all     all reasonable
                                                                          reasonable times
                                                                                        times without
                                                                                                without hindrance
                                                                                                           hindrance oror delay
                                                                                                                             delay atat FLEXIBLE          FUNDING's
                                                                                                                                         FLEXIBLE FUNDING's
         expense,
          expense. GRAHAM
                       GRAHAM COUNTY COUNTY LAND LAND COMPANY
                                                           COMPANY shall     shall provide
                                                                                    provide FLEXIBLE
                                                                                              FLEXIBLE FUNDING
                                                                                                             FUNDING with    with copies
                                                                                                                                   copies ofof its   quarterly balance
                                                                                                                                                its quarterly   balance
         sheet,
          sheet, income
                  income statement
                             statement and
                                        and Employer's
                                             Employer's Quarterly
                                                            Quarterly Federal
                                                                          Federal Tax
                                                                                    Tax Return,
                                                                                          Return, Form
                                                                                                    Form 941,
                                                                                                            941, by
                                                                                                                  by the
                                                                                                                       the 30th
                                                                                                                            30th day
                                                                                                                                  day following
                                                                                                                                        following the the end
                                                                                                                                                           end ofof each
                                                                                                                                                                     each
         quarter.
          quarter. FLEXIBLE
                     FLEXIBLE FUNDING
                                    FUNDING may  may monitor
                                                      monitor federal
                                                                   federal tax,
                                                                             tax, state
                                                                                   statetax,
                                                                                         tax, and
                                                                                               and workers
                                                                                                   workers compensation
                                                                                                               compensation insurance
                                                                                                                                 insurance payments
                                                                                                                                             payments GRAHAMGRAHAM
         COUNTY
          COUNTY LAND   LAND COMPANY
                                  COMPANY isis required
                                                  required toto make.
                                                                 make. GRAHAM
                                                                            GRAHAM COUNTY COUNTY LAND   LAND COMPANY
                                                                                                                  COMPANY will    will provide
                                                                                                                                         provide proof
                                                                                                                                                    proof ofofpayment
                                                                                                                                                               payment
         and
          and copies
                copies ofofreports
                            reportswhen
                                   when requested.
                                           requested.
         42.
          42. GRAHAM
              GRAHAM COUNTY
                        COUNTY LAND   LAND COMPANY
                                              COMPANY shall shall have
                                                                   have the
                                                                         the right
                                                                              right toto inspect
                                                                                          inspect and
                                                                                                  and audit
                                                                                                       audit the
                                                                                                              the books
                                                                                                                  books and
                                                                                                                        and records      FLEXIBLE
                                                                                                                            records ofof FLEXIBLE
         FUNDING
          FUNDING pertaining
                   pertaining toto transactions
                                    transactions subject
                                                 subject toto this
                                                               this Agreement
                                                                     Agreement upon upon default
                                                                                             default by
                                                                                                      by FLEXIBLE
                                                                                                          FLEXIBLE FUNDING
                                                                                                                         FUNDING atat GRAHAM
                                                                                                                                          GRAHAM
         COUNTY
          COUNTY LAND
                  LAND COMPANY’s
                         COMPANY's expense.expense.

                                                                              ASSIGNMENT
                                                                              ASSIGNMENT

         43.
          43. This
                 This Agreement
                       Agreement shall
                                    shall bebe binding
                                                binding upon
                                                          upon and
                                                                and inure
                                                                     inure toto the
                                                                                 the benefit
                                                                                      benefit ofof the
                                                                                                    the parties
                                                                                                        parties hereto
                                                                                                                  hereto and
                                                                                                                         and their
                                                                                                                               their respective        heirs,
                                                                                                                                       respective heirs,
         representatives,
          representatives, successors
                            successors oror permitted
                                             permitted assigns,
                                                       assigns, and
                                                                and may
                                                                    may bebe assigned
                                                                              assigned by
                                                                                        by FLEXIBLE
                                                                                             FLEXIBLE FUNDING               whole oror inin part,
                                                                                                           FUNDING inin whole                part, but
                                                                                                                                                    but shall
                                                                                                                                                        shall
         not
          not be
              be assignable
                  assignableby
                             by GRAHAM
                                GRAHAM COUNTY  COUNTY LAND LAND COMPANY
                                                                   COMPANY without
                                                                                 withoutthe
                                                                                          the express,
                                                                                              express, written
                                                                                                         written consent
                                                                                                                 consent ofofFLEXIBLE
                                                                                                                             FLEXIBLE FUNDING,FUNDING.
         44.
          44. Any
               Any attempted
                     attempted assignment
                                assignment byby GRAHAM
                                                 GRAHAM COUNTYCOUNTY LAND   LAND COMPANY
                                                                                   COMPANY ofof its    its rights
                                                                                                            rights oror obligations   under this
                                                                                                                        obligations under     this Agreement
                                                                                                                                                   Agreement
         without
         without the
                  the express
                      express prior
                               prior written
                                     written consent
                                              consent ofof FLEXIBLE
                                                           FLEXIBLE FUNDING
                                                                       FUNDING shall            void, and
                                                                                    shall bebe void,  and anyany permitted      assignment will
                                                                                                                  permitted assignment        will not
                                                                                                                                                    not excuse
                                                                                                                                                        excuse
         GRAHAM
          GRAHAM COUNTY
                      COUNTY LAND  LAND COMPANY’s
                                             COMPANY's obligations
                                                             obligations toto FLEXIBLE
                                                                              FLEXIBLE FUNDING
                                                                                           FUNDING without  without aa full    release ofof such
                                                                                                                          full release      such obligations
                                                                                                                                                    obligations
          and
          and duties,
               duties, signed
                       signed by
                               by both
                                   both parties.
                                         parties. FLEXIBLE
                                                   FLEXIBLE FUNDING
                                                                  FUNDING maymay still
                                                                                  still proceed
                                                                                        proceed against
                                                                                                  against GRAHAM
                                                                                                          GRAHAM COUNTY  COUNTY LANDLAND COMPANY
                                                                                                                                             COMPANY
          on
          on any
              any payment
                   payment obligation
                              obligation outstanding
                                          outstanding atat the
                                                             the time
                                                                 time of
                                                                      of assignment
                                                                         assignment until
                                                                                       until such
                                                                                             such obligation
                                                                                                   obligation isis indefeasibly
                                                                                                                   indefeasibly fulfilled
                                                                                                                                fulfilled by
                                                                                                                                          by GRAHAM
                                                                                                                                              GRAHAM
          COUNTY
          COUNTY LAND  LAND COMPANY
                               COMPANY oror its   its assigns.
                                                      assigns.
          45.
           45. TheThe parties
                      parties anticipate
                               anticipate that
                                             that FLEXIBLE
                                                  FLEXIBLE FUNDINGFUNDING may  may assign
                                                                                    assign its
                                                                                            its rights
                                                                                                rights inin the
                                                                                                            the Collateral
                                                                                                                Collateral provided    under this
                                                                                                                           provided under     this Agreement
                                                                                                                                                   Agreement
          and
           and monies
                monies receivable
                         receivable by
                                    by itit hereunder
                                            hereunder toto its
                                                            its lender(s).
                                                                lender(s). GRAHAM
                                                                           GRAHAM COUNTYCOUNTY LAND    LAND COMPANY
                                                                                                                COMPANY agrees
                                                                                                                             agrees toto such
                                                                                                                                         such assignment  and
                                                                                                                                              assignment and
          that
           that any
                any such
                    such assignee
                           assignee shall
                                    shall bebe aa third-party
                                                  third-party beneficiary
                                                                beneficiary of
                                                                            of this
                                                                               this Agreement.
                                                                                    Agreement.

                                                                SEVERABILITY
                                                                SEVERABILITY OF
                                                                             OF PROVISIONS
                                                                                PROVISIONS

          46.
          46. Bach
                 Each and
                       and every
                            every provision
                                  provision of
                                            of this
                                               this Agreement
                                                    Agreement shall
                                                                  shall be
                                                                        be severable
                                                                           severable from
                                                                                     from every
                                                                                          every other
                                                                                                other provision
                                                                                                      provision for
                                                                                                                for the
                                                                                                                    the purposes
                                                                                                                        purposes of determining
                                                                                                                                 of determining
          legal
          legal enforceability
                enforceability of
                                of any
                                   any such
                                       such provision
                                            provision oror provisions.
                                                           provisions.

                                                    DISPUTE
                                                    DISPUTE RESOLUTION
                                                            RESOLUTION AND
                                                                       AND JUDICIAL
                                                                           JUDICIAL ACTIONS
                                                                                    ACTIONS

          47.
          47. AnyAny dispute
                       dispute between
                                  between FLEXIBLE
                                              FLEXIBLE FUNDING
                                                             FUNDING and  and GRAHAM
                                                                              GRAHAM COUNTYCOUNTY LAND LAND COMPANY
                                                                                                                COMPANY arising  arising out
                                                                                                                                          out of
                                                                                                                                               of or
                                                                                                                                                  or inin
          connection
          connection with
                       with this
                               this Agreement
                                    Agreement shall,
                                                  shall, upon
                                                         upon written
                                                              written demand,
                                                                      demand, bebe determined
                                                                                   determined by
                                                                                               by binding
                                                                                                  binding arbitration
                                                                                                           arbitration inin San
                                                                                                                            San Francisco,   California.
                                                                                                                                Francisco, California.
          The
          The losing
                losing party
                       party shall
                                shall pay
                                      pay toto the
                                               the prevailing
                                                    prevailing party
                                                                party any
                                                                      any and
                                                                           and all
                                                                               all legal
                                                                                   legal expenses
                                                                                         expenses and
                                                                                                   and reasonable
                                                                                                        reasonable attorneys'
                                                                                                                     attorneys' fees   incurred by
                                                                                                                                  fees incurred  by the
                                                                                                                                                     the
          prevailing
          prevailing party
                      party inin enforcing
                                 enforcing this
                                             this Agreement.
                                                   Agreement.
          48.
          48. InIn the
                   the event
                       event that
                               that one
                                    one oror more
                                             more party
                                                   party waive
                                                           waive or
                                                                  or decline
                                                                     decline toto participate
                                                                                  participate in
                                                                                              in Binding
                                                                                                 Binding Arbitration,
                                                                                                         Arbitration, any
                                                                                                                      any action
                                                                                                                          action shall be filed
                                                                                                                                 shall be filed in
                                                                                                                                                in the
                                                                                                                                                   the
          Superior
          Superior Court
                    Court or
                           or District
                              District Court
                                        Court located
                                               located inin San
                                                            San Francisco,
                                                                Francisco, California,
                                                                             California.
          49.
          49.    GRAHAM
                 GRAHAM COUNTY
                        COUNTY LAND
                               LAND COMPANY
                                    COMPANY agrees
                                            agrees toto reimburse
                                                        reimburse FLEXIBLE FUNDING, on
                                                                  FLEXIBLE FUNDING, on demand,
                                                                                       demand, for:
                                                                                               for:
               49.1
                49.1 The
                      The actual
                            actual costs,
                                   costs, including
                                          including photocopying,
                                                    photocopying, travel,
                                                                       travel, and
                                                                               and attorneys'
                                                                                   attorneys' fees
                                                                                              fees and
                                                                                                   and expenses
                                                                                                       expenses incurred
                                                                                                                incurred in complying with
                                                                                                                         in complying  with any
                                                                                                                                            any
          subpoena
          subpoena or
                    or other
                       other legal
                              legal process
                                    process attendant
                                             attendant toto any
                                                            any litigation
                                                                litigation in
                                                                            in which
                                                                               which GRAHAM
                                                                                      GRAHAM COUNTYCOUNTY LANDLAND COMPANY
                                                                                                                     COMPANY isis aa party
                                                                                                                                      party and
                                                                                                                                            and
          FLEXIBLE
          FLEXIBLE FUNDING
                      FUNDING isis not;
                                      not;
                49.2
                49.2 Upon
                        Upon aa finding
                                 finding that
                                         that FLEXIBLE
                                                FLEXIBLE FUNDING
                                                           FUNDING isis the
                                                                        the prevailing
                                                                            prevailing party,
                                                                                        party, the  actual amount
                                                                                                the actual  amount of
                                                                                                                    of all costs and
                                                                                                                       all costs     expenses,
                                                                                                                                 and expenses,
          including
          including attorneys'
                     attorneys' fees
                                fees and
                                     and costs,
                                         costs, which
                                                 which FLEXIBLE
                                                       FLEXIBLE FUNDING
                                                                FUNDING may  may incur
                                                                                   incur in
                                                                                         in enforcing
                                                                                            enforcing this  Agreement; and
                                                                                                       this Agreement;   and
                49.3
                49.3 AnyAny documents
                             documents prepared
                                          prepared inin connection
                                                        connection herewith,  or inin connection
                                                                    herewith, or       connection with  any federal
                                                                                                  with any   federal or
                                                                                                                     or state  insolvency proceeding
                                                                                                                        state insolvency   proceeding
          commenced
          commenced by  by or  against GRAHAM
                            or against  GRAHAM COUNTY COUNTY LAND        COMPANY, including
                                                                  LAND COMPANY,            including those  (a) arising
                                                                                                     those (a)  arising out
                                                                                                                         out the   automatic stay,
                                                                                                                              the automatic   stay, (b)
                                                                                                                                                    (b)
          seeking dismissal
          seeking             or conversion
                    dismissal or  conversion of
                                              of the
                                                 the bankruptcy    proceeding or
                                                       bankruptcy proceeding    or (c)
                                                                                     (c) opposing
                                                                                         opposing confirmation
                                                                                                   confirmation ofof GRAHAM
                                                                                                                      GRAHAM COUNTY COUNTY LAND LAND
          COMPANY's plan
          COMPANY's      plan thereunder.
                               thereunder.
          50. IN
          50.     THE EVENT
               IN THE   EVENT THAT
                                THAT ONE
                                     ONE OROR MORE
                                               MORE PARTIES
                                                    PARTIES HERETO
                                                             HERETO DECLINES
                                                                    DECLINES BINDING
                                                                              BINDING ARBITRATION,
                                                                                       ARBITRATION, GRAHAM
                                                                                                      GRAHAM
          COUNTY LAND
          COUNTY    LAND COMPANY
                           COMPANY AND     FLEXIBLE FUNDING
                                      AND FLEXIBLE  FUNDING EACH
                                                              EACH HEREBY
                                                                   HEREBY IRREVOCABLY
                                                                           IRREVOCABLY WAIVE
                                                                                          WAIVE ALL
                                                                                                 ALL RIGHT
                                                                                                     RIGHT TO
                                                                                                            TO
          TRIAL BY
          TRIAL      JURY IN
                 BY JURY   IN ANY
                              ANY ACTION,  PROCEEDING OR
                                   ACTION, PROCEEDING  OR COUNTERCLAIM
                                                           COUNTERCLAIM ARISING  OUT OF
                                                                         ARISING OUT OF OR
                                                                                         OR RELATING
                                                                                            RELATING HERETO,
                                                                                                      HERETO,
          ANY DOCUMENTS
          ANY                  DELIVERED IN
                DOCUMENTS DELIVERED         IN CONNECTION
                                               CONNECTION HEREWITH
                                                            HEREWITH OR
                                                                      OR THE
                                                                          THE TRANSACTIONS
                                                                               TRANSACTIONS CONTEMPLATED
                                                                                               CONTEMPLATED



          06 Factoring
          06 Factoring Agreement-
                       Agreement- Graham
                                  Graham County
                                         County Land
                                                Land Company
                                                     Company v2
                                                             v2                                                                                           Page
                                                                                                                                                          Page 11
                                                                                                                                                               11 of
                                                                                                                                                                  of 14
                                                                                                                                                                     14
      Case 23-04014-mxm                           Doc 12          Filed 04/28/23 Entered 04/28/23 12:10:07                                                   Desc Main
                                                                Document      Page 29 of 61

DocuSign Envelope
DocuSign           ID: BSEE5598-66C0-428B-AD07-DEOFF86
         Envelope ID:                                  D2489
                       IMEE5598-66C0-42813-ADD7-DEOFFEZD2499

         HEREBY OR
         HEREBY                    GRAHAM COUNTY
                       THEREBY. GRAHAM
                   OR THEREBY.                                 COMPANY AND
                                                        LAND COMPANY
                                              COUNTY LAND                                   FUNDING ACKNOWLEDGE
                                                                                 FLEXIBLE FUNDING
                                                                           AND FLEXIBLE               ACKNOWLEDGE
         THAT   THIS WAIVER
         THAT THIS                              INDUCEMENT TO
                                    MATERIAL INDUCEMENT
                     WAIVER ISIS AA MATERIAL                                   FUNDING TO
                                                                  FLEXIBLE FUNDING
                                                               TO FLEXIBLE                          HEREINTO. EACH
                                                                                             ENTER HEREINTO.
                                                                                         TO ENTER               EACH
         PARTY             WAIVES ANY
                 FURTHER WAIVES
         PARTY FURTHER                   RIGHT TO
                                     ANY RIGHT      CONSOLIDATE ANY
                                                 TO CONSOLIDATE           ACTION IN
                                                                    ANY ACTION     IN WHICH     JURY TRIAL
                                                                                      WHICH AA JURY         HAS BEEN
                                                                                                     TRIAL HAS   BEEN
         WAIVED WITH
         WAIVED          ANY OTHER
                   WITH ANY            ACTION IN
                               OTHER ACTION        WHICH AA JURY
                                                IN WHICH                    CANNOT BE
                                                                    TRIAL CANNOT
                                                             JURY TRIAL               BE OR  HAS NOT
                                                                                         OR HAS         BEEN WAIVED.
                                                                                                  NOT BEEN   WAIVED.
         EACH  PARTY HEREBY
         EACH PARTY             AGREES AND
                       HEREBY AGREES           CONSENTS THAT
                                         AND CONSENTS            ANY SUCH
                                                           THAT ANY           CLAIM, DEMAND,
                                                                       SUCH CLAIM,               ACTION OR
                                                                                      DEMAND, ACTION        CAUSE OF
                                                                                                         OR CAUSE   OF
         ACTION SHALL
         ACTION             DECIDED BY
                         BE DECIDED
                  SHALL BE            BY COURT    TRIAL WITHOUT
                                          COURT TRIAL                 JURY, AND
                                                         WITHOUT AA JURY,        THAT ANY
                                                                            AND THAT         PARTY HERETO
                                                                                        ANY PARTY            MAY FILE
                                                                                                    HERETO MAY    FILE
         AN             COUNTERPART OR
             ORIGINAL COUNTERPART
         AN ORIGINAL                          COPY OF
                                        OR AA COPY   OF THIS SECTION WITH
                                                        THIS SECTION                COURT AS
                                                                              ANY COURT
                                                                        WITH ANY            AS WRITTEN   EVIDENCE OF
                                                                                               WRITTEN EVIDENCE     OF
              CONSENT OF
         THE CONSENT
         THE            OF THE           HERETO TO
                                PARTIES HERETO
                           THE PARTIES               THE  WAIVER   OF  THEIR  RIGHT  TO TRIAL  BY
                                                  TO THE WAIVER OF THEIR RIGHT TO TRIAL BY JURY.  JURY.

         51. This
         51.        agreement shall
               This agreement          be deemed
                                shall be                   have been
                                            deemed toto have                     the State
                                                                       made inin the
                                                                 been made                       California and
                                                                                     State ofof California         the validity,
                                                                                                              and the            construction, interpretation,
                                                                                                                       validity, construction, interpretation,
              enforcement hereof,
         and enforcement
         and                          and the
                            hereof, and          rights ofof the
                                             the rights             parties hereto,
                                                               the parties            shall bebe determined
                                                                            hereto, shall                         under, govemed
                                                                                                   determined under,                  by, and
                                                                                                                           governed by,        constructed inin
                                                                                                                                          and constructed
         accordance  with the
         accordance with                the State
                              laws ofof the
                          the laws                       California, without
                                              State ofof California,            regard toto principles
                                                                      without regard                                   of law.
                                                                                                            conflicts of
                                                                                            principles ofof conflicts     law.

                                                                  AUTHORITY AND EFFECTIVENESS
                                                                  AUTHORITY AND EFFECTIVENESS
                  GRAHAM COUNTY
         52. GRAHAM
         52.                       COUNTY LAND          COMPANY, INC.
                                               LAND COMPANY,                         duly authorized
                                                                        INC. isis aa duly              and existing
                                                                                            authorized and             entity inin good
                                                                                                              existing entity             standing under
                                                                                                                                   good standing             the laws
                                                                                                                                                      under the  laws
         of the
         of        State of
               the State                 Carolina. The
                                 North Carolina.
                           of North                       execution, delivery
                                                     The execution,                      performance of
                                                                                  and performance
                                                                       delivery and                             Agreement and
                                                                                                           this Agreement
                                                                                                       of this                and the    documents contemplated
                                                                                                                                    the documents      contemplated
         herein are
         herein     are within                  COUNTY LAND
                                    GRAHAM COUNTY
                        within GRAHAM                         LAND COMPANY
                                                                      COMPANY's                   have been
                                                                                          powers, have
                                                                                      ’s powers,                      authorized, and
                                                                                                                duly authorized,
                                                                                                         been duly                   and are  not inin contravention
                                                                                                                                          are not      contravention
         of any
         of         law, the
              any law,          terms of
                          the terms        any indenture,
                                        of any             agreement oror undertaking
                                               indenture, agreement                                   GRAHAM COUNTY
                                                                                               which GRAHAM
                                                                           undertaking toto which                    COUNTY LAND            COMPANY isis aa party
                                                                                                                                   LAND COMPANY                  party
              by which
         oror by  which itit isis bound.
                                  bound.
         53.      GRAHAM COUNTY
         53. GRAHAM                 COUNTY LAND           COMPANY hereby
                                                LAND COMPANY                         authorizes, and
                                                                          hereby authorizes,            FLEXIBLE FUNDING
                                                                                                  and FLEXIBLE          FUNDING hereby            agrees toto accept,
                                                                                                                                        hereby agrees          accept,
         instructions from
         instructions     from any                 issued aa login
                                        personnel issued
                                   any personnel                   to the FLEXIBLE         FUNDING
                                                             login to the FLEXIBLE FUNDING portal.     portal.

         54. This
         54.           Agreement will
                  This Agreement      will remain            force and
                                                        full force
                                           remain inin full             effect and
                                                                    and effect        continue toto be
                                                                                and continue          be effective             (a) any
                                                                                                                     should: (a)
                                                                                                         effective should:                           filed by
                                                                                                                                                  be filed
                                                                                                                                         petition be
                                                                                                                                    any petition             by or
                                                                                                                                                                 or
         against     GRAHAM COUNTY
         against GRAHAM             COUNTY LAND             COMPANY for
                                                  LAND COMPANY                                       reorganization; (b)
                                                                                 liquidation oror reorganization;
                                                                           for liquidation                                    GRAHAM COUNTY
                                                                                                                         (b) GRAHAM          COUNTY LAND   LAND
         COMPANY become
         COMPANY                                   make an
                                    insolvent oror make
                          become insolvent                    assignment for
                                                          an assignment        the benefit
                                                                          for the               creditors; or
                                                                                            of creditors;
                                                                                    benefit of                 (c) aa receiver
                                                                                                            or (c)                          be appointed
                                                                                                                                    trustee be
                                                                                                                      receiver oror trustee                 for all
                                                                                                                                                appointed for   all
              any significant
         oror any                    of GRAHAM
                               part of
                   significant part                   COUNTY       LAND    COMPANY's
                                        GRAHAM COUNTY LAND COMPANY's assets.                 assets.

                                                                  FLEXIBILITY AND INTREGRATION
                                                                  FLEXIBILITY AND INTREGRATION
         55. FLEXIBLE
         55.                   FUNDING's rights
                 FLEXIBLE FUNDING                       and remedies
                                                rights and             under this
                                                            remedies under           Agreement shall
                                                                               this Agreement              cumulative and
                                                                                                        be cumulative
                                                                                                 shall be                and FLEXIBLE       FUNDING shall
                                                                                                                             FLEXIBLE FUNDING              shall
         have   all other rights
         have all other rights andand  remedies
                                       remedies    not
                                                   not  inconsistent
                                                        inconsistent  therewith
                                                                      therewith   as
                                                                                  as provided
                                                                                      provided by
                                                                                               by  law.
                                                                                                   law.   No
                                                                                                          No  exercise
                                                                                                              exercise  by
                                                                                                                        by FLEXIBLE
                                                                                                                           FLEXIBLE       FUNDING
                                                                                                                                          FUNDING       of one
                                                                                                                                                        of  one
         right oror remedy
         right               shall be
                    remedy shall       deemed an
                                    be deemed     an election  and no
                                                      election and      waiver by
                                                                     no waiver   by FLEXIBLE      FUNDING of
                                                                                     FLEXIBLE FUNDING                    default on
                                                                                                                    any default
                                                                                                                 of any              GRAHAM COUNTY
                                                                                                                                 on GRAHAM          COUNTY
         LAND COMPANY
         LAND       COMPANY's    ’s part  shall be
                                     part shall      deemed aa continuing
                                                 be deemed                   waiver, No
                                                                 continuing waiver,     No delay  by FLEXIBLE
                                                                                            delay by                 FUNDING shall
                                                                                                        FLEXIBLE FUNDING                 constitute aa waiver
                                                                                                                                   shall constitute    waiver
         or
         or election.
             election.
         56. This
         56.                       supersedes all
                     Agreement supersedes
                This Agreement                   all prior  or contemporaneous
                                                     prior or                     agreements and
                                                               contemporaneous agreements        understandings between
                                                                                             and understandings         said parties,
                                                                                                                between said          verbal or
                                                                                                                             parties, verbal or
         written, express
         written,              implied, relating
                  express oror implied,               the subject
                                        relating toto the          matter hereof.
                                                           subject matter hereof.

                                                                            GENERAL PROVISIONS
                                                                            GENERAL PROVISIONS
         57.         Agreement amends
                This Agreement
         57. This                 amends and    restates in
                                           and restates     its entirety,
                                                         in its                                 replacement of
                                                                                     given inin replacement
                                                                            and isis given
                                                                 entirety, and                                 and inin substitution
                                                                                                            of and                   for, but
                                                                                                                        substitution for,       not inin
                                                                                                                                            but not
         repayment   of, the
         repayment of,       Original Factoring
                         the Original             Agreement between
                                      Factoring Agreement                 FirstLine and
                                                                between FirsiLine          GRAHAM COUNTY
                                                                                      and GRAHAM                 LAND COMPANY,
                                                                                                       COUNTY LAND         COMPANY, as       assigned
                                                                                                                                          as assigned
         to, and
         to,     assumed by,
             and assumed    by, FLEXIBLE                 pursuant toto the
                                            FUNDING pursuant
                                FLEXIBLE FUNDING                           Assignment Documents.
                                                                       the Assignment     Documents.
         58. FLEXIBLE
         58.                 FUNDING's rights,
                FLEXIBLE FUNDING'’s                   powers, remedies
                                              rights, powers,    remedies and      privileges under
                                                                              and privileges             this Agreement
                                                                                                 under this                 (specifically including
                                                                                                               Agreement (specifically                  all rights,
                                                                                                                                             including all   rights,
         powers,   remedies   and  privileges   of FLEXIBLE
         powers, remedies and privileges of FLEXIBLE FUNDING as a   FUNDING        as a  Secured
                                                                                         Secured     Party
                                                                                                     Party  under
                                                                                                             under  the
                                                                                                                     the UCC)
                                                                                                                         UCC)    shall
                                                                                                                                 shall   be
                                                                                                                                         be  cumulative
                                                                                                                                             cumulative    and  not
                                                                                                                                                           and not
         alternative or
         alternative     exclusive, irrespective
                      or exclusive,  irrespective ofof any    other rights,
                                                        any other                        remedies or
                                                                               powers, remedies
                                                                     rights, powers,                      privileges that
                                                                                                       or privileges        may be
                                                                                                                       that may   be available    to FLEXIBLE
                                                                                                                                       available to  FLEXIBLE
         FUNDING under
         FUNDING                  other agreement,
                              any other
                      under any                        document or
                                         agreement, document                          between the
                                                                        instrument between
                                                                     or instrument                the parties,  by operation
                                                                                                       parties, by              of law
                                                                                                                     operation of   law or   otherwise, and
                                                                                                                                          or otherwise,        may
                                                                                                                                                          and may
             exercised by
         be exercised
         be                 FLEXIBLE       FUNDING        at  such   time  or   times   and  in   such   order  as
                        by FLEXIBLE FUNDING at such time or times and in such order as FLEXIBLE FUNDING in FLEXIBLE FLEXIBLE       FUNDING        in FLEXIBLE
         FUNDING's sole
         FUNDING’s           discretion may
                        sole discretion  may determine,      and are
                                                determine, and         for the
                                                                   are for      sole benefit
                                                                           the sole   benefit of   FLEXIBLE FUNDING.
                                                                                                of FLEXIBLE        FUNDING.
          59.
          59.     FLEXIBLE
                  FLEXIBLE FUNDING'sFUNDING’s rights,                     remedies and
                                                               powers, remedies
                                                      rights, powers,                 and privileges
                                                                                            privileges under        this Agreement
                                                                                                            under this      Agreement and       the agreements,
                                                                                                                                          and the                       covenants,
                                                                                                                                                      agreements, covenants,
          liabilities
          liabilities and      obligations of
                        and obligations        of Borrower
                                                   Borrower set      forth in
                                                                set forth   in this                    (including, but
                                                                                      Agreement (including,
                                                                                this Agreement                                    limited to,
                                                                                                                             not limited
                                                                                                                       but not              to, the     final and
                                                                                                                                                  the final           indefeasible
                                                                                                                                                                and indefeasible
          payment         FLEXIBLE FUNDING
          payment toto FLEXIBLE            FUNDING in         cash of
                                                           in cash   of all             payable to
                                                                            amounts payable
                                                                        all amounts                     FLEXIBLE FUNDING
                                                                                                    to FLEXIBLE          FUNDING under under this      Agreement in
                                                                                                                                                 this Agreement        in full,  and
                                                                                                                                                                          full, and
               security interests,
          all security
          all                           liens, charges
                           interests, liens,     charges and             encumbrances granted
                                                                 other encumbrances
                                                            and other                        granted to      FLEXIBLE FUNDING
                                                                                                         to FLEXIBLE           FUNDING under  under this       Agreement) shall
                                                                                                                                                        this Agreement)        shall
          continue
          continue to to be    effective, or
                          be effective,         be reinstated,
                                            or be   reinstated, as   the case
                                                                  as the       may be,
                                                                          case may    be, if  at any
                                                                                           if at        time (a)
                                                                                                   any time                payment in
                                                                                                                    any payment
                                                                                                               (a) any                  respect of
                                                                                                                                     in respect     of the                 Facility
                                                                                                                                                             Factoring Facility
                                                                                                                                                        the Factoring
          or          amount payable
              other amount
          or other                 payable to to FLEXIBLE
                                                  FLEXIBLE FUNDING                hereunder or
                                                                   FUNDING hereunder                                   hereunder is
                                                                                                     performance hereunder
                                                                                                 or performance                         rescinded or
                                                                                                                                     is rescinded                    otherwise be
                                                                                                                                                             must otherwise
                                                                                                                                                         or must                  be
          restored
          restored or      returned by
                      or returned           FLEXIBLE FUNDING
                                       by FLEXIBLE           FUNDING by          reason of
                                                                             by reason     of any      bankruptcy, reorganization,
                                                                                                any bankruptcy,                                                   composition or
                                                                                                                                             arrangement, composition
                                                                                                                         reorganization, arrangement,                              or
          similar proceeding,
          similar                    whether as
                    proceeding, whether                "voidable preference",
                                                 as aa "voidable    preference", "fraudulent         conveyance", or
                                                                                    "fraudulent conveyance",                otherwise, or
                                                                                                                        or otherwise,               result of
                                                                                                                                             as aa result
                                                                                                                                         or as               of the   appointment
                                                                                                                                                                 the appointment
                              intervenor or
                 receiver, intervenor
          of aa receiver,
          of                                     conservator of,
                                             or conservator             trustee or
                                                                     or trustee
                                                                of, or            or similar                     GRAHAM COUNTY
                                                                                                           for, GRAHAM
                                                                                                officer for,
                                                                                     similar officer                             COUNTY LAND   LAND COMPANYCOMPANY or           any
                                                                                                                                                                             or any
          other person,
          other   persbn, or          property of
                                 any property
                             or any                   GRAHAM COUNTY
                                                   of GRAHAM         COUNTY LAND             COMPANY or
                                                                                   LAND COMPANY                                 person, or
                                                                                                                          other person,
                                                                                                                   any other
                                                                                                               or any                         otherwise, all
                                                                                                                                          or otherwise,            as though
                                                                                                                                                              all as           such
                                                                                                                                                                      though such
          payment had
          payment     had not           made or
                                  been made
                            not been             or performance      completed.
                                                     performance completed.
          60. In
          60.   Inno   event will
                   no event                   FUNDING have
                                   FLEXIBLE FUNDING
                              will FLEXIBLE                any liability
                                                      have any              GRAHAM COUNTY
                                                                         to GRAHAM
                                                               liability to               LAND COMPANY
                                                                                   COUNTY LAND             lost profits
                                                                                                       for lost
                                                                                               COMPANY for              or
                                                                                                                profits or
          other special
          other special or                damages.
                            consequential damages.
                         or consequential


          06 Factoring Agreement-
          06 Factoring                   County Land
                                  Graham County
                       Agreement- Graham                     v2
                                                     Company v2
                                                Land Company                                                                                                         Page 12
                                                                                                                                                                     Page       14
                                                                                                                                                                             of 14
                                                                                                                                                                          12 of
     Case 23-04014-mxm                          Doc 12         Filed 04/28/23 Entered 04/28/23 12:10:07                                                 Desc Main
                                                             Document      Page 30 of 61

DocuSign Envelope
DocuSign Envelope ID:
                  ID: B5EE5598-66C0-428B-AD07-DEOFF86D2499
                      BSEE5598-66C0-428B-AD07-DEOFF86D2499


         61.
         61,     GRAHAM COUNTY
                 GRAHAM           COUNTY LAND                              acknowledges that
                                                          COMPANY acknowledges
                                                LAND COMPANY                                      FLEXIBLE FUNDING
                                                                                            that FLEXIBLE            FUNDING does                intend to
                                                                                                                                            not intend
                                                                                                                                     does not             to reserve,   charge
                                                                                                                                                             reserve, charge
         or collect
         or  collect interest
                       interest on on money
                                       money borrowed
                                                borrowed under
                                                             under this
                                                                     this Agreement
                                                                           Agreement at  at any
                                                                                            any rate
                                                                                                  rate inin excess
                                                                                                              excess ofof the
                                                                                                                          the rates
                                                                                                                                rates permitted
                                                                                                                                        permitted by by applicable
                                                                                                                                                         applicable law
                                                                                                                                                                      law and
                                                                                                                                                                            and
         that, should
         that,  should aa final
                            final order
                                    order determine
                                           determine that
                                                        that any
                                                              any interest
                                                                   interest rate
                                                                             rate provided
                                                                                  provided forfor in
                                                                                                   in this
                                                                                                      this Agreement
                                                                                                             Agreement exceeds
                                                                                                                            exceeds such such legally
                                                                                                                                               legally permissible
                                                                                                                                                         permissible rate(s),
                                                                                                                                                                       rate(s),
                rate will
         such rate
         such                automatically be
                      will automatically           reduced to
                                               be reduced        the maximum
                                                              to the  maximum rate                    under applicable
                                                                                        permitted under
                                                                                   rate permitted                             law. If
                                                                                                                 applicable law.         FLEXIBLE FUNDING
                                                                                                                                      If FLEXIBLE         FUNDING shouldshould
                         amount from
                   any amount
         collect any
         collect                           GRAHAM COUNTY
                                     from GRAHAM          COUNTY LAND             COMPANY which
                                                                        LAND COMPANY              which is      determined to
                                                                                                            is determined          be interest
                                                                                                                               to be   interest in           order, and
                                                                                                                                                       final order,
                                                                                                                                                 in aa final              such
                                                                                                                                                                     and such
                               result in
                    would result
         amount would
         amount                         in the            rate charged
                                                interest rate
                                           the interest                                  exceeding the
                                                                            hereunder exceeding
                                                                 charged hereunder                             maximum rate
                                                                                                        the maximum                 permitted by
                                                                                                                             rate permitted            applicable law,
                                                                                                                                                 by applicable            such
                                                                                                                                                                   law, such
         amount will
         amount     will be      applied to
                           be applied                   principal of
                                               reduce principal
                                           to reduce                     the Factoring
                                                                     of the                Facility or,
                                                                              Factoring Facility       or, if     no amounts
                                                                                                              if no                payable to
                                                                                                                      amounts payable             FLEXIBLE FUNDING
                                                                                                                                              to FLEXIBLE         FUNDING
         pursuant to
         pursuant        this Agreement
                     to this                           outstanding, will
                                              remain outstanding,
                               Agreement remain                         will be  refunded to
                                                                             be refunded        GRAHAM COUNTY
                                                                                            to GRAHAM             COUNTY LAND             COMPANY.
                                                                                                                               LAND COMPANY.
                      Agreement may
                This Agreement
         62. This
         62.                            be executed
                                   may be                    number of
                                                        any number
                                                     in any
                                           executed in                   counterparts, each
                                                                      of counterparts,          which when
                                                                                             of which
                                                                                        each of                executed shall
                                                                                                            so executed
                                                                                                       when so                   deemed to
                                                                                                                              be deemed
                                                                                                                        shall be              an
                                                                                                                                           be an
                                                                                                                                        to be
         original and
         original       all of
                   and all     which taken
                            of which        together shall
                                     taken together        constitute but
                                                     shall constitute      one and
                                                                      but one       the same
                                                                               and the        instrument.
                                                                                        same instrument,


                                                   [REMAINDER OF
                                                   [REMAINDER    PAGE INTENTIONALLY
                                                              OF PAGE                    BLANK]
                                                                                    LEFT BLANK]
                                                                      INTENTIONALLY LEFT
                                                          [SIGNATURE PAGE
                                                          [SIGNATURE PAGE IMMEDIATELY
                                                                          IMMEDIATELY FOLLOWS]
                                                                                      FOLLOWS]




         06 Factoring
         06 Factoring Agreement-
                      Agreement- Graham
                                 Graham County
                                        County Land
                                               Land Company
                                                    Company v2
                                                            v2                                                                                                  Page 13
                                                                                                                                                                Page 13 of
                                                                                                                                                                        of 14
                                                                                                                                                                           14
      Case 23-04014-mxm                     Doc 12     Filed 04/28/23 Entered 04/28/23 12:10:07               Desc Main
                                                     Document      Page 31 of 61

DocuSign Envelope
DocuSign           ID: BSEE5598-66C0-428B-AD07-DEOFF86
         Envelope ID:                                  D2499
                       B5EE5598-66C0-428B-AD07-DEOFF86D2499




         IN WITNESS WHEREOF,
         IN WITNESS           the undersigned
                    WHEREOF, the              have duly
                                  undersigned have      executed this
                                                   duly executed       Agreement effective
                                                                  this Agreement                  22, 2019.
                                                                                            July 22,
                                                                                 effective July       2019,


         for  FLEXIBLE FUNDING
          for FLEXIBLE              LIABILITY CO.
                               LTD. LIABILITY
                       FUNDING LTD.           CO.
                        DocuSigned by:
                       Ew;          by:                                             —DocuSigned by:
                                                                                  rpad          by:


                              vt. trrir
                          67BFO6D783444E3...                        Paul DeLuca
                                                                                    paul Olga
                                                                                      C7C5070615CE405..,
         Steve Capper
         Steve Capper`-67BFO6D783444E3.,.                           Paul DeLuce       C7C5070615CE405..,




         for GRAHAM COUNTY
         for GRAHAM             COMPANY, L.L.C.
                           LAND COMPANY,
                    COUNTY LAND          L.L.C.
                              DocuSigned by:
                         e---DocuSigned   by:




         Name: Rand
         Name:               4F5437AEE440.,.
               Randy hrtff-ri4F543TAEE440...
         Title:
         Title: Member
                Member




          06 Factoring Agreement-
          06 Factoring                   County Land
                                  Graham County
                       Agreement- Graham                     v2
                                                     Company v2
                                                Land Company                                                     Page 14
                                                                                                                 Page       14
                                                                                                                         of 14
                                                                                                                      14 of
Case 23-04014-mxm   Doc 12     Filed 04/28/23 Entered 04/28/23 12:10:07   Desc Main
                             Document      Page 32 of 61




                EXHIBIT B
Case 23-04014-mxm                                    Doc 12            Filed 04/28/23 Entered 04/28/23 12:10:07                                                                      Desc Main
                                                                     Document      Page 33 of 61

                                                                                                                                                                Fite  Number: 20130038281M
                                                                                                                                                                File Number:  201400582'81M
                                                                                                                                                              Date
                                                                                                                                                              Date Filed: 4/24/2014 5:08:00 PM
                                                                                                                                                                   Filed: 4124120145:08:00  PM
                                                                                                                                                                         Elaine F.
                                                                                                                                                                         Elalie    Marshall
                                                                                                                                                                                F. Marshall
                                                                                                                                                                      NC
                                                                                                                                                                      NC Secretary of State
                                                                                                                                                                         Secretory of State




UCC FINANCING
UCC FINANCING STATEMENT
              STATEMENT
FOLLOW INSTRUCTIONS
FOLLOW INSTRUCTIONS
A.A. NAME & PHONE
     NAME & PHONE OF
                  OF CONTACT
                     CONTACT AT FILER (options
                             AT FILER (optiona )}
     NORMA
     NORMA HENRIQUEZ
               IIENRIQUEZ
B E-MAIL
B- E-MAIL CONTACT
          CONTACT AT
                  AT FILER (optional)
                     FILER (optional)
   ANGELINA.VELASQUEZ@FICOS0.COM
   ANGELINA.VELASQUEZ@FICOSO.COM
€C SEND
   SEND ACKNOWLEDGMENT
        ACKNOWLEDGMENT TO (Nama and
                       TO (Name and Address
                                    Address



              CORPORATE SOLUTIONS
       FIRST CORPORATE
     |FIRST              SOLUTIONS                                                                    i
       914
       914 S STREET
           S STREET
      LS_ACRANIENTO, CA
     |SACRAMENTO,       95814
                     CA 95814                                                                         |]
                                                                                                                            THE ABOVE
                                                                                                                            THE               |S FOR
                                                                                                                                        SPACE IS
                                                                                                                                AEIOLFE SPACE    FOR FILING OFFICE USE
                                                                                                                                                     FILING OFFICE     ONLY:
                                                                                                                                                                   USE 0.NLY.
1. DEBTOR'S
1.           NAME Provide
   DEBTOR'S. NAME         only one
                  Provide only     Debtor. name
                               gng Debtor.      (1a or
                                           nama ((n    $b) use
                                                    or tb)     exact full
                                                           use exact            do
                                                                          name’ do
                                                                     full name'                          I1 omit
                                                                                                            omit modify,       abbreviate any
                                                                                                                  modily, oror abbreviate       part of
                                                                                                                                           any part     the Debtor.*
                                                                                                                                                     of the          name); If1any
                                                                                                                                                            Deblor's name);        part of
                                                                                                                                                                               sny part    he Indhlatual
                                                                                                                                                                                        of the            Debtar's
                                                                                                                                                                                               Individual Debtor's
     /Olio will
     nme        not rd
           will not      Hoe lb
                    Mnin line            011 of
                                 tdeve olf
                              1b iditVil        dem 1t b
                                             Of nem      ank chack
                                                       bank        hers
                                                             chock here       andp
                                                                              anda    datheind
                                                                                      ea the Ind      usl Debtor
                                                                                                      est           information in
                                                                                                            Debtor information            10 of
                                                                                                                                     lem 10
                                                                                                                                  in Corn        the Financing
                                                                                                                                              of the            Statement Addendum
                                                                                                                                                     Finadcing Statement               (Farm UCCAAG}
                                                                                                                                                                           Addondum (FormUCCiAct)

       la      NAMC
       1a ORGANIZATION'S
          ORGANIZATIONS NAME
      GRAHAM COUNTY LAND
      GRAHAM COUNTY      COMPANY, LLC
                    LAND COMPANY, LLC
OR
OR     th.
       tb. INDIVIDUAL'S    SURNAME
            INTIVIDUAL'S- SURNAME                                                             F RET PERSONAL
                                                                                              £ RST          NAME
                                                                                                    PERSONAL NAME                                     ADDITIONAL  NAME(S YINITIAL(S)
                                                                                                                                                      ADDITIONAL NAME(SYINITIAL(5)                SUFFIX
                                                                                                                                                                                                  SUFFIX


1c. MAILING ADDRESS
Ic. MAILING ADDRESS                                                                           TTY
                                                                                              C TY                                                    STATE
                                                                                                                                                      STATE      POSTAL  GODE
                                                                                                                                                                 [POSTAL CODE                     COUNTRY:
                                                                                                                                                                                                  COUNTRY

 750 TALLULAH
 750   TALLULAH ROADROAD                                                                      ROBBINSVILLE
                                                                                              ROBBINSVILLE                                            NC
                                                                                                                                                      NC         [28771
                                                                                                                                                                 28771                            USA
                                                                                                                                                                                                  USA
     DEBTORS
            NAME
22 DEBTOR'S NAME               PMyide  anly gee
                               Provide only                (2a orar 7b)
                                                Deblormama (2a
                                            one Debtoraamn                   exact, full
                                                                        {usa exact,
                                                                    2b) (use             nama: do
                                                                                    full name;    not omit,
                                                                                               do not       maity, of
                                                                                                      omit. modify,    abbreviate any
                                                                                                                    or abbreviate     par of
                                                                                                                                  any part    the Debtor's
                                                                                                                                           of the          name): IfI any
                                                                                                                                                  Dablor's name):         pad of
                                                                                                                                                                      any part                   Dablor's
                                                                                                                                                                                  tha Individual Debtor's
                                                                                                                                                                               of thelb&vIdual
     nine w7
     name     nol lit
          wil not     inline 2b
                  it in1ine  2b leave all ofof item
                                lesve at              blank chéck
                                               dem 22 Wink        hare 0
                                                            check hars    0   and provids the
                                                                              and provide the !met'       Debtor
                                                                                                     oat Debtor rderrnatiOn
                                                                                              Indiv’ ual                    in item
                                                                                                                nloemation in       tO of
                                                                                                                               item 10 of the Financing Statement
                                                                                                                                          the Finanting           Addendum (Farm
                                                                                                                                                        Stalement Addendum       UCCIAY)
                                                                                                                                                                           (Farm UCOAAO)

      7a20 ORGANIZATIONS  NAME
           ORGANIZATION'S NAME

      GRAHAM COUNTY
      GRAHAM           COUNTY LAND-COMPANY,  L.L.C.
                               LAND COMPANY, L.L.C.
OR
vrt                                                                                           FIRST PERSONAL NAME
                                                                                                    PERSONAL NAME                                                                                 SUFFIX
       2b   INDIVIDUAL'S- SURNAME
       2:3 -INDIVIDUAL'S-SURNAME                                                              FIRST                                                   ADDITIONAL NAMEMINITIAL(S)                  SUFFIX


     MAILING ADDRESS
3c2c--MAILING ADDRESS                                                                         are
                                                                                              CITY                                                     STATE     POSTAL CODE.
                                                                                                                                                                 FOSTAL CODE                      COUNTR

  750   TALLULAH ROAD
   750 TALLULAH       ROAD                                                                    ROBBINSVILLE
                                                                                              ROBB1NSVILLE                                            Ne
                                                                                                                                                      NC         lm
                                                                                                                                                                 28771                             USA
   SECURED PARTY'S
33 SECURED      PARTY'S NAME  (x NAME
                         NAME (or         ASSIGNEE di
                                       of ASSIGNEE
                                  NAME di             ASSIGNOR SECURED PARTY),
                                                   ot ASSIGNOR'SEOURED                 only gni
                                                                               Provide only
                                                                       PARTY), Provide          Secured Party
                                                                                            ong Soured             (1a or
                                                                                                              name (3a
                                                                                                        Panty name        36)
                                                                                                                       or 34)
    Ja.
    3e. ORGARIZATION'S NAME
        ORGANIZATION'S NAME
      DB SQUARED,
      DL          INC,
         SQUARED, INC.                                                                    ,
GR Ju31r INDIVIDUAL
OR
         INDIVIDUAL S.
                    5 SURNAME
                       SURNAME                                                                FIRST PERSONAL
                                                                                              FIRST          NAME
                                                                                                    PERSONAL NAma                                                 NAME(SYINITIAL(S)
                                                                                                                                                       ADDITIONAL NAMEMIINITIAL(S)
                                                                                                                                                       ADDITIONAL                                 SUFFXX
                                                                                                                                                                                                  SL1FF


3¢ MAILING
   MAILING ADDRESS
                                                                                                                                                                                                  USA
30         ADDRESS                                                                            D TY                                                     STATE     POSTAL CODE                      COUNTRY

33320 9TH AVE
33320 9TR     §, SUITE
          AVE S.,       200
                  SUITE 200                                                                   FEDERAL WAY                                             WA 98003                                    USA
4 COLLATERAL
4                 financing stalemant
             This financing
  COLLATERAL This                     cavers tholoharaing
                            statement =rom                 cottatera
                                             the lallawing coilatora

 Al assets
 All           Debtor, Wherever
            of Debtor,
     assets of                           now Owned
                                located, now
                       wherever located,           or
                                             awnedor                                      hereaftet          or created,
                                                                                                    acquired or
                                                                                          hereafter acquired             all proceeds
                                                                                                                created, all               products of
                                                                                                                                      and products
                                                                                                                             proceeds arid             the
                                                                                                                                                    of the
 foregoing, all
 foregoing,     additions and
            al} additions                thereto, und
                              accessions thereto,
                          and accessions              all rents,
                                                  and all        profits, and
                                                          rents, profits,            thercef,
                                                                              issues thereof.
                                                                          and issues

 The terms
 The         of the
      terms of                  between Secured
                      contract between
                thi: contract                      Party and
                                          Secured Party              prohibit Debtor
                                                              Debtor prohibit
                                                          and Debtor                    from (i)
                                                                               Debtor from    (i) selling, factoring or
                                                                                                  selling, factoring        otherwise
                                                                                                                       or otherwise
 financing any
 financing       of its
            any of   its accounts       a  party other  than Secured Party,
                                   with a party ether than Secured Party,
                         accounts with                                       and
                                                                            and  (ii) granting
                                                                                 00-granting     security
                                                                                                 security  interest in
                                                                                                           interestin   its
                                                                                                                        its  assets. The
                                                                                                                             assets. The
         cncumbering of
 further encumbering
 further                which may
                     of which     constitute the
                              may constitute     tortious -interference
                                             the (lotions               with the
                                                          interference with      Secured Party's
                                                                             the Secured         rightby such
                                                                                         Party's rightby      encumbrance:
                                                                                                         such encumbrance:

 In
 In the       that any
        event that
    the event                 is granted
                       entity is
                   any entity                         interest in
                                            sccitrity interest
                                 granted aa security                  asses of
                                                                  any assets
                                                               in any                           to the
                                                                                       contrary to
                                                                                Debtor contrary
                                                                             of Debtor             the above, the Secured
                                                                                                       shave, the          Party’
                                                                                                                  Sectired Party
 asserts aa claim
 asserts          to any
            claim to     proceeds thereof
                     any proceeds                  by such
                                          received by
                                  thereof received         entity,
                                                      such entity.

        notice of
 Public notice
 Public           this agreement
               of this           is hereby
                       agreement is        given.
                                    hereby given.
5 Ciketionli                 and Bieck
                  applicable and
  Check only IfIf applicable                one bar.
                                       nly one
                                 chack gEly                     is [The
                                                     Collateralis
                                                bax, Collateral    0 NO in    Trost (son
                                                                        [n=si Trost      UCCG1Ad Hem
                                                                                    {san UCC1Ad               Instructions)
                                                                                                          and instructions)
                                                                                                      17 -and
                                                                                                 (ism 17                                 Dieing   administers by aa Decedishr
                                                                                                                                         [Ttistag adminlgered.by               Personal
                                                                                                                                                                    Decedent's Peri-      Ragrasanativ
                                                                                                                                                                                    oriel Regret/an/4W
64 Glitch
GB        pply rt.applitantoand
   Chack Pay                           gly ma
                                 check mit
               il applicaiie and check         box
                                           ona bad                                                         o                                    BD. Check only if applicable
                                                                                                                                                Bb. ChoCksaylf               end chock
                                                                                                                                                                  applicable and       only one
                                                                                                                                                                                 check only     box:
                                                                                                                                                                                            one boz-
           p„,...,inc,,„.„„n,„,,,„
                             ,:
      {77 PabiicFinance Tisnsaction
      o                                        QMarmfactored•Nerne    Transaction
                                               |_| MenulacturgdsHome ItarriattiOn             0[| A Detilor he
                                                                                                  A DoIrlor      Transmitling Ur
                                                                                                            is » Tionsmitling     lly
                                                                                                                              Ut Ily       .,           Aprouui Lien
                                                                                                                                                    0[7 AOlpuiiurat ten                    Fling
                                                                                                                                                                                   Non-UCC Flips?
                                                                                                                                                                               0[J Won-UCC
  ALTERNATIVE [DESIGNATION
7 ALTERNATIVE
7                          {il-applicable):
              DESIGNATION (it-appliable):               ] Leone'
                                                        El         sssor
                                                           Lassaa’ ester             0|    Consigres/Consignar
                                                                                           ConsigneetC,onsionor            0 Salist/Buysr
                                                                                                                           OJ Selletilatiyer            [I] e.;,..A3a.,
                                                                                                                                                        n   Geilse/Bailor          0] Li.„-"id
                                                                                                                                                                                      Ucsnsesiti :ens
                                                                                                                                                                                                  ans r1
a

8 OPTIONALFILER
8                REFERENCE DATA
   OFTIONALFILER REFERENCE.DATA
 JUCCL-78177]
IUCCtr7s1771

              COPY
       OFFICE COPY
FILING OFFICE
PILING                            UCC FINANCING
                                — UCC                     (Form UCC1)
                                                STATEMENT (Ft:fun
                                      FINANCING STATEMENT                   04/20/11)
                                                                       {Rev 04/20/11)
                                                                  UGC) (Rev
Case 23-04014-mxm                                   Doc 12             Filed 04/28/23 Entered 04/28/23 12:10:07                                                                     Desc Main
                                                                     Document      Page 34 of 61

                                                                                                                                                               File. Numbs r:: 201400995255
                                                                                                                                                               File.Number:    2014009952.5J
                                                                                                                                                         Date Filed:
                                                                                                                                                         Date Filed:1()(23/2014 5d11;09 PM
                                                                                                                                                                     10/23/2014 5:01:00 PM
EE                                                                                                                                                                   Eline    F, Marshall
                                                                                                                                                                      Eltiine E  Marshall
EE                                                                                                                                                                  NC  Secretary of
                                                                                                                                                                    NC Sceretuyy    of State
                                                                                                                                                                                       State



UCC FINANCING
UCC           STATEMENT AMENDMENT
    FINANCING STATEMENT AMENDMENT
FOLLOW
FOLLOWINSTRUCTIONS
           INSTRUCTIONS
 A.A. NAME
      NAMES& PHONE   OF CONTACT
              PHONE OF                 FILER {optional}
                        CONTACT ATAT FILER   (Optional)
    NORMA HENRIQUEZ
    NORMA      1IENRIQUEZ
 BE     MAIL CONTACT
  B E #AN,               fILER (optional}
                      AT FILER
             CONTACT AT        (Optional)

 } ANGELINA,.VELASQU
     ANGELINA.VELASQUEZ@FICOSO.COM   EZ@FICOSQ.COM
   SEND ACKNOWLEDGMENT
CC SEND                          and Address)
                       TO. {Name and
        ACKNOWLEDGMENT TO.           Address)


    IF
    ri :IRST  CORPORATE SOLUTIONS
        IRST CORPORATE  SOLLMONS                                                                      1
      914 SS STREET
      914    STREET
      SACRAMENTO, CA
      SACRAMENTO,   CA 95814
                       95814

     LL                                                                                                                     THE
                                                                                                                            THE AIME  SPACE IS
                                                                                                                                ABOVE SPACE    FOR FILING
                                                                                                                                            IS FOR        OFFICE USE ONLY
                                                                                                                                                   FILING OFFICE                      use ONLY
l a INITIA
418           NANCING STA
    INITIA FF HANGING           FILE NUMBER
                          EMENT FILE
                      STA EMENT      NUMBER                                                                     MTh!' FINANCING
                                                                                                           Tb b [Jie            STATEMENT AMENDMENT
                                                                                                                      FINANCING STATEMENT                     befilsd.
                                                                                                                                          AMENr,”ANT I$4 toto be       Or record)
                                                                                                                                                                 tiled (for reCepij
                                                                                                                                         the REAL
                                                                                                                           recorded inin ha
                                                                                                                  `—" oror recorded          REM. ESTATE    RECORDS
                                                                                                                                                    ESTATE RECORDS
20140038281M
20140038281M                                                                                                         Fer
                                                                                                                      Fkar alia2bArner.31*4              (Foam UGCA)
                                                                                                                                                Addandem (Form
                                                                                                                             ptlagh Ararcment Addendum         UCoW/ and provide. Debtors
                                                                                                                                                                     and FaMde                      bem 13
                                                                                                                                                                                          name inirlarn13
                                                                                                                                                                                  rebtnra norm
2 0  TERMINATION Elta
  L] TERMINATION:                        Financing Sialemont
                                     the Financing
                       liveness otof the
                  Elle tiveness                              denied sb
                                                   Statementidertiltled                         wit respect
                                                                                     terminated wit
                                                                        ab veye isIs terminalad                   secursty mlarest(s)
                                                                                                              the sacucly
                                                                                                    reaped 11 the                       of Securdd
                                                                                                                           Inlaresits.) of         Pany authorizing.
                                                                                                                                           Secured Pany               this Termination
                                                                                                                                                        aUthorizirtg. this Termination
     Statemant
     Statement

   Q ASSIGNMENT
33 |            (full ¢r penis):
     ASSIGNMENT (full                      nomad! Assignee
                                   Provide nama.of
                         partial): Provide                     hem 7a
                                                   Assignee nn llem            sad sddress
                                                                            lb and
                                                                    7a oror To             of-Assignee InIn item
                                                                                   address ol'Assignse              and ama
                                                                                                            Item 7T and          Assignor Inin item
                                                                                                                        ame ofof Asaignor      dent g
          For part's,' assigriment
          For pert'al              complete items,
                       assignment compteln  items,?  and 99 pnd
                                                   7 anil          in nd
                                                            and &a yo Ind ;eta affected cotlslarmtin
                                                                          cate silectéd              { mrn 8S
                                                                                        collaterel m 1

4 Q CONTINUATION.
4]                                   the Finanging
                   Effectiveness. of tha
    DONTII1OATION. Effeciivenass.of                          de tified
                                                   Statement de
                                         Financing Stafemant           above w.ih
                                                                tilled sbova                 the saci
                                                                                  respect fI the
                                                                             w th respect                   Interest(s) {Securnd
                                                                                                 *loin tyty Intefesi(s) f Secured Party             this Continustion
                                                                                                                                        authorizing this
                                                                                                                                  Party authorizing                   Staten-tent {3Is
                                                                                                                                                         GontinuOtIon Steternent
     '              tot the
           °mimed fot
           ontinuad              one pe”
                            end! ona
                        the sodi               provided by
                                             d provided    spplicabla Inw
                                                        OSI.Epplicable law

  U PARTY
5 |]       INFORMATIONCHANGE
     PARTY INFORMATION CHANGE
                      two toxes
                thea two
     Check.= of pp                                                            Check gag
                                                                          AND Check itnil of Mesa thre
                                                                                          of Lhasa       boxes loto
                                                                                                   three boxes
     Check.g    theca     boxea                                                                                                                                                                           name
                Co              i                .                            CHANGE    name andror       address Compiaia
                                                                                                   andior address                         ADD natne:. Fonpiele
                                                                                                                                          ADD name.                  pe DELETE
                                                                                                                                                               8M ,--I                       Olge recon
                                                                                                                                                                                     some; Give
                                                                                                                                                                          PELETE name:
    This
    This Change  affects [_|babts
         Change alfects  ElDebto p>  ElSectrrad Pany
                                  pe [|Sscured        of meord
                                                FarlY ormacni
                                                                              GRANDE Noe
                                                                              fern 8 or 6b.
                                                                              nem Soot       and le
                                                                                         69. and 'tenth70 Oror 7b
                                                                                                                    Complete
                                                                                                                  ang lem7c
                                                                                                               7b and                 7b, andiiem
                                                                                                                                _J7aot7b.
                                                                                                                      tern 7c |Lila                 Zc
                                                                                                                                          and Item le
                                                                                                                                                      Complete Item
                                                                                                                                                                                 deleted iam
                                                                                                                                                                    |il JEk babe deleted in ibne he  or B name
                                                                                                                                                                                                     of Eb
                                                                                                                                                                                                 Barecord
§    CURRENT     RECORD INFORMATION®
     cyRRat4T RECORD                          Complete {or
                             INFORMATION' Compists      for Party InImariabitd Chanpa
                                                            Party per—                   provide only
                                                                               Change provide                 name afia ofor Ba
                                                                                                       tabl name
                                                                                                  only gine                  Sa
         Se ORGAKIZATION'S
         64 ORGANIZATION'S NAME
                           NAME
         GRAHAM
         GRAHAM COUNTY LAND. COMPANY,
                COUNTY LAND.          L.L.C.
                             COMPANY, L.L.C.
OR      IbItinOOUAL'E SURNANE
   fib, INDIVIDUALS
OR Eb.
                      SURNAME                                                                FIRST PERSONAL NAME
                                                                                             FIRST PERSONAL NAME                                     ADDITIONAL NAME{SYINITIAL(S}
                                                                                                                                                     ADDITIONAL NAme(5)/INVII4L(5)               SUFFIX
                                                                                                                                                                                                 SUFFIX



   CHANGED OR
7. CHANGED
7.             OR ADDED
                  ADDED INFORMATION  Complciz for Assgrment or Pacty Information
                         INFORMATION .emplcia*Asigniztsga.Parri                  Change providir
                                                                     infenesdon Change          only , geg
                                                                                        proyldiont)        nama 17
                                                                                                        og narm       75 mews
                                                                                                                7 ofcob                           nal emi,
                                                                                                                                         name: do nol
                                                                                                                         use exach, full name:                        eterevite any
                                                                                                                                                            tnolft or whbxewnats
                                                                                                                                                      telt, med,                 any rart of the
                                                                                                                                                                                     pastor      Delkors name
                                                                                                                                                                                             the Detter's frame
        ORGANIZATION'S NAME
    Ta. ORGANIZATION'S
    79,                NAME                                                                                                  )



OR
OR
      TROVIOUAL'S SURNAME
   5To„iNDNIOLIAL'S SURNAME


                          FIRST PERSONAL
            INDIVIDUIAL'S FIRST
            INDIVIDUAL'S                 NAME
                                PERSONAL NAME


            INOIVIDUAL'S, ADDITIONAL
            INDIVIDUAL'S             NAME(S NI
                          ADDITIONAL NAMES     TALS
                                            NI IA145                                                   )                                                                                         SUFFIX
                                                                                                                                                                                                 SUFFIX


7c MAILING ADORESS                                                                            CITY                                                   STATE      POSTAL CODE                      COUNTRY

)        fi                                                                                  A                                                                                                   rr
8 [7] COLLATERAL. CHANGE Also
      COLLATERAL CHANGE        check Ifs
                         /2,a2 oneca         these four
                                     sngofof these tour b.     T1Aoo ctmarat
                                                           ves DAno
                                                        b Fee        camera/                                       DELETE cofialera
                                                                                                               |_| DELETE callatera        |“) RESTATE covamdcolatecsl
                                                                                                                                               RESTATE rovered.collaIncel              |_| ASSIGN
                                                                                                                                                                                       0               ater
                                                                                                                                                                                           ASSIGN caop elm
           indicate
           indicate collatoral
                    collateral

    All presently
    All            existing or
        presently existing      hereafior arising,
                            or hereafter                  owned or
                                                    now owned
                                           arising, now              hereafter acy
                                                                  or hereafter acquired,   accounts, accounts
                                                                                   uired, accounts,.            receivable, contract
                                                                                                      accounts receivable,            rights,
                                                                                                                            contract rights,
    chattel         documents, Instruments,
            paper, documents,
    chattel paper,                               reserves, reserve
                                  Instruments, reserves,             gecounts, and
                                                            reserve accounts,       general Intangibles,
                                                                               and general                 and all
                                                                                             intangibles, and      books and
                                                                                                               all books      records
                                                                                                                          and retards
    pertaining te
    pertaining     accounts and
                to accounts        all the
                              ard all      proceeds of
                                       the proceeds     the foregoing
                                                     of the             property.
                                                             foregoing property.



    NAME OF
8, NAME
9.                SECURED PARTY
               oF SECURED      PARTY OF               AUTHORIZING THIS
                                              RECORD AUTHORIZING
                                         oF RECORD                            AMENDMENT: ProvIde
                                                                       THIS AMENDMENT:             Provide only      name (9a
                                                                                                                 pos name
                                                                                                            only pm              Ok) (name
                                                                                                                              or 9b)
                                                                                                                          {Ja or              Assigner I[thls
                                                                                                                                           of Assigner
                                                                                                                                     {name of                        Assignment
                                                                                                                                                                  an Assignment
                                                                                                                                                          this s& an
   IIf this    an Amendment
            Is an
       this b               authorized by
                  Amendment authorized       DEBTOR check
                                       by aa DEBTOR       hers 0[| and
                                                    check heft         provide name
                                                                   and provide                         Debtor
                                                                                          authorizing Debtor
                                                                               names ofof authorizing
       8a,  ORGANIZATIONS NAME
       9a. ORGANIZATION'S    NAME
         DB SQUARED,
         DB SQUARED, INC.
                     INC.
oR
OR
         Sb,
         9b, INDIVIDUAL'S SURNAME
             INDIVIDUAL'S SURNAME                                                             FIRST PERSONAL
                                                                                              FIRST           NAME
                                                                                                     PERSONAL NAME                                   ADDITIONAL NAME(SYIN
                                                                                                                                                     ADDITIONAL             A
                                                                                                                                                                NAME(SVINTT A                    SUFFIX
                                                                                                                                                                                                 SUFFIX


10. OPTIONAL
10. OPTIONAL FILER
             FILER REFERENCE
                   REFERENCE DATA
                             DATA
     UCC3-78177.1
    rUCC3-78177.11
       OFFICE COPY
FILING OFFICE
FILING                    FINANCING STATEMENT
                   — UICC FINANCING
              COPY —UCC                                 Form UCC3)
                                              AMENDMENT Form
                                    STATEMENT AMENDMENT                 04/20/11)
                                                                   (Rev (14120111)
                                                             UCC3) (Rev
Case 23-04014-mxm                                  Doc 12            Filed 04/28/23 Entered 04/28/23 12:10:07                                                                          Desc Main
                                                                   Document      Page 35 of 61




UGC FINANCING
UCC           STATEMENT AMENDMENT
    FINANCING STATEMENT AMENDMENT
FOLLOWINSTRUCTIONS
FOLLOW INSTRUCTIONS                                                                                                       lien Solutions
                                                                                                                       CT Lien
                                                                                                                       €T      Solutlons
                                   FILER (optional)
                                AT FILER                                                                               Representation:of fling
                                                                                                                       Representation:of
  A.A, NAME             CONTACT AT
            & PHONE OFOFCONTACT                                                                                                          filing
       NAME '&                           (optional)
         Phune: 1-an-B63-8600 Fax
         Phone 1-877-663-8600 Fax
                                                                                                                                       This  filingisis Completed
                                                                                                                                       This fillng      CoMpleted
       EMAIL CONTACT
  B.8. EMAIL         AT-FILER (optional)
             CONTACT ATFILER  (optional)                                                                                                    Number:: 20170052651M
                                                                                                                                       File Number
                                                                                                                                       File              20170052651M
         Km   ktingon( ifirstlinefundInggroup com
         klrn kringen@firstinefundinggroup    corn                                                                                     File Date -- 20-May-2017
                                                                                                                                       File Dale      20-May-2017
  SEND   ACKNOWLEDGMENT TO~
  0 SENO ACKNOWLEDGMENT TO--(Name     Address) 29747
                                  and Addéess)
                            (Nama and                - FIRST LINE
                                               22747 - FIRST LINE

       PIM
       [ae
             KRINGEN
       [KIM KRINGEN
         PO-BOX  388SDSD57042
                 388
                                                                                     4 -1
                                                                              58986494
                                                                             58986494 |
         MAC/SON
         MAD-SON        57042                                                NCNC
                                                                             N.CNC
       L                 File with Secretary
                            File with Secretary of  Mate NC
                                                of State NC
                                                                                                    |J                    THE ABOVE SPACE
                                                                                                                          THE ABOVE SPACE IS
                                                                                                                                          15 FOR
                                                                                                                                             FOR FILING
                                                                                                                                                 FILING OFFICE
                                                                                                                                                        OFFICE USE
                                                                                                                                                               USE ONLY
                                                                                                                                                                   ONLY
     INIT AL
1ato INIT    FINANC NG
          AL FINANG    STATEMENT FILE
                    NG STATEMENT   FILE NUMBER                                                                            FiNANCiNG STATEMENT
                                                                                                                  ri This FINANCING
                                                                                                             toth [Ths                 hrs)   AMENDMENT               Ned ffor
                                                                                                                                                                   be iad
                                                                                                                                              .AMENOMENT isis toto ba          recor)
                                                                                                                                                                          iror retard)
                                                                                                            1
                                        NUMBER                                                                                      STATEMENT
                       4/24/2014 SS      NC
                                     SS NC                                                                        — (or /monied) in the REAL ESTATE RECORDS
20140038281M 4/24/2014
20140038281M                                                                                                          ner tat Arm —
                                                                                                                      ging               enn der ym                    provide Datlor's
                                                                                                                                  .rim 'in Attention (Form UCC3An) end provide                   fern 13is
                                                                                                                                                                                        name ain dem
                                                                                                                                                                               Oaotors name
      TERMINATION. ENfeciivenass-
   0 TERMINAT-ON.
22 |]                                 Financing Statemant
                                  the Financing
                   Effecihenass-a the                     ktenlilied dbova
                                                Statement kienlified                      with respac
                                                                               terminated wilh
                                                                     dhow isis terminated                       security Inferest(s)
                                                                                                            the securly
                                                                                               respect toto the                      of -Secured
                                                                                                                         irnerest(s) el          Party suthorzing
                                                                                                                                         Secured Party             This Termination
                                                                                                                                                       authorizing this Tentinatiott
          Statamant
          Statement

    [X] ASS
 33 IZ      GNMENT (fll
        ASSGNMENT       or Perna()
                   f1Ml or                   name of
                                    Pratrile name
                           partial) Prowd                         item aor
                                                     AsiOnee inin flem
                                                  of Assignea                 7b gn@ajaddress
                                                                       7cfrir Tb       address of Assignee inin itemic
                                                                                               of Assignee                   fame ofof Assighor
                                                                                                                       and name
                                                                                                                 em 7c ,gLid           Assigner In item 98
                                                                                                                                                in flem
          For partis
          For        assignment complsle
              page assignmanl                     and 8S and
                                         items 77 and
                                complete dems                'also indicate
                                                         and also           effected collateral
                                                                   indicate affecied                 item 88
                                                                                     collateral inin fem                                                                       }

+4 [Joont NUATION: Effectiveness
   0 CONS NUATION:                    the Financing
                   Effectiveness ofof ine.           Statement denlified above
                                           Financing Stelementidenliftect       with respiedt
                                                                          ibove with                 socunty inferest{s)
                                                                                                 the secutdy
                                                                                     rasped foto the                                  Reny authorizing.
                                                                                                                              Secured Party
                                                                                                             inlerest(s) ofof Sscured                   this Canlinuation
                                                                                                                                            aulharizing.this              Statement iis
                                                                                                                                                             Cantinuation Statemen!
          Orin-no-0 forthe
          coilinued         botliliimal perigth
                    foritio additional          provided by
                                        periodprovided      apnWabile law
                                                         by applicable taw

EB)5   °PARTY         NFORMAT ON
           PARTY NFORMAT        ON CHANGE
                                   CHANGE




                                                                                                                                                                                                                        AE EER
                                                                             check ong
                                                                         02 Check
                                                                         AND                       throe boxes
                                                                                            th §a threo
                                                                                   p4, ofof th
       .Check pop ofof heso
       Gheck                two xx
                       hese two                                                                                                                                                                    rocofd name
                                                                                 CHANGE nama
                                                                             inaes                  'India address
                                                                                             name andi                  Compkt - ies
                                                                                                            address Compict                 sane
                                                                                                                                      AOO nem        Complete dem      DELETE name:
                                                                                                                                                                fern [aaa            name: Give
                                                                                                                                                                                            Give retard    name
     This Chango
    The           affects |JDevtorge
          Change sleds               0 Se uPany
                           ODebtorz [Se                freee
                                                Party Record                  U fom   Bu a
                                                                                 decade       Bbr gnd ftom
                                                                                          or Bag&           7a oror lb
                                                                                                       item 7a         a' . fiom
                                                                                                                    7b ang       To EI.Te
                                                                                                                            item To   Juor7o,
                                                                                                                                          or 70. V,   item 7c7¢
                                                                                                                                                 grgd tem            u toto bbhe deleted in dem
                                                                                                                                                                                 deleted in  ernisa  oc 8b
                                                                                                                                                                                                 Ba ccee

 &8 CURRENT      RECORD INFORMATION
    CURRENT RECORD                                    Patty nformalion
                                        cooviate oforPaity
                            INFORMATION Completa                                provide only
                                                                        Change provide
                                                            affirmation Clianga                  name (8a_18b
                                                                                             oft name
                                                                                        only one      (8a r6b
         8aea ORGANIZATIONS NAME
              ORGANIZATIONS NAME

                                                                                                                SS———                                ADDITI
 “OR     iriforMouAUs GURNAME
  OR[35 INGVIDUAL'S   SURNAME                                                               'FIRST PERSONAL NAME                                            ONAL NAME(SyrnaTIALtS)
                                                                                                                                                     ADORIONAL   NAME(S) INITIALS)                  SLIFFLX •


 77 CHANGED
    sHANGED OR-ADDED
              oft-ADDED INFORMATION   CalnPloo foi Adsigrinént
                          INFORMATION Compiais     -Ambri laTP•      Intron DAN°
                                                            or Say. intahragar, Change provide 011.01, rama
                                                                                       prfldo ondy-ghy,        {24 or
                                                                                                        tutrrq I)A    70
                                                                                                                   of 711           'kid               bal ari,
                                                                                                                                    “Fath KY hare dotio'bql arit,mcily.  sbbroviaie minson
                                                                                                                                                                 madixor .01:0+12ria          the Debtor
                                                                                                                                                                                     atfya of en         y name
                                                                                                                                                                                                  Dettorlynant
      Ta ORGANIZATIONS
      7a OROANIZALTIOOS NAME
                        NAME
          FIRST BANK
          FIRST        TRUST
                BANK &&TRUST
 OR lb
 OR                 SURNAME
       INDIVIDUAL'S SURNAME
    To INDIVIDUAL'S


            INDIVIDUAL'S FIRST
            INDIVIDIA'S  FIRST PERSONAL HAME
                               PERSONAL NAM


            INDIVIDUAL'S ADDITIONAL NAME(SMNITIAL(S)
            INDIIDUAL'S ADDITIONAL  NAME(S)ANITtAl4S)                                                                                                                                               SUFFIX
                                                                                                                                                                                                    SUFFIx


   le  MAILING ADDRESS
   To. !SAILING ADDRESS                                                                      CITY                                            :       STATE       POSTAL CODE
                                                                                                                                                                 POSTAL COOS                        COUNTRY:
                                                                                                                                                                                                    COUNTRY

       120 N
       120   EGAN AVE.
           N ELAN AVE, PO BOX 488
                       PO BOX 4tB                                                            MADISON                                                MN
                                                                                                                                                     SD           57042
                                                                                                                                                                  57042                              USA
                                                                                                                                                                                                     USA
                  CHANGE, Also
   L) COLLATERAL CHANGE,
 8 CICOLLATERA)..              check ona
                           pig titanic      of those
                                       ggo, of       fourboxas
                                               Inese tour 113X/Is 0  ADD eollaforal
                                                                  LJ ADD collateral                            |) DELETE 0collateral
                                                                                                               ❑ DELETE-   101ml     |)0 RESTATE
                                                                                                                                         RESTATE covoro   colatersl |)0 ASSIGN
                                                                                                                                                 covaradd collateral            collafera
                                                                                                                                                                         ASSIGN collatera
           indicate colatémi:
           Indicate collateral:




  g,9, NAME    SECURED PARTY
            oF SECURED
       NAME of                  RECORD AUTHORIZING
                             oF RECORD
                       PARTY of                    THIS AMENDMENT
                                       AUTHORIZING THIS           Provide only
                                                        AMENDMENT Provide only gm       (8a or
                                                                                   nama (ga
                                                                               ong name            (nama of
                                                                                               8b) (name
                                                                                            ot 9b)                        his is
                                                                                                            Assignar ifIf this
                                                                                                         of Assigner                 Assignment)
                                                                                                                                  an Assignment)
                                                                                                                               Is an
               Is an
        {thls Is
        Inns         Amendment authorized
                  an Amendment             by a3 DEBTOR
                                authorized by                 hare
                                                        check here
                                                 DEBTOR drank           n  and provide
                                                                        [] and         name of
                                                                               provide name                Debtor
                                                                                               authorizing Debtor
                                                                                            of authorizing
           Ba. oROANIZATIONS
           9a.  ORGANIZATIONS NAME
                               NAME
          DB SQUARED,
          DE SQUARED, INC
                      INC
   OR 913
   OR 5b INDIVIDUAL'S SURNAME
          INDIVIDUALS SURNAME                                                              ——
                                                                                           FIRST PERSONAL NAME                                        ADDITIONAL NAME{SIANTIALES)
                                                                                                                                                      ADDITIONAL NAME(SVINTTIAL(S)


  10 OPTIONAL
  10          FILER REFERENCE
     OPTIONAL FILER                 Deblor Name
                              DATA. Debtor
                    REFERENCE DATA,                      COUNTY LAND
                                                 GRAHAM COUNTY
                                           Name GRAHAM                       LL.C
                                                                     COMPANY LIZ
                                                                LAND COMPANY
  58988494
  58986494                          GRAHAM CO
                                    GRAHAM       LAND CO
                                              CO LAND    UCC3
                                                      CO UCC3
                                                                                                                                                                    Prepared try
                                                                                                                                                                    Propane       Lien Salutiona,
                                                                                                                                                                              bry Liatt                       29071
                                                                                                                                                                                                          Box ZEITI
                                                                                                                                                                                        Solutons, PPO.O. 0a0
                                                                                             EE                           La                                        flantabe PA
                                                                                                                                                                    ni.nre.i. [4 212Dt).071
                                                                                                                                                                                   D1200.5071 Td Tel (90111
                                                                                                                                                                                                      (600) 3.11
                                                                                                                                                                                                             211.3282
                                                                                                                                                                                                                4262
Case 23-04014-mxm                                     Doc 12             Filed 04/28/23 Entered 04/28/23 12:10:07                                                                           Desc Main
                                                                       Document      Page 36 of 61




UCC FINANCING
UCC FINANCING STATEMENT
              STATEMENT AMENDMENT
                        AMENDMENT
FOLLOW INSTRUCTIONS
FOLLOW INSTRUCTIONS                                                                                                            Lien Solutions
                                                                                                                               Lien Solutions
  A.       & PHONE OF
     NAVE&PHONE
  A. NAME                                   (optional)
                                     FILER (oolong
                        CONTACT ATAT FILER
                    OF CONTACT                                                                                                 Representation ofof filing
                                                                                                                               Representation      filing
      Phona.  (B00) GGT-3282
      Phone: MOO             Fax .((B18)
                    331-3282 Fax-         662-4141
                                    818) 552441
                                                                                                                                              This tillntils
                                                                                                                                              This  fillngla Completed
                                                                                                                                                              Completed
  5B E-MAIL         AT FILER
            CONTACT AT
     E-MAIL CONTACT          (oplional)
                       FILER (optional)                                                                                                                       20190033938F
                                                                                                                                                   Number: 20190033998F
                                                                                                                                              File Number:
                                                                                                                                              File
       CLS-CTLS_Glendale_Gustomer_Service@woltersk
       CLS-OTLS_Glendala                              luwer
                                                        com
                           Customer Servica§wolteiskluWartom                                                                                  File Dale
                                                                                                                                              File Dale 1.02-Apr-2019
                                                                                                                                                          : 02-Apr-2019
 C SEND ACKNOWLEDGMENT
 C SEND ACKNOWLEDGMENT TO (Name and
                       TO {Name     Address)
                                and Address)

   rEyLien       guar
             Soluti
        Tjen SolutiOns
        P O. BOx..25071                                                          vivid
                                                                                     7
                                                                                   9219:
                                                                                  69219370
        Glendale CA
        Glendale  CA 91209.9071
                      91209-9071                                                 NCNC
                                                                                NCNC
   LL                               File with:
                                    File with: Secretary
                                               Secretary ofof.State,
                                                              State, NO
                                                                     NC
                                                                                                         _                      THE ABOVE
                                                                                                                                THE       SPACE
                                                                                                                                    ABOVE SPACE IS FOR
                                                                                                                                                IS     FILING OFFICE
                                                                                                                                                   FOR FIUNG             ONLY.
                                                                                                                                                                     USE ONLY
                                                                                                                                                              OFFICE USE
 9 INITIAL
la INITIAL FINANCING
           FINANCING STATEMENT
                     STATEMENT FF LE
                                  LE NUFRIER
                                     NUKBER                                                                       ItLE
                                                                                                                    b riThis      FINANG NG
                                                                                                                             This FINANC     NG WESTATEMENTAMENOMENT ih isIs to
                                                                                                                                                   STATEMENT. AMENDMENT                filed (for
                                                                                                                                                                                   ba filed
                                                                                                                                                                               fa be               record]
                                                                                                                                                                                              (for record(
                              SS                                                                                      '"'''' (or MOOitied)In The REAL ESTATE RECORDS
 20140038781
 201 40038281 IsA
               M  4124/2014
                  4124120 1 4 88 NC
                                 NC                                                                                          orare
                                                                                                                             Flii..eltich                A EoTALER
                                                                                                                                                hud Maine=
                                                                                                                                          Aloe .iitrient             FR kyl
                                                                                                                                                               (Form Ucp3X0) 0d provbe    Dela
                                                                                                                                                                                 provide Deem         sme
                                                                                                                                                                                                     sew   02         33
       TERMINAT ON
 22 0| TERMINAT   ON EllectIveneSs    ihe Financing
                                   of the
                     Effectivanass of                                    sbove isis terminated
                                                    Statement identified about
                                          Financing Stetementidentiried                        wilh respect
                                                                                    terminated wan             the securtty
                                                                                                            1a the
                                                                                                    respect to               inferest(s) of
                                                                                                                   secuifly inlarest(t)             Party authorlileg
                                                                                                                                            Secured Party
                                                                                                                                         of Secured                   this Tatmiinalion
                                                                                                                                                          authorizing thiS.Teirtiination
       Stalsman!
       Staternen1
    0   ASSIGNMENT (full
 33 [I] ASSIGNMENT             of partial)
                         (full or                   nama of
                                           Provide name
                                  partial) Provide                      in Heat
                                                              Assignee iIt
                                                           of Assignee             or 7b .az(
                                                                                74 crib
                                                                           dom 7d                adress v Assignee
                                                                                          .gog address))                in heat
                                                                                                              Assignee In          gag nine
                                                                                                                                To el
                                                                                                                           fem 7e               Assigiar In
                                                                                                                                             of Assigner
                                                                                                                                       names of              item9*9
                                                                                                                                                          in Hera
        For partial assignment
        Far paths!                            tiers 77 and
                                    complete hems
                    assignment complete                     9 and
                                                       and 9. and also kate. alfeéied collateral
                                                                   ako indicatearleided                    em S8
                                                                                                       in item
                                                                                           collatéral in

[3 B® OONINLIATION                     of ine Financing
                         Effectiveness ofthe
      CONTINUATION Effectiveness                         Slnleman!
                                              Financang Staten          identified above
                                                                 est t identified             respect to
                                                                                         with respect
                                                                                   above with                         ra— di
                                                                                                             secunty inleresIts)
                                                                                                         the security
                                                                                                      1a the                     of Secured Party nultionzing
                                                                                                                                      vireo Party                  Conlinuaticin Statement
                                                                                                                                                              this Continuation
                                                                                                                                                  rulhonzing this                           1s
                                                                                                                                                                                 Stalemant is
                forthe additional
      continued for-the
      continued                   period piovkled
                        addiinal period   provided by  applicable taw
                                                   by eppticabie   law

 $5 0[_] PARTY
         PARTY INFORMATION
                INFORMATION CHANGE
                            CHANGE




                                                                                                                                                                                                                           RT
                                                                             AND Check
                                                                             M/I Check png arth4
                                                                                             ofthe tt ea  cu bases
                                                                                                             baxes!tt
    ‘Cheek ang ottee
    Cheek av   ofthe e© two
                        two bates
                            haves
                                                                                      CHANGE narra
                                                                                 ,—., CHANGE     name andfof
                                                                                                        andlor address
                                                                                                                sddress Compete
                                                                                                                          Complela          ADD name;
                                                                                                                                      ,..., ADO          Complete kern
                                                                                                                                                name: Conimete                        name 0.
                                                                                                                                                                            DELETE name
                                                                                                                                                                  item ,DEL.ETE              Give   cord
                                                                                                                                                                                               1yp. card              mo
                                                                                                                                                                                                                      ma
    The tharlaeallects
    me                          of D[| Saco
                       | Dettor g;
         Cargo afiects QDabter                            cord
                                                Pantyefof cord
                                       Secu it8 Party                            UDeem     Ba tr eIs
                                                                                      S'em Baer  5b: gad lteniTaarlia
                                                                                                           {im 7a or Th =item
                                                                                                                        ang tem 7c Te LI7o  Jaro,
                                                                                                                                                7b. p_t   dem 7c
                                                                                                                                                     pred tootle       U       vu deleted
                                                                                                                                                                        [Tioto cc           male or 66
                                                                                                                                                                                  deleted nnecrrdaor
 86 CURRENT   RECORD INFORMATION
    CURRENT RECORD                  Complsle or
                        INFORMATION Complete    Parly rifOrrnalion
                                             of Parly              Chega: provide
                                                      niformation Change          only ong name
                                                                          provide only=          [8a of
                                                                                           risme (50    6b
                                                                                                     or Bb                                                                                                                  ..1••••

      8a ORGANIZAT
      ea ORGANISM OM5    NAME
                   DN'S NAME




                                                                                                                                                                                                                           OEDEMA
 OR 56 INDIVIDUAL'S SURNAME
 OR                                                                                               FIRST PERSONAL NAME                                      ADDIT1ONAINM                                 SUFFIX
                                                                                                                                                                                                        SUFFIX
                                                                                                                                                                                                                            MINED
                                                                                                                                                                                                                            VOMNIO
                                                                                                                                                                                                                            0•1 1.
                                                                                                                                                                                                                            Wee.
        Tm                                  |                                          |                                                                   ——                                                               POMO


 7,  CHANGED OR-ADDED INFORMATION,
 7. CHANGEDOR:ADDEO                    Carpio kchsEkrntnertm
                          INFORMATION. Cluriplcia                          information
                                                                    Party !re-
                                                  far Axxignmenticy Pally    056Am Owl°         provida
                                                                                       Cliange pnrt Ida ar.6 gow mime
                                                                                                        andy 2155      (Tao n.lb
                                                                                                                  nsmc Oa      7h :lull cad, 5,5
                                                                                                                                   {usa cue,     norm do.
                                                                                                                                              dinama      fal ore, modty a
                                                                                                                                                      3060t.trnot..mociiy    bberviaio any
                                                                                                                                                                          of ikismizio any pan     the DERos s.niie
                                                                                                                                                                                               af Lhandroolinsto
                                                                                                                                                                                           par el
      73 ORGANIZATTONII
      Ta ORGANIZATIONS NAME
                        NAME
                                                                                                                                                                                                                            ••••••11.


 OR
 OR 70
    78     INCIVIDUAL'S SURNAME
                        SURNAME                                                                                                                                                                                  TT         ON
                                                                                                                                                                                                                            ••••
                                                                                                                                                                                                                                    IS
                                                                                                                                                                                                                                    •

                                                                                                                                                                                                                            woomeV


           INDIVIDUAL'S rirtar
           prq[viouAcs  FIRST P5RSONAI.
                               FERSONAL NAME
                                        NAME                                                                                                                                                                                ago
                                                                                                                                                                                                                            ••••
                                                                                                                                                                                                                                   mok.
                                                                                                                                                                                                                                   ••,

                                                                                                                                                                                                                            v•••• •
                                                                                                                                                                                                                            im1•111•1
                                                                                                                                                                                                                            NORM•

           INDIVIDUAL'S ADDITIONAL
          INOMDUAL'S               NAME(S)INITIAL(S)
                        ADDITIONAL NAMEASANIRAL(S)                                                                                                                                                      SUFFIX
                                                                                                                                                                                                        SUM                 Woe.




  30.1,(46(LING ADDRESS                                                                           GtY                                                        TATE      POSTAL CODE                      COUNTRY



8 0[| COLLATERAL
.5    COLLATERALCHANGE
                 CHANGE                   Also check
                                          as2  check gm
                                                     ope ofof Wise
                                                              these four
                                                                    four boxes
                                                                         boxss 0|_JADD collaterst
                                                                                   ADO collateral                  |_| DELETE
                                                                                                                   El  DELETE collateral
                                                                                                                              collateral           LI RESTATE
                                                                                                                                                   El RESTATE covered
                                                                                                                                                              covered collateral
                                                                                                                                                                      collaleral D
                                                                                                                                                                                 |_| ASS
                                                                                                                                                                                     ASS ON
                                                                                                                                                                                         GN collateral
                                                                                                                                                                                            colialeral
         Indicate monism!
         indicate collalerat




 9. NAME
 9. NAME OF
         oF SECURED
            SECURED PARTY
                    PARTY OF
                          oF RECORD
                             RECORD AUTHORIZING
                                    AUTHORIZING THIS
                                                THIS AMENDMENT
                                                     AMENDMENT Prindo
                                                               Provide only
                                                                       only gal
                                                                            one name
                                                                                name (ga
                                                                                     {Ba or
                                                                                         or gb)
                                                                                            8b) (name
                                                                                                (name of
                                                                                                      of Assignor
                                                                                                         Assignor it{i this
                                                                                                                       this is
                                                                                                                            is an
                                                                                                                               an Assignment)
                                                                                                                                  Assignment)
    If{Finis  is an
        this is     Amendmanl authorized
                 an ArnerKiment             by aa DEBTOR,
                                 authorized by            check here
                                                  DEBTOR, check             n
                                                                         and provide
                                                                hare | | and         name of
                                                                             provide name                Deblor
                                                                                             authorizing Debtor
                                                                                          of authorizing
          $a. oRdASItZATiOirs
         at                     NAME
               QRGAMNIZATIONS NAME
        FIRST BANK
        FIRST BANK &
                   & TRUST
                     TRUST
  OR 56 INDIVIDUAL'S SURNAME
  OR                                                                                              FIRST PEFtSONAI. NAME                                                                                 SUFF X
                                                                                                                                                            ADOMCNALNAME(SVINIMWS)


 10 OPTIONAL
 ID OPTIONAL FILER
             FILER REFERENCE
                   REFERENCE DATA.
                             DATA. Debtor
                                   Deblor Name'
                                          Name’ GRAHAM
                                                GRAHAM COUNTY
                                                       COUNTY LAND
                                                              LAND COMPANY
                                                                   COMPANY L.L.0
                                                                           LLC
 85219370
 59219370
                                                                                                              mmr       mt .    maemmasan
                                                                                                                                                                          Prepored by
                                                                                                                                                                         Frowned   by Lien
                                                                                                                                                                          Mandals In
                                                                                                                                                                         illanr444
                                                                                                                                                                                      Lien Soli:bans
                                                                                                                                                                                           Solstans P.O
                                                                                                                                                                                    FA ai55665.1i
                                                                                                                                                                                        GHINABAN tai
                                                                                                                                                                                                       P.O Box
                                                                                                                                                                                                            Bax 2P311
                                                                                                                                                                                                     Tal iA55)
                                                                                                                                                                                                                 2371
                                                                                                                                                                                                          ADM "31-.17/12
                                                                                                                                                                                                               A11ATRS
               Case 23-04014-mxm                                        Doc 12              Filed 04/28/23 Entered 04/28/23 12:10:07                                                                             Desc Main
                                                                                          Document      Page 37 of 61
                                                                                                                                                                                            File Number:
                                                                                                                                                                                           File   Number: 20190078550J
                                                                                                                                                                                                              20190078550J
                                                                                                                                                                                         Date Filed:
                                                                                                                                                                                         Date   Filed: 7/23/2019
                                                                                                                                                                                                        7/23/2019 2:27:00
                                                                                                                                                                                                                    2:27:00 PM
                                                                                                                                                                                                                            PM
                                                                                                                                                                                                   Elaine F.
                                                                                                                                                                                                  Elaine   F. Marshall
                                                                                                                                                                                                              Marshall
                                                                                                                                                                                               NCNC Secretary
                                                                                                                                                                                                      Secretary of
                                                                                                                                                                                                                 of State
                                                                                                                                                                                                                     State


    UCC FINANCING
    UCC FINANCING STATEMENT
                  STATEMENT
     FOLLOW INSTRUCTIONS
    FOLLOW   INSTRUCTIONS
     A. NAME
     A.  NAME && PHONE
                  PHONE OF
                        OF CONTACT
                           CONTACT AT
                                   AT FILER
                                       FILER (optional)
                                              (optional)
          Corporation Service
          Corporation Service Company
                              Company
     B.B. E-MAIL
           E-MAIL CONTACT
                  CONTACT AT
                          AT FILER
                              FILER (optional)
                                     (optional)
I        FilingDept@ecscinfo.com
         FilingDept@cscinfo.com
     C. SEND
        SEND ACKNOWLEDGMENT
             ACKNOWLEDGMENT TO:
                            TO: (Name
                                 (Name and
                                        and Address)
                                            Address)
         ha
     C.


           Corporation Service
           Corporation   Service Company
                                  Company
                                                                                                                              T
           801 Adlai
           801 Adlai Stevenson
                      Stevenson DrDr
         |Springfield, IL
         Ltpringfield,  IL 62703
                            62703                                                                                              _
                                                                                                                                                        THE ABOVE
                                                                                                                                                        THE ABOVE SPACE
                                                                                                                                                                  SPACE IS
                                                                                                                                                                         IS FOR
                                                                                                                                                                             FORFILING  OFFICE USE
                                                                                                                                                                                 FILING OFFICE USE ONLY
                                                                                                                                                                                                   ONLY
         DEBTOR'S NAME:
    1.1, DEBTOR'S NAME:                      Provide only
                                            Provide    only oneone Debtor
                                                                    Debtor name
                                                                              name (1
                                                                                    (1aa or
                                                                                          or 11b)  (use exact,
                                                                                               b) (use   exact, full
                                                                                                                 full name;
                                                                                                                       name; dodo not
                                                                                                                                   not omit,
                                                                                                                                        omit, modify,
                                                                                                                                              modify, or
                                                                                                                                                       or abbreviate
                                                                                                                                                           abbreviate anyany part
                                                                                                                                                                               part of
                                                                                                                                                                                     of the
                                                                                                                                                                                         the Debtor's
                                                                                                                                                                                             Debtor's name);
                                                                                                                                                                                                       name); Ifif any
                                                                                                                                                                                                                    any part
                                                                                                                                                                                                                         part of
                                                                                                                                                                                                                               of the
                                                                                                                                                                                                                                   the Individual
                                                                                                                                                                                                                                        Individual Debtor's
                                                                                                                                                                                                                                                   Debtor's
          name will
         name  wliil not
                      not fit
                           fit in
                                in line
                                    line lb,
                                          1b, leave
                                               leave all
                                                      all of
                                                           of Item
                                                               item 11 blank,
                                                                        blank, check
                                                                                check here
                                                                                        here n] and   and provide
                                                                                                            provide the
                                                                                                                      the Individual
                                                                                                                           Individual Debtor
                                                                                                                                        Debtor information
                                                                                                                                                information inin Item
                                                                                                                                                                  item 10
                                                                                                                                                                        10 of
                                                                                                                                                                            of the
                                                                                                                                                                                the Financing
                                                                                                                                                                                     Financing Statement
                                                                                                                                                                                                  Statement Addendum
                                                                                                                                                                                                             Addendum (Form   (Form UCC1Ad)
                                                                                                                                                                                                                                        UCC1Ad)

           1a. ORGANIZATION'S
          Ia.  ORGANIZATION'S NAME
                              NAME
          GRAHAM COUNTY
          GRAHAM COUNTY LAND
                        LAND COMPANY,
                             COMPANY, L.L.C.
                                      L.L.C.
    OR
    OR      1b, INDIVIDUAL'S
           1b.   INDIVIDUAL'S SURNAME
                              SURNAME                                                                               FIRST PERSONAL
                                                                                                                   FIRST  PERSONAL NAME
                                                                                                                                   NAME                                              ADDITIONAL
                                                                                                                                                                                     ADDITIONAL NAME(S)/INITIAL(S)
                                                                                                                                                                                                NAME(SY/INITIAL(S)                       SUFFIX
                                                                                                                                                                                                                                         SUFFIX



     1c. MAILING
    lc,  MAILING ADDRESS
                 ADDRESS                                                                                           CITY
                                                                                                                   CITY                                                              STATE
                                                                                                                                                                                     STATE        POSTAL
                                                                                                                                                                                                   |POSTAL CODE
                                                                                                                                                                                                           CODE                          COUNTRY
                                                                                                                                                                                                                                         COUNTRY

    750 Tallulah
    750 Tallulah Road
                 Road                                                                                              Robbinsville
                                                                                                                   Robbinsville                                                      NC
                                                                                                                                                                                     NC           (28771
                                                                                                                                                                                                  28771                                 USA
                                                                                                                                                                                                                                        USA
    2, DEBTOR'S
    2. DEBTOR'S NAME:
                NAME: Provide
                      Provide only
                              only one
                                   one Debtor
                                       Debtor name
                                               name (2a
                                                     {2a or
                                                         or 2b)
                                                            2b) (use
                                                                 (use exact,
                                                                      exact, full
                                                                              full name;
                                                                                    name; do
                                                                                          do not
                                                                                              not omit,
                                                                                                  omit, modify,
                                                                                                        modify, or
                                                                                                                or abbreviate
                                                                                                                   abbreviate any
                                                                                                                              any part
                                                                                                                                   part ofof the
                                                                                                                                              the Debtor's
                                                                                                                                                  Debtor's name);
                                                                                                                                                            name); ifif any
                                                                                                                                                                        any part
                                                                                                                                                                             part of
                                                                                                                                                                                  of the
                                                                                                                                                                                      the Individual
                                                                                                                                                                                           Individual Debtors
                                                                                                                                                                                                      Debtor's
          name will
         name  will not
                     not fit
                          fit In
                               in Ilne
                                   line 2b,
                                        2b, leave
                                             leave all
                                                   all of
                                                       of Item
                                                           item 22 blank,
                                                                    blank, check
                                                                            check here
                                                                                   here IH and
                                                                                            and provide
                                                                                                 provide the
                                                                                                          the Individual
                                                                                                               Individual Debtor
                                                                                                                          Debtor Information
                                                                                                                                  information inin Item
                                                                                                                                                    item 10
                                                                                                                                                          10 of
                                                                                                                                                             of the
                                                                                                                                                                 the Financing
                                                                                                                                                                      Financing Statement
                                                                                                                                                                                Statement Addendum
                                                                                                                                                                                          Addendum (Form
                                                                                                                                                                                                    (Form UCC1Ad)
                                                                                                                                                                                                          UCC1Ad)

          2a. ORGANIZATION'S
          2a. ORGANIZATION'S NAME
                             NAME

    OR
    OR 2b.
       2b. INDIVIDUAL'S
            INDIVIDUAL'S SURNAME
                         SURNAME                                                                                   FIRST PERSONAL
                                                                                                                   FIRST PERSONAL NAME
                                                                                                                                  NAME                                               ADDITIONAL NAME(S)/INITIAL(S)
                                                                                                                                                                                     ADDITIONAL NAME(S)/INITIAL(S)                       SUFFIX
                                                                                                                                                                                                                                         SUFFIX


    2c. MAILING
    2c. MAILING ADDRESS
                ADDRESS                                                                                            CITY                                                              STATE        POSTAL CODE                            COUNTRY
                                                                                                                                                                                                                                         COUNTRY


0

    3.SECURED
    3.             PARTY'S NAME
       SECURED PARTY'S       NAME (or
                                   (or NAME
                                       NAME of
                                            of ASSIGNEE
                                               ASSIGNEE of
                                                        of ASSIGNOR
                                                           ASSIGNOR SECURED
                                                                    SECURED PARTY):
                                                                            PARTY): Provide
                                                                                    Provide only
                                                                                            only am
                                                                                                 one Secured
                                                                                                     Secured Party
                                                                                                             Party name
                                                                                                                   name (3a
                                                                                                                         (3a or
                                                                                                                             or 3b
                                                                                                                                3b)
        3a. ORGANIZATION'S
        3a. ORGANIZATION'S NAME
                           NAME
          Corporation Service
          Corporation Service Company,
                              Company, as
                                       as Representative
                                          Representative
    OR
    UK
           3b. INDIVIDUAL'S
           3b.  INDIVIDUAL'S SURNAME
                             SURNAME                                                                               FIRST PERSONAL
                                                                                                                   FIRST PERSONAL NAME
                                                                                                                                  NAME                                               ADDITIONAL NAME(S)/INITIAL(S)
                                                                                                                                                                                     ADDITIONAL NAME(S)/INITIAL(S)                       SUFFIX
                                                                                                                                                                                                                                         SUFFIX
i
    3c. MAILING
    3c, MAILING ADDRESS
                ADDRESS                                                                                            city
                                                                                                                   CITY                                                              STATE        POSTAL CODE
                                                                                                                                                                                                  POSTAL CODE                            COUNTRY
                                                                                                                                                                                                                                         COUNTRY

    P.O. Box
    P.O. Box 2576
             2576                            ucesprep@ecscinfo.com
                                             uccsprep@cscinfo.com                                                  Springfield
                                                                                                                   Springfield                                                       IL           62708
                                                                                                                                                                                                  62708                                  USA
                                                                                                                                                                                                                                         USA
    4, COLLATERAL:
    4. COLLATERAL: This
                   This financing
                         financing statement
                                   statement covers
                                             covers the
                                                     the following
                                                          following collateral:
                                                                    collateral:

     All assets,
     All  assets,   whether tangible
                    whether   tangible or   or intangible,
                                               intangible, wherever
                                                             wherever located,
                                                                        located, and
                                                                                   and whether
                                                                                       whether owned,
                                                                                                owned, created,
                                                                                                         created, acquired
                                                                                                                    acquired
     or arising
     or  arising prior
                   prior to,
                          to, on
                               on oror after
                                         after the
                                                 the date
                                                     date of
                                                          of filing
                                                              filing of
                                                                      of this
                                                                          this UCC-1
                                                                                UCC-1 financing
                                                                                       financing statement,
                                                                                                   statement,   and all
                                                                                                                and  all
     products and
     products   and proceeds
                     proceeds of of the
                                      the foregoing.
                                            foregoing.

     Notice: (1)
     Notice:    (1) retention
                      retention of  of any
                                         any cash
                                               cash or or non-cash
                                                            non-cash products
                                                                          products or   or proceeds
                                                                                             proceeds of   of any
                                                                                                                any ofof the
                                                                                                                           the foregoing
                                                                                                                                foregoing by     by any
                                                                                                                                                      any
     person violates
     person   violates the  the rights
                                 rights of  of the
                                                 the Secured
                                                       Secured PartyParty named
                                                                              named herein
                                                                                     herein to    to such
                                                                                                       such collateral,
                                                                                                               collateral,       (2) Debtor
                                                                                                                                (2)    Debtor has  has
     agreed not
     agreed   not toto grant
                         grant a a security
                                    security interest
                                                  interest in,   in, onon oror to,
                                                                                to, oror toto pledge,
                                                                                                pledge, assign,
                                                                                                             assign, encumber
                                                                                                                         encumber or   or otherwise
                                                                                                                                            otherwise
     hypothecate any
     hypothecate      any ofof the
                                the foregoing
                                      foregoing collateral,
                                                     collateral, products
                                                                        products or   or proceeds
                                                                                          proceeds other  other than
                                                                                                                   than in in favor
                                                                                                                               favor of  of the
                                                                                                                                              the
     Secured Party
     Secured    Party named
                         named herein,
                                 herein, and  and (3)
                                                    (3) anyany security
                                                                 security interest
                                                                               interest in,  in, on on or
                                                                                                        or to,
                                                                                                             to, oror pledge,
                                                                                                                        pledge, assignment,
                                                                                                                                    assignment,
     encumbrance or
     encumbrance      or other
                          other hypothecation
                                   hypothecation of      of any
                                                              any ofof such
                                                                         such collateral,
                                                                                 collateral,       products or
                                                                                                   products      or proceeds
                                                                                                                     proceeds other other thanthan in in
     favor of
     favor  of the
                 the Secured
                        Secured Party
                                   Party named
                                            named herein
                                                     herein violates
                                                                 violates the  the terms
                                                                                    terms of   of Debtor's
                                                                                                    Debtor's agreements
                                                                                                                 agreements with  with the the Secured
                                                                                                                                                 Secured
     Party named
     Party  named herein
                      herein andand the
                                      the rights
                                            rights of  of the
                                                            the Secured
                                                                   Secured Party
                                                                               Party named
                                                                                        named herein
                                                                                                 herein to   to such
                                                                                                                 such collateral,
                                                                                                                         collateral, products
                                                                                                                                            products
     and proceeds.
     and  proceeds.




    35  Check only
     5. Check only ifIf applicable
                        applicable and
                                   and check
                                       check gay
                                             only one
                                                  one box:
                                                      box: Collateral
                                                           Collateral is
                                                                       is [ Theldi in aa Trust
                                                                             held in     Trust (see
                                                                                               (see UCCiAd,
                                                                                                    UCC1Ad, Item
                                                                                                             Item 17
                                                                                                                  17 and
                                                                                                                     and Instructions)
                                                                                                                          Instructions)                                 ]    being administered
                                                                                                                                                                             being administered by
                                                                                                                                                                                                by aa Decedents
                                                                                                                                                                                                      Decedent's Personal
                                                                                                                                                                                                                 Personal Representative
                                                                                                                                                                                                                          Representative
     6a. Check
    "Ba. Check ody
               only ifIf applicable
                         applicable and
                                    and check
                                        checkonly
                                              only one
                                                   one box:
                                                       box:                                                                                                                 6b.
                                                                                                                                                                            6b. Check
                                                                                                                                                                                Check only
                                                                                                                                                                                      only ifif applicable
                                                                                                                                                                                                applicable and
                                                                                                                                                                                                           and check
                                                                                                                                                                                                               check only
                                                                                                                                                                                                                     only one
                                                                                                                                                                                                                          one box:
                                                                                                                                                                                                                              box:

          0]    Public-Finance Transaction
                Public-Finance Transaction                  J] Manufactured-Home
                                                               Manufactured-Home Transaction
                                                                                 Transaction                       0
                                                                                                                   il     A
                                                                                                                          A Debtor
                                                                                                                            Debtor is
                                                                                                                                   Is aa Transmitting
                                                                                                                                         Transmitting Utility
                                                                                                                                                      Utility                    El
                                                                                                                                                                                 ] Agricultural
                                                                                                                                                                                    Agricultural Lien
                                                                                                                                                                                                 Llen              J] Non-UCC
                                                                                                                                                                                                                      Non-UCC Filing
                                                                                                                                                                                                                              Filing
    7. ALTERNATIVE
    7. ALTERNATIVE DESIGNATION
                   DESIGNATION (if
                               (if applicable):
                                   applicable):                        |_| Lessee/Lessor
                                                                       El  Lessee/Lessor                  [7 Consignee/Consignor
                                                                                                             consignee/Gonsignor                       [_] Seller/Buyer
                                                                                                                                                           seller/Buyer                [_] Ballee/Bailor
                                                                                                                                                                                           Ballee/Bailor               [7] Licensee/Licensor
                                                                                                                                                                                                                       E   LicenseetLicensor
    8.OPTIONAL
    8.          FILER REFERENCE
       OPTIONAL FILER REFERENCE DATA:
                                DATA:
     r£72791211
     r1Kl'2'7521211
Case 23-04014-mxm   Doc 12     Filed 04/28/23 Entered 04/28/23 12:10:07   Desc Main
                             Document      Page 38 of 61




                EXHIBIT C
DocuSign Envelope ID: 22265264-50D6-4C84-946D-1879A0ADFC10
           Case 23-04014-mxm             Doc 12     Filed 04/28/23 Entered 04/28/23 12:10:07   Desc Main
                                                  Document      Page 39 of 61
DocuSign Envelope ID: 22265264-50D6-4C84-946D-1879A0ADFC10
           Case 23-04014-mxm             Doc 12     Filed 04/28/23 Entered 04/28/23 12:10:07   Desc Main
                                                  Document      Page 40 of 61
DocuSign Envelope ID: 22265264-50D6-4C84-946D-1879A0ADFC10
           Case 23-04014-mxm             Doc 12     Filed 04/28/23 Entered 04/28/23 12:10:07   Desc Main
                                                  Document      Page 41 of 61
DocuSign Envelope ID: 22265264-50D6-4C84-946D-1879A0ADFC10
           Case 23-04014-mxm             Doc 12     Filed 04/28/23 Entered 04/28/23 12:10:07   Desc Main
                                                  Document      Page 42 of 61
DocuSign Envelope ID: 22265264-50D6-4C84-946D-1879A0ADFC10
           Case 23-04014-mxm             Doc 12     Filed 04/28/23 Entered 04/28/23 12:10:07   Desc Main
                                                  Document      Page 43 of 61
DocuSign Envelope ID: 22265264-50D6-4C84-946D-1879A0ADFC10
           Case 23-04014-mxm             Doc 12     Filed 04/28/23 Entered 04/28/23 12:10:07   Desc Main
                                                  Document      Page 44 of 61
DocuSign Envelope ID: 22265264-50D6-4C84-946D-1879A0ADFC10
           Case 23-04014-mxm             Doc 12     Filed 04/28/23 Entered 04/28/23 12:10:07   Desc Main
                                                  Document      Page 45 of 61
Case 23-04014-mxm   Doc 12     Filed 04/28/23 Entered 04/28/23 12:10:07   Desc Main
                             Document      Page 46 of 61




                EXHIBIT D
Case 23-04014-mxm           Doc 12     Filed 04/28/23 Entered 04/28/23 12:10:07             Desc Main
                                     Document      Page 47 of 61


From: Trevor Sarazin <trevor@totemmats.com>
Sent: Friday, September 11, 2020 12:47 PM
To: Randy Jordan <randy@gclnc.com>
Subject: Past due AR and mats in Cheraw, SC

Hi Randy,

As we've discussed, the outstanding accounts receivable balance for Graham County Land Clearing
currently stands at $1,199,189.00. To help decrease this balance, Totem will offer to purchase the mats
back from Graham at $160.00 per mat for a total of $800,000.00, which will be deducted from the
outstanding amount owed, and bring the remaining balance to $399,189.00. Totem will write a
reasonable interest rate note, signed by Graham, to pay off the balance via weekly payments that
Graham is comfortable with. If Graham is able to secure a buyer for the mats, Totem will handle the
transaction directly and reduce the outstanding balance by any profit above the initial purchase price,
less an agreed upon fee to cover additional finance charges.

I know it's not an optimal solution, however the fact is Totem has been acting as Graham's bank through
this for a while, and we're to the point that simply cannot go on any longer. The alternative of not
getting something done today isn't a road I want to go down, and am guessing you don't either, so I'm
trying to figure out a solution that hurts us both the least here.

Let me know if we can make this work ASAP and I'll put some at least preliminary paperwork together
that will suffice.

Trevor

Trevor Sarazin
Totem Mats
P: 866.777.MATS (6287) toll free | 503.471.5733 local direct
C: 503.757.0710
Email: Trevor@TotemMats.com
www.TotemMats.com
Case 23-04014-mxm   Doc 12     Filed 04/28/23 Entered 04/28/23 12:10:07   Desc Main
                             Document      Page 48 of 61




                EXHIBIT E
Case 23-04014-mxm        Doc 12     Filed 04/28/23 Entered 04/28/23 12:10:07            Desc Main
                                  Document      Page 49 of 61



                                     PROMISSORY NOTE

September 28th, 2020                                                                $399,189.00

       FOR VALUE RECEIVED, Graham County Land Company, L.L.C., a North Carolina
limited liability company (“Maker”), hereby unconditionally promises to pay to the order of
Totem Forest Products International LLC, an Oregon limited liability company (“Holder”), the
principal sum of THREE HUNDRED NINETY-NINE THOUSAND ONE HUNDRED
EIGHTY-NINE DOLLARS AND NO/100 ($399,189.00), in lawful money of the United States
of America, with interest thereon as provided below, payable in the manner and according to the
terms and conditions set forth in this promissory note (this “Note”). All payments shall be
delivered to Holder at such address as Holder may designate in writing from time to time. The
“Effective Date” of this Note is the date first written above. This Note is issued to evidence
indebtedness owed by Maker to Holder for certain products sold to Maker by Holder.

         1.     Interest Rate. This principal balance of this Note, together with any accrued but
unpaid interest thereon, shall bear interest at a rate of: (a) six percent (6%) per annum until the
four-month (4-month) anniversary of the Effective Date; and (b) twelve percent (12%) thereafter
until repaid in full.

        2.     Maturity Date. Maker shall pay the entire balance of principal and accrued but
unpaid interest and any other amounts owed hereunder on the earlier of (the “Maturity Date”):
(a) May 26, 2022; (b) upon demand of Holder following an Event of Default by Maker; or (c) the
closing date of (i) a sale of all or substantially all of the assets of Maker other than in the
ordinary course of business or (ii) a change in the voting control of Maker, whether by sale,
merger or otherwise.

         3.    Weekly Payments. Until this Note is paid in full, Maker shall make payments to
Holder on a weekly basis in the amount of $5,000, beginning on the Effective Date. Maker
agrees to make a good faith effort to increase the weekly payment amount in order to payoff the
loan as soon as practicable.

         4.    Default Interest. If any amount payable under this Note is not paid when due
(without regard to any applicable grace periods), the outstanding loan balance (including accrued
but unpaid interest) shall bear interest at a rate equal to the lesser of eighteen percent (18%) (or
the maximum rate allowable under applicable law) from the date payment was due until such
delinquent payment is paid in full. This provision does not imply that Maker may cure any
default or Event of Default after an Event of Default other than as expressly permitted hereunder,
nor shall this provision imply that Maker has a right to delay or extend the dates upon which
payments are due hereunder.

          5.    Prepayments. Maker shall have the right to prepay all or part of the outstanding
balance of this Note before the Maturity Date without penalty. In the event Maker makes a
partial prepayment of this Note, such prepaid amount shall first be applied to the payment of
interest, and then to principal.

         6.    Late Charge. If any payment of any sum due under this Note is not paid within
three (3) business days of the due date (notwithstanding any grace or cure periods contained


PAGE 1 – PROMISSORY NOTE

4816-9007-4571, v. 3
Case 23-04014-mxm        Doc 12     Filed 04/28/23 Entered 04/28/23 12:10:07             Desc Main
                                  Document      Page 50 of 61



herein), Holder shall have the option to charge Maker a late charge equal to fifteen percent
(15%) of the missed payment (the “Late Charge”). The Late Charge is for the purpose of
defraying the expenses incurred in connection with handling and processing delinquent payments
and is payable in addition to any other remedy Holder may have. Unpaid Late Charges shall be
paid with next payment due. Additional Late Charges may be charged by Holder in the event any
Late Charges are not made when due.

         7.     Events of Default. Maker is immediately in default under the terms and conditions
of this Note (each, an “Event of Default”) in the event:

              (a)     Maker fails to deliver to Holder the entire amount of any payment due
hereunder within three (3) business days after the payment due date;

               (b)    Except for Maker’s payment obligations hereunder, Maker fails to comply
with any obligation, term, condition, covenant, representation, warranty or other duty arising
under this Note within fifteen (15) days after written notice to Maker by Holder; or

                (c)      If Maker shall (i) discontinue business, (ii) generally not pay its debts as
such debts become due, (iii) make a general assignment for the benefit of creditors, (iv) apply for
or consent to the appointment of a receiver, a custodian, a trustee, an interim trustee or liquidator
of all or a substantial part of its assets, (v) be adjudicated a debtor or have entered against it an
order for relief under Title 11 of the United States Code, as the same may be amended from time
to time, (vi) file a voluntary petition in bankruptcy or file a petition or an answer seeking
reorganization or an arrangement with creditors or seeking to take advantage of any other law
(whether federal or state) relating to relief of debtors, or admit (by answer, by default or
otherwise) the material allegations of a petition filed against it in any bankruptcy, reorganization,
insolvency or other proceeding (whether federal or state) relating to relief of debtors, or
(vii) suffer or permit to continue unstayed and in effect for sixty (60) consecutive days any
judgment, decree or order entered by a court of competent jurisdiction, that approves a petition
seeking its reorganization or appoints a receiver, custodian, trustee, interim trustee or liquidator
of all or a substantial part of its assets.

         8.     Acceleration; Remedies. Upon the occurrence of an Event of Default, Holder
shall be entitled to exercise any or all of the following remedies, without limitation: (a) Holder
may declare the principal sum of this Note, together with any accrued but unpaid interest and any
other amounts owed to Holder under this Note, to be immediately due and payable; and (b) the
right to exercise any other remedy available to Holder, at law or in equity. Any forbearance or
failure to exercise a right shall not constitute a waiver of Holder’s right to exercise such right
with respect to such default and any subsequent default.

         9.    Attorney Fees, Costs. In the event Holder takes any action, judicial or otherwise,
to enforce any rights or collect any amounts due under this Note, Maker shall be responsible for
paying all expenses which Holder may incur in taking such action, including, but not limited to,
reasonable attorney fees and costs incurred by Holder (including with respect to any appeals).
Upon demand, Maker shall pay to and reimburse Holder for all such fees, costs and expenses so
incurred, and hereby indemnifies Holder and holds it harmless from and against all such fees,
costs and expenses.



PAGE 2 – PROMISSORY NOTE

4816-9007-4571, v. 3
Case 23-04014-mxm        Doc 12     Filed 04/28/23 Entered 04/28/23 12:10:07            Desc Main
                                  Document      Page 51 of 61



       10.     Assignment. Maker shall not assign its obligations under this Note without
express written consent of Holder, which consent may be withheld in Holder’s sole discretion.
Holder may assign this Note in its sole discretion to any affiliate of Holder or any successor to
Holder’s business, in which event, the assignee shall become the Holder for all purposes.

       11.      Notice. Any notice required or permitted pursuant to this Note shall be in writing
and shall be deemed sufficient upon delivery, when delivered personally or sent by courier,
overnight delivery service or confirmed facsimile or email, or three (3) business days after being
deposited in the U.S. mail, as certified or registered mail (airmail if sent internationally), with
postage prepaid, addressed to the party’s address set forth below or subsequently modified by
written notice to the other party.

        12.     Power and Authority. Maker represents that Maker has full power, authority and
legal right to execute and deliver this Note, and that this Note constitutes a valid and binding
obligations of Maker.

        13.    Governing Law; Venue. This Note shall be governed and construed in accordance
with the laws of the State of Oregon. Any suit or action brought on this Note by Maker shall be
brought exclusively in the courts of Multnomah County, Oregon. Any suit or action brought on
this Note by Holder may be brought in any appropriate state or federal court at Holder’s
discretion.

     14.  Waiver of Jury Trial. MAKER HEREBY IRREVOCABLY WAIVES, TO THE
FULLEST EXTENT PERMITTED BY APPLICABLE LAW, ANY RIGHT IT MAY HAVE
TO A TRIAL BY JURY IN ANY LEGAL PROCEEDING DIRECTLY OR INDIRECTLY
RELATING TO THIS NOTE OR THE TRANSACTIONS CONTEMPLATED HEREBY
WHETHER BASED ON CONTRACT, EQUITY, TORT OR ANY OTHER THEORY.

        15.     Waiver of Notice. Maker hereby waives presentment, demand for payment,
protest, notice of dishonor, notice of protest or nonpayment, notice of intent to accelerate, notice
of acceleration of maturity and diligence in connection with the enforcement of this Note or the
taking of any action to collect sums owing hereunder. The rights, remedies, powers, and
privileges herein provided are cumulative and not exclusive of any rights, remedies, powers and
privileges provided by law or available in equity.

        16.    Bankruptcy. Maker agrees that any payment under this Note which is avoided in a
later bankruptcy proceeding or otherwise shall not be deemed a payment, and Maker's
obligations under the Note shall be reinstated and/or supplemented to the extent of any payment
so avoided. In such event, Maker shall not be discharged even if this Note has been cancelled,
renounced or surrendered.

        17.      Severability. If any term or provision of this Note is invalid, illegal or
unenforceable in any jurisdiction, such invalidity, illegality or unenforceability shall not affect
any other term or provision of this Note or invalidate or render unenforceable such term or
provision in any other jurisdiction. Upon such determination that any term or other provision is
invalid, illegal, or unenforceable, the parties hereto shall negotiate in good faith to modify this
Note so as to effect the original intent of the parties as closely as possible in order that the



PAGE 3 – PROMISSORY NOTE

4816-9007-4571, v. 3
Case 23-04014-mxm        Doc 12     Filed 04/28/23 Entered 04/28/23 12:10:07            Desc Main
                                  Document      Page 52 of 61



transactions contemplated hereby be consummated as originally contemplated to the greatest
extent possible.

       18.    Amendments and Waivers. No term of this Note may be waived, modified, or
amended except by an instrument in writing signed by both of the parties hereto. Any waiver of
the terms hereof shall be effective only in the specific instance and for the specific purpose
given.

        19.    Counterparts; Signatures. This Note may be executed in any number of
counterparts, all of which when taken together shall constitute one agreement binding on all
parties, notwithstanding that all parties are not signatories to the same counterpart. Counterparts
may be delivered via facsimile, electronic mail (including PDF or any electronic signature
complying with the U.S. federal ESIGN Act of 2000) or other transmission method and any
counterpart so delivered shall be deemed an original and shall be binding upon each of the
undersigned as if signed and delivered in the original.

ORAL AGREEMENTS OR ORAL COMMITMENTS TO LOAN MONEY, EXTEND
CREDIT, OR TO FORBEAR FROM ENFORCING REPAYMENT OF A DEBT ARE
NOT ENFORCEABLE UNDER OREGON LAW.

                               [SIGNATURE PAGE FOLLOWS.]




PAGE 4 – PROMISSORY NOTE

4816-9007-4571, v. 3
Case 23-04014-mxm      Doc 12     Filed 04/28/23 Entered 04/28/23 12:10:07   Desc Main
                                Document      Page 53 of 61



       IN WITNESS WHEREOF, the undersigned has caused this Note to be duly executed on
the day and year first written above.

MAKER:

Graham County Land Company, L.L.C.



By:
Name:
Its:

Notice Address:




Email:



AGREED AND ACCEPTED:

HOLDER:

Totem Forest Products International LLC



By:
Name:
Its:


Notice Address:




Email:




                         [SIGNATURE PAGE TO PROMISSORY NOTE]
4816-9007-4571, v. 3
Case 23-04014-mxm   Doc 12     Filed 04/28/23 Entered 04/28/23 12:10:07   Desc Main
                             Document      Page 54 of 61




                      EXHIBIT F
            Case
4/28/23, 9:27 AM   23-04014-mxm              Doc 12       Filed 04/28/23
                                                              U.S.              Entered
                                                                   Bankruptcy Court - Northern04/28/23       12:10:07
                                                                                               District of Texas        Desc Main
                                                        Document         Page 55 of 61
                                                 Northern District of Texas
                                                     Claims Register
                                    21-42215-mxm11 Flexible Funding, Ltd. Liability Co.

                                 Judge: Mark X. Mullin                   Chapter: 11
                                 Office: Ft. Worth                       Last Date to file claims: 12/22/2021
                                 Trustee:                                Last Date to file (Govt): 05/11/2022
  Creditor:     (19516655)                            Claim No: 1                               Status:
  Fresh Packing Corporation                           Original Filed Date: 09/27/2021           Filed by: CR
  Raymond Perez, Esq.                                 Original Entered Date: 09/27/2021         Entered by: Admin
  5161 Pomona Blvd Suite 208                                                                    Modified:
  Los Angeles, CA 90022
    Amount claimed: $13050.00
  History:
  Details          1-1    09/27/2021 Claim #1 filed by Fresh Packing Corporation, Amount claimed: $13050.00 (Admin)
  Description:
  Remarks:


  Creditor:    (19514528)                             Claim No: 2                               Status:
  PAHL & McCAY                                        Original Filed Date: 10/14/2021           Filed by: CR
  225 West Santa Clara St                             Original Entered Date: 10/14/2021         Entered by: Admin
  Ste 1500                                                                                      Modified:
  San Jose, CA 95113-1700
    Amount claimed: $120036.79
    Secured claimed: $120036.79

  History:
  Details          2-1    10/14/2021 Claim #2 filed by PAHL & McCAY, Amount claimed: $120036.79 (Admin)
  Description:
  Remarks:

  Creditor:       (19514526)                          Claim No: 3                               Status:
  Omninet CV Townsgate, LLC                           Original Filed Date: 10/14/2021           Filed by: CR
  9420 Wilshire Blvd.                                 Original Entered Date: 10/14/2021         Entered by: Brandon Scot Pierce
  #400                                                                                          Modified:
  Beverly Hills, CA 90212
    Amount claimed: $19178.60
  History:
  Details          3-1    10/14/2021 Claim #3 filed by Omninet CV Townsgate, LLC, Amount claimed: $19178.60 (Pierce,
                                     Brandon)
  Description: (3-1) Real Estate Lease
  Remarks:


  Creditor:        (19541534)                         Claim No: 4                               Status:
  Corporation Service Company                         Original Filed Date: 11/09/2021           Filed by: CR
  251 Little Falls Drive                              Original Entered Date: 11/09/2021         Entered by: Admin
  Wilmington, DE 19808                                                                          Modified:
   Amount claimed: $514.00
  History:
  Details      4-1 11/09/2021 Claim #4 filed by Corporation Service Company, Amount claimed: $514.00 (Admin)
  Description:
  Remarks:
https://ecf.txnb.uscourts.gov/cgi-bin/SearchClaims.pl?caseid=495309;sc                                                              1/7
            Case
4/28/23, 9:27 AM   23-04014-mxm              Doc 12       Filed 04/28/23
                                                              U.S.              Entered
                                                                   Bankruptcy Court - Northern04/28/23       12:10:07
                                                                                               District of Texas        Desc Main
                                                        Document         Page 56 of 61
  History:
  Details          4-1    11/09/2021 Claim #4 filed by Corporation Service Company, Amount claimed: $514.00 (Admin)
  Description:
  Remarks:


  Creditor:      (19543683)                         Claim No: 5                                  Status:
  Robinn Mikalic                                    Original Filed Date: 11/12/2021              Filed by: CR
  1949 Lakeside Drive                               Original Entered Date: 11/12/2021            Entered by: Admin
  Harveys Lake PA 18618                             Last Amendment Filed: 12/06/2021             Modified: 12/06/2021
                                                    Last Amendment Entered: 12/06/2021
    Amount claimed: $14895.00
    Priority claimed: $4960.00

  History:
  Details          5-1    11/12/2021 Claim #5 filed by Robinn Mikalic, Amount claimed: $1489554.00 (Robertson, Catherine)
  Details          5-2    12/06/2021 Amended Claim #5 filed by Robinn Mikalic, Amount claimed: $14895.00 (Admin)
  Description:
  Remarks:


  Creditor:      (19543684)                           Claim No: 6                               Status: Withdraw 479
  Christopher Oliverio                                Original Filed Date: 11/12/2021           Filed by: CR
  1612 Buckingham Avenue                              Original Entered Date: 11/12/2021         Entered by: Catherine Scholomann
  Lincoln Park, MI 48146                                                                        Robertson
                                                                                                Modified:
    Amount claimed: $5576.00
  History:
  Details         6-1 11/12/2021 Claim #6 filed by Christopher Oliverio, Amount claimed: $5576.00 (Robertson, Catherine)
                  479 11/22/2022 Withdrawal of claim(s): 6 Filed by Creditor Christopher Oliverio . (Hartogh, Kristina) Status:
                                 Withdraw
  Description:
  Remarks:


  Creditor:      (19514548)                         Claim No: 7                                  Status:
  Voco Vilya, Inc.                                  Original Filed Date: 11/12/2021              Filed by: CR
  6905 Peppervine Cove                              Original Entered Date: 11/12/2021            Entered by: Admin
  Austin, TX 78750                                  Last Amendment Filed: 12/06/2021             Modified: 12/06/2021
                                                    Last Amendment Entered: 12/06/2021
    Amount claimed: $70290.00
  History:
  Details          7-1    11/12/2021 Claim #7 filed by Voco Vilya, Inc., Amount claimed: $7029041.00 (Robertson, Catherine)
  Details          7-2    12/06/2021 Amended Claim #7 filed by Voco Vilya, Inc., Amount claimed: $70290.00 (Admin)
  Description:
  Remarks:

  Creditor:      (19514521)                           Claim No: 8                               Status:
  Maher Accountancy                                   Original Filed Date: 11/15/2021           Filed by: CR
  1101 Fifth Avenue                                   Original Entered Date: 11/15/2021         Entered by: Tracy Nunns
                                                                                                Modified:
  History:
  Details          8-1    11/15/2021 Claim #8 filed by Maher Accountancy, Amount claimed: $31010.00 (Nunns, Tracy)
  Description:
  Remarks:
https://ecf.txnb.uscourts.gov/cgi-bin/SearchClaims.pl?caseid=495309;sc                                                              2/7
            Case
4/28/23, 9:27 AM   23-04014-mxm              Doc 12       Filed 04/28/23
                                                              U.S.              Entered
                                                                   Bankruptcy Court - Northern04/28/23       12:10:07
                                                                                               District of Texas        Desc Main
  Suite 200                                             Document         Page 57 of 61
  San Rafael, CA 94901
    Amount claimed: $31010.00
  History:
  Details          8-1    11/15/2021 Claim #8 filed by Maher Accountancy, Amount claimed: $31010.00 (Nunns, Tracy)
  Description:
  Remarks:


  Creditor:      (19553395)                           Claim No: 9                               Status:
  Flexible Support Group, LLC                         Original Filed Date: 12/01/2021           Filed by: CR
  Lizabeth Ardisana                                   Original Entered Date: 12/01/2021         Entered by: Admin
  2226 Garrison Street                                                                          Modified:
  Dearborn, MI 48124
    Amount claimed: $151769.24
  History:
  Details          9-1    12/01/2021 Claim #9 filed by Flexible Support Group, LLC, Amount claimed: $151769.24 (Admin)
  Description:
  Remarks:


  Creditor:     (19555945)                            Claim No: 10                              Status:
  Umpqua Bank                                         Original Filed Date: 12/06/2021           Filed by: CR
  7777 Alvarado Road                                  Original Entered Date: 12/06/2021         Entered by: Admin
  Suite 501                                                                                     Modified:
  La Mesa, CA 91942
    Amount claimed: $489250.62
  History:
  Details         10-1 12/06/2021 Claim #10 filed by Umpqua Bank, Amount claimed: $489250.62 (Admin)
  Description:
  Remarks: (10-1) Account Number (last 4 digits):6951


  Creditor:     (19561845)                            Claim No: 11                              Status:
  Medalist Partners Opportunity Master                Original Filed Date: 12/15/2021           Filed by: CR
  Fund II-A, L.                                       Original Entered Date: 12/15/2021         Entered by: Admin
  Holland & Knight, Attn: Brent McIlwain                                                        Modified:
  One Arts Plaza
  1722 Routh Street, Suite 1500
  Dallas, TX 75201
    Amount claimed: $15700000.00
  History:
  Details         11-1 12/15/2021 Claim #11 filed by Medalist Partners Opportunity Master Fund II-A, L., Amount claimed:
                                  $15700000.00 (Admin)
  Description:
  Remarks: (11-1) Filer Comment: See Attached

  Creditor:     (19520313)                 Claim No: 12                        Status:
  The Original Mowbrays Tree Service Inc. Original Filed Date: 12/15/2021      Filed by: CR
  c/o Paul D. Moak - Matthew Wilbert Bourd Original Entered Date: 12/15/2021   Entered by: Paul D. Moak
  GRAY REED                                                                    Modified:
  History:
  Details      12-1 12/15/2021 Claim #12 filed by The Original Mowbrays Tree Service Inc., Amount claimed: $5519497.83
                                (Moak, Paul)
  Description:
  Remarks:
https://ecf.txnb.uscourts.gov/cgi-bin/SearchClaims.pl?caseid=495309;sc                                                              3/7
            Case
4/28/23, 9:27 AM   23-04014-mxm              Doc 12       Filed 04/28/23
                                                              U.S.              Entered
                                                                   Bankruptcy Court - Northern04/28/23       12:10:07
                                                                                               District of Texas        Desc Main
  1300 Post Oak Blvd, Suite 2000                        Document         Page 58 of 61
  Houston, Texas 77056
    Amount claimed: $5519497.83

  History:
  Details         12-1 12/15/2021 Claim #12 filed by The Original Mowbrays Tree Service Inc., Amount claimed: $5519497.83
                                  (Moak, Paul)
  Description:
  Remarks:

  Creditor:      (19562790)                           Claim No: 13                              Status:
  Ward and Smith, P.A.                                Original Filed Date: 12/17/2021           Filed by: CR
  c/o Lance P. Martin, Esq.                           Original Entered Date: 12/17/2021         Entered by: Admin
  Post Office Box 2020                                                                          Modified:
  Asheville, NC 28802-2020
    Amount claimed: $81632.37

  History:
  Details         13-1 12/17/2021 Claim #13 filed by Ward and Smith, P.A., Amount claimed: $81632.37 (Admin)
  Description:
  Remarks: (13-1) Account Number (last 4 digits):1097

  Creditor:     (19563014)                            Claim No: 14                              Status:
  Cheng Te Liao                                       Original Filed Date: 12/17/2021           Filed by: CR
  940 Camino Verde Circle                             Original Entered Date: 12/17/2021         Entered by: Admin
  Walnut Creek, CA 94597                                                                        Modified:
  ,
    Amount claimed: $23084.00
    Priority claimed: $13650.00
  History:
  Details         14-1 12/17/2021 Claim #14 filed by Cheng Te Liao, Amount claimed: $23084.00 (Admin)
  Description:
  Remarks:


  Creditor:      (19514484)                Claim No: 15                                         Status:
  Bison Investors LLC, c/o Levinson, Arsho Original Filed Date: 12/21/2021                      Filed by: CR
  15303 Ventura Blvd.                      Original Entered Date: 12/21/2021                    Entered by: Admin
  Suite 1650                                                                                    Modified:
  Sherman Oaks, CA 91403
    Amount claimed: $2000000.00
    Secured claimed: $2000000.00
  History:
  Details         15-1 12/21/2021 Claim #15 filed by Bison Investors LLC, c/o Levinson, Arsho, Amount claimed: $2000000.00
                                  (Admin)
  Description:
  Remarks:

  Creditor:      (19564791)                           Claim No: 16                              Status:
  Instapay Flexible, LLC                              Original Filed Date: 12/22/2021           Filed by: CR
  121 San Anselmo

  History:
  Details         16-1 12/22/2021 Claim #16 filed by Instapay Flexible, LLC, Amount claimed: (Prostok, Jeff)
  Description: (16-1) See attached addendum
  Remarks:
https://ecf.txnb.uscourts.gov/cgi-bin/SearchClaims.pl?caseid=495309;sc                                                              4/7
            Case
4/28/23, 9:27 AM   23-04014-mxm              Doc 12       Filed  04/28/23
                                                               U.S.              Entered
                                                                    Bankruptcy Court - Northern04/28/23       12:10:07 Desc Main
                                                                                                District of Texas
  Box 2604                                             Document           Page    59
                                                      Original Entered Date: 12/22/2021 of  61    Entered by: Jeff P. Prostok
  San Anselmo, CA 94979                                                                     Modified:
  No amounts claimed
  History:
  Details         16-1 12/22/2021 Claim #16 filed by Instapay Flexible, LLC, Amount claimed: (Prostok, Jeff)
  Description: (16-1) See attached addendum
  Remarks:

  Creditor:     (19565059)                            Claim No: 17                          Status:
  Levinson Arshonsky & Kurtz, LLP                     Original Filed Date: 12/22/2021       Filed by: CR
  c/o Steven N. Kurtz                                 Original Entered Date: 12/22/2021     Entered by: Admin
  15303 Ventura Blvd                                                                        Modified:
  Suite 1650
  Sherman Oaks, CA 91403
    Amount claimed: $25081.70

  History:
  Details         17-1 12/22/2021 Claim #17 filed by Levinson Arshonsky & Kurtz, LLP, Amount claimed: $25081.70 (Admin)
  Description:
  Remarks: (17-1) Account Number (last 4 digits):3238

  Creditor:     (19514529)                            Claim No: 18                          Status:
  Paul DeLuca                                         Original Filed Date: 12/22/2021       Filed by: CR
  4900 Gage Ave.                                      Original Entered Date: 12/22/2021     Entered by: Jeff P. Prostok
  Apt 347                                                                                   Modified:
  Fort Worth, TX 76109
  No amounts claimed
  History:
  Details         18-1 12/22/2021 Claim #18 filed by Paul DeLuca, Amount claimed: (Prostok, Jeff)
  Description: (18-1) Any and all expenses and liabilities incurred connection with the Mowbray action
  Remarks: (18-1) Indemnity against complaint based on Flexible Funding Ltd. Liability Co. Operating Agree


  Creditor:      (19514536)                           Claim No: 19                          Status:
  Steve Capper                                        Original Filed Date: 12/22/2021       Filed by: CR
  1350 Butterfield Road                               Original Entered Date: 12/22/2021     Entered by: Jeff P. Prostok
  San Anselmo, CA 94960                                                                     Modified:
  No amounts claimed
  History:
  Details         19-1 12/22/2021 Claim #19 filed by Steve Capper, Amount claimed: (Prostok, Jeff)
  Description: (19-1) Any and all expenses and liabilities incurred in connection with the Mowbray Action.
  Remarks: (19-1) Indemnity against complaint based on Flexible Funding Ltd. Liability Co. Operating Agreement


  Creditor:      (19514536)                           Claim No: 20                          Status:
  Steve Capper                                        Original Filed Date: 12/22/2021       Filed by: CR
  1350 Butterfield Road                               Original Entered Date: 12/22/2021     Entered by: Jeff P. Prostok
  San Anselmo, CA 94960                                                                     Modified:
    Amount claimed: $1821574.06
  History:
  Details         20-1 12/22/2021 Claim #20 filed by Steve Capper, Amount claimed: $1821574.06 (Prostok, Jeff)
  Description: (20-1) Claims arising out of guaranty on loan from The Steve and Jyoti Elias Trust and Steve Elias
  Remarks:



https://ecf.txnb.uscourts.gov/cgi-bin/SearchClaims.pl?caseid=495309;sc                                                             5/7
            Case
4/28/23, 9:27 AM   23-04014-mxm              Doc 12       Filed 04/28/23
                                                              U.S.              Entered
                                                                   Bankruptcy Court - Northern04/28/23       12:10:07
                                                                                               District of Texas        Desc Main
  Creditor:     (19565562)
                                                       Document
                                                      Claim No: 21
                                                                         Page    60    of  61    Status:
  Bill Hansen                                         Original Filed Date: 12/22/2021           Filed by: CR
  1332 So 2670 E                                      Original Entered Date: 12/22/2021         Entered by: Jeff P. Prostok
  St. George, UT 84790                                                                          Modified:
  No amounts claimed
  History:
  Details         21-1 12/22/2021 Claim #21 filed by Bill Hansen, Amount claimed: (Prostok, Jeff)
  Description: (21-1) Any and all expenses and liabilities incurred in connection with the Mowbray Action.
  Remarks:


  Creditor:      (19580568)                Claim No: 22                                         Status:
  One Embarcadero Center Venture           Original Filed Date: 01/25/2022                      Filed by: CR
  c/o Douglas B. Rosner, Goulston & Storrs Original Entered Date: 01/25/2022                    Entered by: Admin
  PC                                                                                            Modified:
  400 Atlantic Avenue
  Boston, MA 02110
    Amount claimed: $233819.97
    Secured claimed: $15556.31
    Priority claimed: $32881.12
  History:
  Details         22-1 01/25/2022 Claim #22 filed by One Embarcadero Center Venture, Amount claimed: $233819.97 (Admin)
  Description:
  Remarks:

  Creditor:     (19612693)                            Claim No: 23                              Status:
  Cort Business Services                              Original Filed Date: 03/09/2022           Filed by: CR
  5432 West Chester Rd                                Original Entered Date: 03/09/2022         Entered by: Bryan Dozier
  West Chester, OH 45069                                                                        Modified:
    Amount claimed: $620.75
    Secured claimed: $0.00

  History:
  Details         23-1 03/09/2022 Claim #23 filed by Cort Business Services, Amount claimed: $620.75 (Dozier, Bryan)
  Description:
  Remarks:

  Creditor:     (19630428)                            Claim No: 24                              Status:
  City and County of San Francisco Tax                Original Filed Date: 03/17/2022           Filed by: CR
  Collector                                           Original Entered Date: 03/17/2022         Entered by: Admin
  Bureau of Delinquent Revenue                                                                  Modified:
  PO Box 7027
  San Francisco, CA 94120-7027
    Amount claimed: $2246.50
    Priority claimed: $2246.50

  History:
  Details         24-1 03/17/2022 Claim #24 filed by City and County of San Francisco Tax Collector, Amount claimed:
                                  $2246.50 (Admin)
  Description:
  Remarks: (24-1) Account Number (last 4 digits):4495




https://ecf.txnb.uscourts.gov/cgi-bin/SearchClaims.pl?caseid=495309;sc                                                              6/7
            Case
4/28/23, 9:27 AM   23-04014-mxm                Doc 12     Filed 04/28/23
                                                              U.S.              Entered
                                                                   Bankruptcy Court - Northern04/28/23       12:10:07
                                                                                               District of Texas        Desc Main
  Creditor:     (19630428)
                                                       Document
                                                      Claim No: 25
                                                                         Page    61    of  61    Status:
  City and County of San Francisco Tax                Original Filed Date: 04/14/2022           Filed by: CR
  Collector                                           Original Entered Date: 04/14/2022         Entered by: Admin
  Bureau of Delinquent Revenue                                                                  Modified:
  PO Box 7027
  San Francisco, CA 94120-7027
    Amount claimed: $882.42
    Priority claimed: $882.42

  History:
  Details         25-1 04/14/2022 Claim #25 filed by City and County of San Francisco Tax Collector, Amount claimed: $882.42
                                  (Admin)
  Description:
  Remarks: (25-1) Account Number (last 4 digits):4495



                                                         Claims Register Summary
                                            Case Name: Flexible Funding, Ltd. Liability Co.
                                                  Case Number: 21-42215-mxm11
                                                            Chapter: 11
                                                      Date Filed: 09/19/2021
                                                   Total Number Of Claims: 25

                                                Total Amount Claimed* $26324009.85
                                                Total Amount Allowed*
                                                   *Includes general unsecured claims

        The values are reflective of the data entered. Always refer to claim documents for actual amounts.

                                                                           Claimed Allowed
                                                 Secured                 $2135593.10
                                                 Priority                 $54620.04
                                                 Administrative



                                                          PACER Service Center
                                                                Transaction Receipt
                                                                 04/28/2023 11:27:22
                                    PACER                         Client
                                                     cds60651
                                    Login:                        Code:
                                                                              21-42215-mxm11 Filed or
                                                     Claims       Search
                                    Description:                              Entered From: 1/1/1900 Filed or
                                                     Register     Criteria:
                                                                              Entered To: 4/28/2023
                                    Billable
                                                     3            Cost:       0.30
                                    Pages:




https://ecf.txnb.uscourts.gov/cgi-bin/SearchClaims.pl?caseid=495309;sc                                                              7/7
